                      Case 3:14-cv-01532-BR                           Document 1-1            Filed 09/25/14          Page 1 of 140

                                                 In the Circuit Court of the State of Oregon
                                                         For the County of Marion

ELLEN ROSENBLUM, the Attorney General for the              )
State of Oregon; STATE OF OREGON, by and through           )
Ellen Rosenblum, the Attorney General for the State of     )
Oregon, the Oregon Health Authority, and the Oregon        )                                 No.   /.L/ ~ fUJ7J7-f 3
Department of Human Services; and the OREGON               )
HEALTH "INSURANCE EXCHANGE CORPORATION, )
dba Cover Oregon, ap Oregon public corporation,            )                                 SUMMONS
                                               Plaintiffs, )
                            vs.                            )
                                                           )
ORACLE AMERICA, INC., a Delaware corporation;              )
STEPHEN BARTOLO, an individual; THOMAS                     )
BUDNAR, an individual; KEVIN CURRY, an indjvidual; )
SAFRA CATZ, an inpividual; BRIAN KIM, an                   )
individual; RAVI PURl, an individual; and MYTHICS,         )
INC., a Virginia corporation,                              )
                                             Defendants. )

TO:       ORACLE AMERICA, INC., a Delaware corporation
          Registered Agent: Corporation Service Company
          285 Liberty Street NE
          Salem, OR 97301                                                                               Defendant

           You are hereby required to appear and defend the complaint filed against you in the above-entitled action within
thirty (3 0) days from the date of service of this summons upon you, and in case of your failure to do so, for want thereof,
plainti.ff(s) will apply to the court for the relief demanded in th~eca
                                                                     faint    ,                                        £,./            .
 NOTICETOTHEDEFENDANT:READTHESEPAPERSCAREFULLY!                                                    ~ a~
                                                                                                    ~--~~~~~--------~--------

      You must "appear" in this case or the other side will win automatically. To        SIGNATURE OF ATIORNEY/AUTHOR FOR PLAINTIFF
"appear" you must file with the court a legai paper called a "motion" or
"answer." The "motion" or "answer" must be given to the court clerk or·
administrator within 30 days along with the required filing fee. It must be in           Lisa A Kaner                                                  881373
proper form and have proof of service on the plaintiffs attorney or, if the plaintiff    ATIORNEY'S/AUTHOR'S NAME (TYPED OR PRINTED)             BAR NO. (IF ANY)
does not have an attorney, proof of service upon the plaintiff
      lfyou have any questions, you should see an attorney immediately. If you
need help in finding an attorney, you may call the Oregon State Bar's Lawyer
Referral Service at (503) 684-3763 or toll-free in Oregon at (800) 452-7636.
                                                                                         TRIAL ATTORNEY IF OTHER THAN ABOVE (TYPED OR PRINTED)           BARNO.


STATE OF OREGON                                            )
                                                                ss.
County of Multnomah                                        )

    I, the undersigned attorney of record for the plaintiff, c                          rli}Y't                             xact and complete copy of the
original summons in the above-entitled action.



TO THE OFFICER OR OTHER PERSON SERVING THIS SUMMONS: You are hereby directed to serve a true copy of this
summons, together with a true copy of the complaint mentioned therein, upon the individual or other legal entity to whom or
which this summons is directed, and to make your proof ofI servz on t e reverse hereof   .
                                                                                              o upon a separate similar
document which you shall attach hereto.

                                                                                                     ATIORNEY(S) FOR PLAINTIFF(S)
         AITORNEY GENERAL ELLEN ROSENBLUM
      MARKOWITZ, HERBOLD, GLADE & MEHLHAF, P.C ..
        SPECIAL ASSISTANT AITORNEYS GENERAL
              1211 SW Fifth Avenue, Suite 3000
                    Portland, OR 97204                                                                                                             EXHIBIT A
                      (503) 295-3085
                                                                                                                                                 PAGE 1 of 140
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                                                   In the Circuit Court of the State of Oregon
                                                                   For the County of Marion
ELLEN ROSENBLUM, the Attorney General for the                                           )
State of Oregon; STATE OF OREGON, by and through                                        )
Ellen Rosenblum, the Attorney General for the State of                                  )
Oregon, the Oregon Health Authority, and the Oregon                                     )       No. 14C20043
Department of Human Services; and the OREGON                                            )
HEALTH INSURANCE EXCHANGE CORPORATION,                                                  )       SUMMONS
dba Cover Oregon, an Oregon public corporation,                                         )
                                               Plaintiffs,                              )
                          vs.                                                           )
                                                                                        )
ORACLE AMERICA, INC., a Delaware corporation;                                           )
STEPHEN BARTOLO, an individual; THOMAS                                                  )
BUDNAR, an individual; KEVIN CURRY, an individual;                                      )
SAFRA CATZ, an individual; BRIAN KIM, an                                                )
individual; RAVI PURl, an individual; and MYTHICS,                                      )
INC., a Virginia corporation,                                                           )
                                           Defendants.                                  )

TO:        SAFRA CA TZ, an individual
           c/o Orrick, Herrington & Sutcliffe LLP
           405 Howard Street
           San Francisco, CA 94105-2669                                                                  Defendant
          You are hereby required to appear and defend the complaint filed against you in the above-entitled action within
thirty (3 0) days from the date of service of this summons upon you, and in case of your failure to do so, for want thereof,
plaintiff(s) will apply to the court for the relief demanded in t e co
 NOTICE TO THE DEFENDANT: READ THESE PAPERS CAREFULLY! '

      You must "appear" in this case or the other side will win automatically. To
"appear" you must file with the court a legal paper called a "motion" or
·'answer. " The "motion" or "answer" must be given to the court clerk or                    Lisa A. Kaner                                                    8813 73
administrator within 30 days along with the required filing fee. It must be in
                                                                                            ATTORNEY'S!A UTHOR'S NAME (TYPED OR PR INTED)              BAR NO. (If AN Y)
proper form and have proof of service on the plaintiffs attorney or, if the plaintiff
does not have an attorney, proof of service upon the plaintiff
      If you have any questions, you should see an attorney immediately. If you
need help in finding an attorney, you may call the Oregon State Bar's Lawyer
Referral Service at (503) 684-3 763 or toll-free in Oregon at (800) 452-7636.

STATE OF OREGON
                                                                                 ----       TRJAL A DORN EY If OTHER THAN ABO VE (TYPED OR PRJC\TED)           BAR NO .


                                                            )
                                                                 ss.
County of Multnomah                                         )

     L the undersigned attorney of record for the plaintiff, c                                                                        and complete copy of the
original summons in the above-entitled action.



TO THE OFFICER OR OTHER PERSON SERVING THIS SUMMONS: You are hereby directed to serve a true copy of this
summons, together with a true copy of the complaint mentioned therein, upon the individual or other legal entity to whom or
which this summons is directed, and to make your proof of service on the reverse hereof or upon a separate similar
document which you shall attach hereto.

                                                                                                 A TTORNEY{S} fOR PLAD\'Tlff(S)
          ATTORNEY GENERAL ELLEN ROSENBLUM
       MARKOWITZ, HERBOLD, GLADE & MEHLHAF, P.C.
         SPECIAL ASSISTANT ATTORNEYS GENERAL
               1211 SW Fifth Avenue, Suite 3000
                     Portland, OR 97204
                       (503) 295-3085
                                                                                                                                                         EXHIBIT A
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                                                          PROOF OF SERVICE
STATE OF                                       )
           -------------------------
                                               ) ss.
County of-'-.·-----,---------- )

      I hereby certifY that I made service ofthe foregoing summons upon ORACLE AMERICA, INC. by delivering or leaving true copies ofsaid summons
and the complaint mentioned ther,ein, certified to be such by the attorneyfor the plaintiff. as follows:


Personal Service Upon Individual                         By delivering such true copy to him/her, personally and in person at--------------

                                                         on _ _ ___, 20____.J at _ _ o'clock_M

Substituted Service Upon Individual                      By delivering such true copy at his/her dwelling house or usual place ofabode, to-wit: _ __

                                                         to ______________________~------------~-~
                                                         who is a person over the age of 14 years and a member a/the household ofthe person served on
                                                         _ _ ____, 20___, at _ _ o'clock_M

Office Service Upon Individual                           At the office which he/she maintains for the. conduct ofbusiness a t - - - - - - - - - - - -

                                                         by leaving such true copy with--------------....,....----------
                                                         --------------------------------~ffiepe~on
                                                         who is apparently in charge, on _______, 20____.J at _ _ _ o'clock _M

Service on Corporations, Limited                         (a)    By delivering such true copy, pers~nally and in person t o - - - - - - - - - - - - -
Partnerships or Unincorporated                                  -----------------------------~who~a/ffie
                                                                _ _ _ _ _ _ _ thereof; OR
Associations Subject to Suit Under a
Common Name                                              (b)    By leaving such true copy w i t h - - - - - - - - - - - - - - - - - - - - - - - - '
                                                                the person who is apparently in charge ofthe office of_____________

                                                                who is a / t h e - - - - - - - - - thereof;


                                                         at ___________________________________                                                      ~




                                                         on _ _ _ _~ 20____.J at _ _ o'clock_A1.

DATED _ _ _ _ ___, 200_.

                                                                I further certifY that I am a competent person I8 years of age or older and a resident of
                                               SHERIFF          the state of service or the State of Oregon, and that I am not a party to nor an officer,
By: _ _ _ _ _ _ _ _ _ _ _ _ _ __                                director or employee of, nor attorney for any party, corporate or otherwise; that the
                                               DEPU1Y
                                                                person, firm or corporation served by me is the identical person, firm or corporation
                                                                named in the action.

                                                                DATED _ _ _ _ _ _ _ _ _~ 20_ _.




                                                                                                                                                SIGNATURE



                                                                                                                                        TYPE OR PRINT NAME



                                                                                                                                                  ADDRESS




                                                                                                                                                    PHONE




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                                            THIRD JUDICIAL DISTRICT
                                          MARION COUNTY CIRCUIT COURT

        Read carefully. If you do not comply with the following. your case will be dismissed.

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                                                                                                           t:::........<'




CaseNumber:       /HC• rJ(1()i3-~                                     Date:                 f3jgp_/Jy
                                            THIS CASE HAS BEEN ASSIGNED TO:
              D     Judge Donald D. Abar                                    D      Judge David E. Leith
                      (503) 588-5135                                                 (503) 588-5160

              D     Judge Claudia M. Burton                                 D      Judge Lindsay R. Partridge
                      (503) 584-7713                                                 (503) 566-2974

              D     Judge Vance D. Day
                      (503) 588-5026                                      X         Judge Cheryl A. Pellegrini
                                                                                      (503) 588-5028

              D     Judge Courtland Geyer                                   D       Judge Dale W. Penn
                      (503) 373-4445                                                  (503) 588-5492

              D     Judge Dennis J. Graves                                  D       Judge Tracy A. Prall
                      (503) 585-4939                                                  (503) 588-5030

              D     Judge Thomas M. Hart                                    D       Judge Jamese L. Rhoades
                      (503) 584-7749                                                  (503) 588-7950

              D     Judge Mary M. James                                     D       Judge Susan M. Tripp
                      (503) 373-4303                                                  (503) 373-4361

                   If a party served with a summons intends to contest this matter. that party
                    must file a response. or other appearance. as instructed in the summons.

A status conference will be set after the party served has filed an appearance. All attorneys must appear at the
status conference with their calendars. If parties do not have legal representation, they are to appear at the status
conference.

If the Plaintiff has not filed a Return or Acceptance of Service by the 63rd day after the filing of the complaint, the
case may be dismissed for want of prosecution 28 days later. If proof of service is filed by the 91st day from the
filing of the complaint, and no default is later filed, the case will be dismissed 119 days from the date of the filing of
the complaint.

Follow these instructions carefully and refer to the Uniform Trial Court Rules for further information or
clarification.

All correspondence or other communication shall be directed to the assigned Judge at the following address:
Marion County Circuit Court, PO Box 12869, Salem, Oregon 97309-0869.


      K D

        D
                Assignment following standard procedure.
                Random assignment following the standard procedure.
                Random assign111:1te request of - - - - - -.....,.:,.·.+;-7:{~"'w"'"·:;.·:o~.i':~~p,::::~'.,-.:--,-----------

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   2   ll~    AUG 22 2014      JJ))
   3 Marion Cou·nty c;rcciirCourt
                                 \
   4                     IN THE CIRCUIT COURT OF THE STATE OF OREGON

   5                                  FOR THE COUNTY OF MARION

   6    ELLEN ROSENBLUM, the Attorney General
        for the State of Oregon; STATE OF
   7    OREGON, by and through Ellen Rosenblum,
        the Attorney General for the State of Oregon,
   8    the Oregon Health Authority, and the Oregon                                    COMPLAINT
        Department of Human Services; and the
   9    OREGON HEALTH INSURANCE                                (Fraud; Oregon False Claims Act;
        EXCHANGE CORPORATION, dba Cover                             Breach of Contract; Oregon
  10    Oregon, an Oregon public corporation,                  Racketeer Influenced and Corrupt
                                                                              Organizations Act)
  11                                          Plaintiffs,
                                                                      (Not Subject to Mandatory
  12                           vs.                               Arbitration - Prayer in excess of
                                                                                         $51,000)
  13     ORACLE AMERICA, INC., a Delaware
         corporation; STEPHEN BARTOLO, an                        Fee Authority: ORS 21.160(1)(e)
  14     individual; THOMAS BUDNAR, an
         individuar; KEVIN CURRY, an individual;
  15     SAFRA CATZ, an individual; BRIAN KIM,                     DEMAND FOR JURY TRIAL
         an individual; RA VI PURl, an individual; and
  16     MYTHICS, INC., a Virginia corporation,       ·

  17                                        Defendants.
  18            Plaintiffs for their complaint against defendants allege as follows:
  19                                          INTRODUCTION
  20                                                    1.
  21            Oracle America, Inc. ("Oracle") fraudulently induced the State of Oregon (the
  22    "State") and the Oregon Health Insurance Exchange Corporation ("Cover Oregon") to enter
  23     into contracts for the purchase of hundreds of millions of dollars of Oracle products and
  24     services that failed to perform as promised. Oracle then repeatedly breached those contracts
  25    by failing to deliver on its obligations, overcharging for poorly trained Oracle personnel to
  26    provide incompetent work, hiding from the State the true extent of Oracle's shoddy


                                                                                  ATTOJL"'EY GENERAL ELLEN ROSENBLUM
Page    1-      COMPLAINT                                                                 MARKOWITZ, HERBOLD,
                                                                                         GLADE & MEHLHAF, P.C.
                                                                                 SPECIAL ASSISTANT ATTORNEYS GENERAL
                                                                                        SUITE 3000 PACWEST CENTER
                                                                                           1211 SW FIFTH AVENUE
                                                                                       PORTLAND, OREGON 97204-3730

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   1       performance, continuing to promise what it could not deliver, and wilfully refusing to honor

   2       its warranty to fix its errors without charge. Over the last three years, Oracle has presented

   3       the State and Cover Oregon with some $240,280,008 in false c~aims under those contracts.
   4       Oracle's conduct amounts to a pattern of racketeering activity that has cost the State and

   5       Cover Oregon hundreds of millions of dollars. Accordingly, plaintiff Ellen Rosenblum, the

   6       Attorney General for the State of Oregon, along with the State and Cover Oregon, brings this

   7       lawsuit to recover losses to the State and Cover Oregon caused by Oracle's fraud,
   8       racketeering, false claims, and broken contracts.

   9                                                      2. '

  10              In 2011, the State of Ore'gon had two needs. One was to build a State-run health

  11       insurance exchange that met the requirements of the Patient Protection and Affordable Care

  12       Act ("ACA"). The other was to modernize its aging social services computer systems.

  13 ·     Oracle claimed it had the answer, the so-called "Oracle Solution for Oregon."
  14                                                      3.
  15              Oracle lied to the State about the "Oracle Solution." Oracle lied when it said the

  16       "Oracle Solution" could meet both of the State's needs with Oracle products that worked

  17       "out-of-the-box." Oracle lied when it said its products were "flexible," "integrated," worked
  18       "easily" with other programs, required little customization and could be set up quickly.                     \




  19       Oracle lied when it claimed it had "the most comprehensive and secure solution with regards
  20      to the total functionality necessary for Oregon."
  21                                                      4.

  22              Initially, long beforeOracle's fraud was revealed, the State was impressed with
  23       Oracle- and with reason. The Oregon Department of Human Services ("DHS") and the
  24       Oregon Health Authority ("OHA") held a series of meetings with Oracle throughout 20.10
  25     ,_ and 2011. Oracle made presentations, provided demonstrations, and answered questions that

  26      convincingly addressed all of the State's concerns about the ability of Oracle to meet its


                                                                                    ATTORl'<EY GENERAL ELLEN ROSENBLU~i
Page      2-      COMPLAINT                                                                 MARKOWITZ, HERBOLD,
                                                                                            GLADE & MEHLHAF, P.C.
                                                                                    SPECIAL ASSISTANT ATTORNEYS GENERAL
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   1   needs. Independent outside evaluators agreed. They reviewed Oracle's claims and
   2   recommended that the State purchase the "Oracle Solution." Oracle's fraudulent
  .3   representations induced DHS and OHA to sign the first contract in June 2011 for Oracle to
   4   build a single platform for both a health insurance exchange (the "HIX-IT Project") and to

   5   modernize the State's social services technology (the "Modernization Project").
   6                                                    5.
   7           As soon as the first contract was signed, Oracle took control of both Projects. DHS
   8   and OHA initially planned to hire an independent "Systems Integrator" to manage the
   9   Projects and implement the "Oracle Solution." Oracle was dead set against the State hiring
  10   an independent Systems Integrator. According to a former Oracle employee,' Oracle
  11   advanced a "planned* * *behind-the-scenes effort" to convince the State "that a Systems
  12   Integrator would just cause * * * delay." The former employee explained that "the message
  13   was we've got to   mak~   sure that [the State] doesn't bring [a Systems Integrator] in because
  14   it'/s * * *just going to cause us trouble." Oracle recommended to the State that it hire
  15   Oracle's own internal consulting unit, Oracle Consulting Services, to play the same role.
  16   Oracle also offered to provide training services to State employees, enabling the State to
  17   believe that it, along ~ith Oracle, could co-manage the Proj~cts without hiring an
  18   independent Systems Integrator. Oracle continued to support the State's decision through the
  19   life of the project.
  20                                                   6.
  21           Oracle's behind-the-scene scheme paid off, for Oracle. Oracle convinced the State to
  22   spend millions of dollars more to use Oracle Consulting Services to design, plan, integrate
  23   and manage the Projects. Oracle became, in effect, the Systems Integrator, bringing on
  24   project managers and taking the lead in proposing system architecture, selecting software and
  25   hardware, and managing the Projects. From 2011 on, Oracle was the technical lead on both
  26   Projects and was responsible for the development of the" technology.- Oracle not only was


                                                                                  ATIORNEY GENERAL ELLEN ROSENBLUM
Page   3-      COMPLAINT                                                                 MARKOWITZ, HERBOLD,         .
                                                                                        GLADE & MEHLHAF, P.C.
                                                                                 SPECIAL ASSISTANT ATTORNEYS GENERAL
                                                                                       SUITE 3000 PACWEST CENTER
                                                                                          1211 SW FIFTH AVENUE
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   1     responsible for all technology, it tightly controlled access to the software development

   2     environments, so that the State had to rely on Oracle's demonstrations and reports to learn

   3     about Oracle's progress on the Projects.

   4                                                      7.

   5               In 2013, the State transitioned the HIX-IT Project to Cover Oregon, a State-created

   6     public corporation responsible for running Oregon's health insurance exchange. Cover

   7 ·   Oregon needed to launch the exchange to the public on October 1, 2013, to ensure that

   8     Oregonians would be able to enroll in health insurance online in time to meet federal

   9     deadlines. Oracle assured Cover Oregon that the exchange would be ready to launch on

  10     October 1. ·Oracle presented Cover Oregon detailed spreadsheets showing that the HIX-IT

  11     Project was nearly 80% complete. Cover Oregon relied on Oracle's statements and entered

  12     .contracts with Oracle' to complete the HIX-IT Project.

  13                                                      8.

 . 14              In the spring, summer, and fall of2013, Oracle failed to deliver. At first, Oracle

  15     asked Cover Oregon to reduce the scope of the HIX-IT Project. In order to meet its

  16     October 1 launch date, Cover Oregon had no choice but to agree. But even with a reduced

 · 17    scope, Oracle fell far behind schedule. By the summer of2013, it was evident that, despite

  18     its assurances, Oracle would fail ~o complete by October 1 a key element of the exchange-a

  19     website portal for small employers and their employees to shop for and purchase insurance.

  20     Nonetheless, Oracle employees assured Cover Oregon that the centerpiece ofthe HIX-IT

  21     Project-a website portal for individual Oregonians to review, compare, and purchase health

  22     insurance-would be ready to launch on schedule. By late September, however, when

  23     Oracle was unable to demonstrate a working website, Cover Oregon realized that Oracle's

  24     assurances were worthless. On October 1, Oregon's health insurance exchange was not

  25     ready for public launch.

  26     Ill Ill


         4 _,                                                                        ATIORl'iEY GENERAL ELLEN ROSENBLUM
Page               COMPLAINT                                                                 MARKOWITZ, HERBOLD,
                                                                                             GLADE & MEHLHAF, P.C.
                                                                                    SPECIAL ASSISTANT ATTORNEYS GENERAL
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   1                                                  9.
   2           Despite Oracle's failure, its executives continued to demand full payment, while

   3   promising the exchange would be ready to launch, first by mid-October 2013, then by the

   4   end of October, then in December, then January 2014, then February. Again and again,

   5   Oracle broke its promises, missing every promised date. Without the website portal that the

   6   State and Cover Oregon had already paid Oracle more than $100,000,000 to build, Cover

   7   Oregon and the State each hired hundreds of additional employees and expedited their

   8   training, in order to manually enroll Oregonians in health insurance, Medicaid, and other

   9   programs by hand processing paper applications.
  10                                                  10.

  11           In the spring of2014, Oracle's president claimed that the exchange had been ready to

  12   launch in February 2014. Her self-serving claim was belied by assessments performed by

  13   independent experts. In January, a review conducted on behalf of the federal government
  14   reported that "there are still significant performance issues with the system such that, while
  15   the core functionality exists, the end user experience would be significantly diminished." In

  16   April, Cover Oregon staff identified 1,198 errors that required repair before the system could

  17   be considered for a public launch. That same month, an independent assessment concluded

  18   that it would cost tens of millions of dollars and take more than a year to fix Oracle's

  19   abysmal and incomplete work.
  20                                                  11.

  21           Oracle willfully refused to fix its defective work under its warranty, continually
  22   demanded to be paid, and threatened to walk offthe job if it were not paid, jeopardizing
  23   Cover Oregon's ability to meet the needs of Oregonians during open enrollment for health

  24   care. Realizing Oracle would never live up to its obligations, Cover Oregon began work to

  25   transition _to a federally run system. The State and Cover Oregon are unable to use most of
  26   Oracle's shoddy and incomplete work.


Page   5-      COMPLAINT                                                         A TIORNEY GENERAL ELLEN ROSENBLUM
                                                                                        MARKOWITZ, HERBOLD,
                                                                                        GLADE & MEHLBAF, P.C.
                                                                                SPECIAL ASSISTANT ATIORNEYS GENERAL
                                                                                      SUITE 3000 PACWEST CENTER
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   1                                                      12.

   2          Oracle sold the State of Oregon a lie. According to a former Oracle employee,
                                                          -                 .
   3   "There was no. solution." The cobbled together collection of products that Oracle called the
   4   "Oracle Solution" was not flexible, was not integrated, and most importantly, did not work

   5   "out-of-the-box." Oracle's 2010 and 2011 claims to DHS and OHA were patently and

   6   categorically false.
   7                                                      13.

   8          Not only were Oracle's claims lies, Oracle's work was abysmal. One developer

   9   experienced in Oracle products called Oracle's programming "atrocious." He added that

  10   "they broke every single best practice that Oracle themselves have defined. It is one of the

  11   worst assessments I have performed       * * *."   The same developer wrote to Oracle, "You are

  12   Oracle people, working on an Oracle hardware platform, with Oracle technology products,

  13   on an Oracle solution.   * * * Oracle should be delivering these environments and products as
  14   a solution, like they actually understood the products and owned the solution which has not

  15   been the case by a long shot." According to an independent quality assessment conducted in

  16   October 2013, Oracle's "processes do not meet industry standards. Impact analysis, code

  17   review, coding standards and proper paralfel development techniques are ad hoc and

  18   inconsistently applied or understood." Another assessment stated simply that "Oracle's

  19   performance is clearly lacking." A former Oracle employee was more direct saying Oracle's
  20   products were seemingly configured "by a kindergartner."
  21                                                      14.

  22          The cost of Oracle's lies and appalling work is extraordinary. The State and Cover
  23   Oregon paid Oracle approximately $240,280,008 for a health insurance exchange that never

  24   worked as promised and a modernization program that never got off the ground. The State

  25   has and will spend tens of millions more fixing or compensating for Oracle's failures,

  26   including millions of dollars to process paper applications, to create a manual enrollment and


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   1         insurance eligibility determination process, to transition to the federal health insurance
   2         exchange, to fix Medicaid enrollment, to independently assess and repair Oracle's failures,
   3         and to connect to the federal exchange.
   4                                                          15.
   5                  In short, Oracle employed false statements to induce the State,· and later Cover
   6         Oregon, to employ Oracle and related defendants to undertake Projects that were central to
   7         the social programs and healthcare needs of hundreds of thousands of Oregonians. In
   8         addition, Oracle employed false statements to expand Oracle's role in the Projects and, thus,
   9         increase its profits. The result was that Oracle had nearly unfettered control of the
  10         Modernization and HIX- IT projects. Then, when problems arose and plaintiffs were in a
  11         terrible bind due to the looming deadlines related to the health exchange, Oracle made further
  12         false statements to induce the State and Cover Oregon to stay the course. In effect, Oracle ·
  13         used its purported superior expertise, coupled with lies and pressing deadlines, to trap the
  14         State and Cover Oregon in a deadly spiral: at each juncture Oracle charged more and Oregon
  15         got less.
  16                                                          16.
  17                  Oracle has never offered to return a penny of $240,280,008 it fraudulently obtained or
  18         to pay for any of the millions its failures cost the State. On the contrary, on August 8, 2014,
  '19   ,~   Oracle filed a lawsuit riddled with false and irrelevant allegations    a~ainst   Cover Oregon,
  20         claiming that Cover Oregon owes Oracle an additional $23,000,000 for the "Oracle
  21         Solution" that never worked.
  22                                  PARTIES, JURISDICTION, AND VENUE
  23                                                          17.
  24                 Plaintiff Ellen Rosenblum is the Attorney General of Oregon. Pursuant to
  25         ORS 180.760(1), Attorney General Rosenblum has authority to bring claims under the
                                                          I
  26         Oregon False Claims Act in the n~me ofthe State of Oregon. Pursuant to ORS 166.725(5)


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   1        and (8), Attorney General Rosenblum has authority to institute civil actions for violations of

   2        the Oregon Racketeer Influenced and Corrupt Organizations Act ("ORICO").
   3                                                       18.

   4                  Plaintiff Oregon Health Insurance Exchange Corporation, doing business as Cover

   5        Oregon ("Cover Oregon"), is an Oregon public corporation. Pursuant to ORS 741.002(2),

   6        Cover Oregon has the authority to sue.
   7                                                       19.

   8                  Plaintiff Oregon Department ofHuman Services ("DHS") is the State agency

   9        responsible for most of the State's social service programs, including Temporary Assistance
  10.       for Needy Families ("TANF"), Employment Related Day Care ("ERDC"), and the

  11        Supplemental Nutrition Assistance Program ("SNAP"). Pursuant to ORS 179.040(2)(a),

  12        DHS has the authority to sue.
  13                                                       20.

  14                  Plaintiff Oregon Health Authority ("OHA") is the State agency responsible for

  15        managing most of the State's health care programs, including the Oregon Health Plan, the
  16        State's Medicaid program.· The Oregon legislature created OHA in 2009 as a division within

  17        DHS, and DHS consolidated health-related programs under OHA. Effective July 1, 2011,

  18        OHA became a separate and independent State agency. Pursuant to ORS 179.040(2)(a),

  19        OHA has the authority to sue.
  20                                                       21.

  21                  Defendant Oracle America, Inc. ("Oracle") is a Delaware corporation with its
  22        principal place of business in California. Oracle conducts business in offices in Portland,
  23        Oregon. This court has jurisdiction over Oracle pursuant to ORCP 4 (A)(4)-(5) and 4 (L)

  24    1   because Oracle is engaged in substantial activities within the state and has consented to the

  25        exercise of personal jurisdiction.
  26        Ill Ill                                •


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   1                                                    22.

   2           Defendant Mythics, Inc. ("Mythics") is a Virginia corporation with its principle place

   3   of business in Virginia. This court has jurisdiction over Mythics pursuant to ORCP 4 (A)(4)-

   4   (5), 4(C), 4(D), and 4 (L) because Mythics committed acts within and Without Oregon giving

   5   rise to injuries to plaintiffs within Oregon and at the time of the .injuries, service activities ·
   6   were carried on within Oregon on Mythics' behalf, and because Mythics is engaged in

   7   substantial activities within the state and has consented to the exercise of personal

   8   jurisdiction.
   9                                                    23.

  10           Defendant Stephen Bartolo is an individual resident of Massachusetts. He is Vice

  11   President, Engineered Systems and Hardware, at Oracle. This court has personal jurisdiction

  12   over Bartolo pursuant to ORCP 4 A(4), C, and L because Bartolo was engaged in substantial
                                                                      '                .

  13   activities within Oregon and committed acts within Oregon giving rise to injuries within

  14   Oregon.
  15                                                    24.

  16           I)e'fendant Thomas Budnar is an individual resident of Connecticut. He is Vice

  17   President for North America Government Consulting at Oracle. This court has personal
                                                               \

  18   jurisdiction over Budnar pursuant to ORCP 4 A(4), C, and L because Budnar was engaged in

  19   substantial activities within Oregon and committed acts within Oregon giving rise to injuries
  20   within Oregon.
  21                                                    25.

  22           Defendant Safra Catz is an individual resident of California. She is the President and
  23   Chief Financial Officer of Oracle. This court has personal jurisdiction over Catz pursuant to

  24   ORCP 4 C, D, and L because Catz committed acts within and without Oregon giving rise to

  25   injuries to plaintiffs within Oregon. In addition, Catz sent correspondence into Oregon

  26   giving rise to a claim alleged herein.


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   1                                                  26.

   2          Defendant Kevin Curry is an individual resident of Georgia. At all relevant times, he

   3   was Group Vice President for North America Public Sector at Oracle. This court has

   4   personal jurisdiction over Curry pursuant to ORCP 4 A(4), C, and L because Curry was

   5   engaged in substantial activities within Oregon and committed acts within Oregon giving rise

   6   to injuries to plaintiffs within Oregon.
   7                                                  27.

  ·8          Defendant Brian Kim is an individual resident of Virginia. At all relevant times, Kim

   9   was a Technical Manager at Oracle. This court has personal jurisdiction over Kim pursuant
                                )

  10   to ORCP 4 A(4), C, and L because Kim was engaged in substantial activities within Oregon

  11   and collliilitted acts within Oregon giving rise to plaintiffs' injuries within Oregon.
  12                                                  28.

  13          Defendant Ravi Puri is an individual resident of Georgia. At all relevant times, Puri

  14   was Senior Vice President for North AmericaTechnology and Government Consulting at

  15   Oracle. This court has personal jurisdiction over Puri pursuant to ORCP 4 C, D, and L

  16   because Pu~i committed acts within and without Oregon giving rise to injuries to plaintiffs
  17   within Oregon and, at the time of the injuries, service activities were carried on within

  18   Oregon on Puri' s behalf. In addition, Puri sent correspondence into Oregon giving rise to a

  19   claim alleged herein.
  20                                                  29.

  21          Subject matter jurisdiction is conferred on this Court by ORS 14.030 and 14.050(1 ).
  22                                                  30.

  23          Venue in Marion County is proper pursuant to ORS 14.080(1) and (2) and ORS

  24   14.050(1) because the cause of action arose in Marion County      and because the address for
  25   Oracle's registered agent is in Marion County and because plaintiff Attorney General

  26   Rosenblum seeks the recovery of penalties imposed by statute. Venue is also proper in


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    1   Marion County because Section 0.1 of the Oracle License and Services Agreement signed by

   2    Oracle and Cover Oregon provides for venue in the Circuit Court for the State of Oregon for

   3    Marion County.

   4                                  SUMMARY OF THE ACTION

   5                        Origins of DHS Modernization Project, 2007-2010

   6                                                  31.

   7           In the 2007-2008 biennium, DHS began a project to modernize its aging information

   8    technology systems to improve the delivery of social services such as Medicaid, TANF,

   9    ERDC, and SNAP. DHS referred to this project by several names, including the

  10    "Modernization Project." DHS considered several potential technology strategies to

  11    implement the Modernization Project, including transferring a technology strategy from

  12    another state or purchasing a Commercial-off-the-Shelf ("COTS") package.

  13                                                  32.

  14           COTS software is software sold to the general public, businesses, and governments

  15    that is designed for a particular purpose. COTS software is an alternative to custom designed

  16    software, which is built from the ground up for a single customer to meet the .individual and

  17    specific demands of that customer and not sold to the general public. Programs such as

  18    Microsoft Word, Excel, and PowerPoint are examples of COTS software. COTS software

 . 19   has a number of different "functionalities." "Functionality" is the capacity of a software

  20    program to perform a particular task. For example, Microsoft Word has the functionality to

  21    perform word processing. PowerPoint has the functionality to create slide presentations.

  22    COTS software can be "configured" to perform in certain ways. "Configure" means to set

  23    the values of parameters within a software program to achieve a goal. For example,

  24    Microsoft Word t.nay be configured to produce documents in many different fonts.

  25    Configuration does not require a software developer to write computer code to achieve the
  26    functionality. ·


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   1                                                    33.

   2             DHS sought to implement a system that would integrate all social services into a

   3      single technology strategy capable of meeting a variety of requirements, including:

   4             (a)     Automating the determination of eligibility for social serviCes ("~ligibility
   5                     Automation");
   6             (b)     Automating the calculation of benefits;

   7             (c)     Providing a unified set of case management tools for caseworkers; and

   8             (d)     Providing client notifications and scheduling.

   9                                                    34.

  10             To identify potential technology vendors capable of meeting these requirements, DHS

  11 ·    issued a Request for Information ("RFI") in January 2009. The purpose of the RFI was to

  12      identify potential technology packages or technology providers who could assist DHS in

  13      design, development, and implementation of the Modernization Project.

  14                                                    35.

  15             Oracle submitted a response to the RFI in February 2009. Oracle proposed that DHS

  16      adopt an "Oracle Solution" that consisted of a suite of Oracle software products and Oracle

  17      consulting services to implement those products. Oracle claimed that its COTS software

  18      "meets the current and future needs [of] DHS's case management requirements with out-of-

  19      the-box functionality." Oracle also stated that Siebel Public Sector Case Management, the

  20      key product in the "Oracle Solution," "is a true enterprise COTS [Commercial-off-the-Shelf]

  21      application that leverages 'out-of-the-box' functionality and.allo~s DHS to accommodate

  22      various application requirements by configuring the Siebel Public Sector application (using

  23     · our comprehensive development tools) while minimizing the need for custom coding. This

  24      configuration-based approach will drive down cost, time to market and substantially reduce

  25      the risk for the [Modernization Project]." In addition, Oracle claimed that its proposed

  26      COTS application was "flexible to accommodate various program area needs and business


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   1    processes across the entire organization. Oracle's COTS software meets the current and
   2    future needs of the Health and Human Services Sector case management requirements with
   3    out-of-the-box functionality. It also provides the ability for each customer to configure the
   4    application to their precise business needs[.]"
   5                                                      36.
   6           In addition to the purchase of Oracle products, Oracle proposed that DHS utilize
                 \



   7    Oracle Consulting Services ("OCS") to implement the "Oracle Solution." OCS is a division
   8    of Oracle that provides systems integration~ software engineering, project management, and
                                            '
   9    technical support to integrate and implement Oracle Projects. According to Oracle's
  10    response to the RFI, "Who knows Oracle applications better than Oracle?" Oracle stated that
  11    OCS could successfully plan and implement the Modernization Project, "concluding in an
  12'   actual application that operat~s as anticipated."
  13                                                      37.
  14           In March 2010, the President signed two bills, the Patient Protection and Affordable
  15    Care Act and the Health Care and· Education Reconciliation Act (collectively the "ACA"),
  16    overhauling the nation's healthcare system. Among its provisions, the ACA required states
  17    to implement a health insurance exchange ("HIX") or use an exchange developed by the
  18    federal government. A HIX is an entity created to facilitate the purchase of health insurance. ·
  19    Oregon elected to build and operate its own HIX.
  20                                                      38.
  21           The ACA requires most Americans to obtain health insurance coverage by 2014. The
  22    ACA provides that uninsured Americans should be able to compare, purchase, and enroll in
  23    health insurance through state HIXes ("Individual Enrollment").· The ACA does not require
  24    small employers to provide health.insurance. However, the ACA provides that small
  25    employers should be able to use state HIXes to offer insuranc~ to their employees. Small
  26


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   1    employers who use a HIX to offer insurance to their employees are eligible for federal tax

   2    credits. This program is known as the Small Business Health Options Program ("SHOP").

   3                                                   39.
                                                                                '
   4            In summer of2010, DHS followed up on its RFI by inviting technology vendors to

   5    participate in an "Eligibility Automation Vendor Fair." DHS invited more than a dozen

 ' 6    software vendors to present proposed strategies for eligibility automation and case

   7    management. DHS also encouraged vendors to make presentations demonstrating a

   8    "broader-based solution" consisting'of "an integrated, interoperable solution spanning

   9    anywhere from application intake, eligibility determination up to total back end (legacy)

  10    ·system replacement and/or modernization." To participate in the vendor fair, DHS required

  11    the vendors to offer COTS programs and an automated rules engine, a software program

  12    designed to electronically determine an individuals' eligibility for,social services programs.

  13                                                   40.

  14            On August 18,2010, a dozen Oracle employees made a nearly four-hour presentation

  15    to DHS staff at the vendor fair. As part of their presentation, Oracle distributed an article

  16    describing its proposed solution. According to the article, "Oracle now provides a complete

  17    solution that gives caseworkers a comprehensiv6 view of clients across programs. Using

  18    Oracle's social services sol:ution, organizations can streamline the entire social services

  19    lifecycle, including 1) application, initiation and screening, 2) determination and

  20    investigation, 3) delivery of benefits and services and 4) measurement, analysis and
  21    optimization of programs   * * *."
  22                                                   41.

  23.           With the passage of the ACA, DHS saw an opportunity to combine the Modernization
  24    Project with an effort to develop a HIX. In September 2010, following the Eligibility

  25    ·Automation Vendor Fair, DHS issued a Request for Additional Information to the vendors

  26    who participated in the Fair. In this request, DHS asked the vendOJS to provide additional


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   1   information about work they were performing to assist other states in implementing the

   2   requirements of the ACA. Oracle responded that it was prepared to "provide guidance to

  .3   states on how to fulfill the[ir] obligations under" the ACA.
   4                                                  42.

   5             Based on its market research, responses to the RFI and the Request for Additional

   6   Information, and presentations at the Eligibility Automation Vendor Fair, pHS concluded

   7   that it should pilrchase COTS programs to complete the Modernization Project. In Oct~ber

   8   2010, DHS issued a report summarizing its findings and requesting authorization to proceed

   9   with procurement of COTS programs. This report indicated that DHS was considering

  10   combining the Modernization Project with a project to develop a HIX.
  11                                                  43.

  12             By late 2010, two vendors emerged as leading contenders for supplying the State with·

  13   a COTS platform: Oracle and Curam Software.

 \14                Early Innovator Grant and Procurement, Fall2010- Summer 2011
  15                                                  44.

  16             In October 2010, the U.S. Department of Health and'Human Services ("HHS")

  17   announced that it would offer "Early Innovator" grants to states to design and implement the

  18   information technology infrastructure needed to operate the health insurance exchanges

  19   required by the ACA. This grant provided Oregon with an opportunity to combine the
  20   Modernization Project with a project to create a HIX. (The project to create a HIX became

  21   known as the "HIX Project." The HIX Project included the work to determine the business
  22   requirements for running a HIX, the technology to implement a HIX, and the program to
  23   market the HIX to Oregonians).
  24   Ill Ill

  25   Ill Ill
  26   Ill Ill


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   1                                                     45.

   2              The State applied for the Early Innovator grant. The State proposed that it would

   3   build on the planning it had already completed on the Modernization Project to create an

   4   integrated technology platform on which to build a HIX.

   5                                                     46.

   6              In its application, the State outlined that its HIX "will be a central marketplace for

   7   health insurance in the state, providing one-stop shopping for individuals and small

   8   businesses to compare rates, benefits and quality among plans, offering meaningful choice of

   9   health plans and providers, apples-to-apples comparisons, and easy payment processing. It

  10   will administer the new federal health insurance tax credits, offer improved, seamless access

  11   to Medicaid, and make it easier to enroll in commercial health insurance plans."

  12                                                     47.

  13              In February 2011, HHS awarded the State an Early Innovator grant of more than $48

  14   million to implement a HIX.

  15                                                     48.

  16              After receiving the Early Innovator grant, DHS continued its efforts to procure a

  17   COTS platform, now focused on obtaining a platform that would meet the needs of both the

  18   Modernization and HIX Projects. Because the State now sought a combined technology
              '
  19   platform for both the Modernization and HIX Projects, staff from what would become OHA

  20   joined with DHS in evaluating vendors. (The project to develop the technology to support

  21   the HIX became known as the "HIX-IT Project," while the overall project to create, operate,

  22   and administer a HIX remained known as the "HIX Project.")

  23                                                     49.

  24              To obtain more information about how Oracle and Cfuam proposed to meet the

  25   technology requirements ofthe Modernization and HIX-IT Projects, DHS hosted a series of
  26


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     1   "Table Talk" presentations in early 2011. These presentations were conversations between
     2   DHS and the vendors.
     3                                                50.
     4          DHS hired Wakely Consulting Group ("Wakely") and KPMG LLP ("KPMG") to
     5   provide guidance to PHS during the evah.lation and procurement process, and to provide an
     6   independent evaluation of both vendors' platforms, including_ whether the vendors'
     7   technology products could meet State requirements. Wakely and KPMG staff attended some
     8   of the Table Talk presentations, reviewed Oracle's written responses toDHS's request for ·
     9   information, and suggested questions for DHS and OHA to ask both vendors. Oracle knew
    10   that the State had hired Wakely and KPMG, and Oracle's presentations and response to the
    11   State's requests for information were intended to persuade Wakely and KPMG, as well as
    12   DHS, that the "Oracle Solution" would meet Oregon's needs.
    13                                                51. '
    14          In a February 2011 Table Talk presentation, Oracle proposed the "Oracle Solution."
    15   Oracle did not have one software product capable of implementing the Modernization and
    16   HIX Projects. However, Oracle said that several of its discrete products had already been
    17   integrated together to meet Oregon's needs for the Modernization and HIX-IT Projects.
    18   These included, but were not limited to, Siebel Public Sector ("Siebel"), a customer
    19   relationship management database used for storing client data and managing clients'
    20   applications for and use of social services programs; Oracle Policy Automation ("OP A"), a
    21   program designed to automatically determine individuals' eligibility for government
    22   subsidies, social service programs, and health insurance plans; and WebCenter, a program to
    23   display the website portal.
    24                                                52.
    25          The technology foundation of the "Oracle Solution" consisted of the software
    26   programs Siebel and OP A. According to Oracle, OPA would determine whether Oregonians

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   1    were eligible for benefits, including health insurance, subsidies for health insurance, and

   2    social services, such as T ANF, ERDC, and SNAP. Siebel would allow the State to manage

   3    the administration of benefits, including payment processing and enr?llment policy

   4    management. Siebel would also provide a back-end portal for insurance providers.
          \

   5                                                  53.

   6           Throughout these presentations, Oracle said that it had developed its products so that

   7    the State would be able to very rapidly deploy the systems necessary to complete the

   8·   Modernization and HIX-IT Projects.

   9                                                  54.

  10           One of the biggest challenges facing the states that developed their own exchanges

  11    was that the full list of federal requirements for the exchanges had not yet been developed .

  12
                                                                       .
        Oracle, however, told the State that it had deep experience with state and federal

  13    requirements and was already preparing to meet ACA requirements. In a response to DHS's

  14    September 2010 request for additional information, Oracle stated that "Oracle has a long
  15    history of involvement in standards bodies and industry initiatives. Oracle has worked hard
  16    with federal and state/local Health and Human Services organizations to ensure that Oracle
  17    solutions meet requirements and anticipate future ones." Oracle added that as "of now, only
  18    a fraction of [ACA] requirements have been released and finalized. Oracle team members
  19    are actively assessing the health bill requirements and will continue to work with government
  20    leaders on the path forward." Oracle also added that it "invests several billion dollars in
  21    research and development to meet changing organization requirements."
  22                                                  55.
  23           DHS developed a list of 450 technology requirements for the Modernization and
  24    HIX-ITProjects. To determine each vendor's ability to provide a technology platform for
  25    the Projects, DHS used this list to create a questionnaire (the "Vendor Questionnaire"). DHS
  26    and OHA sent the Vendor Questionnaire to Oracle and Cfuam in March 2011. For each


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   1   requirement, DHS asked Oracle and Cfuam to score whether their proposed software .
   2   programs had functionality to meet the requirement "out-the-box" (score of"4"); had
   3   functionality to meet the requirement through the "seamless" use of a third-party product
   4   (score of"3"); had functionality to meet the requirement with "customization" (score of"2");
   5   had functionality to meet the requirement through "customized integration" with a third-party
   6   product (score of "1 "); or lacked functionality to meet the requirement ("score of "0").
   7                                                  56.
   8           "Customization" is a term of art in the technology industry. If a program requires
   9   "customization" to meet a functional requirement, a software developer must write custom
  10   software code to implement the functionality. "Out-of-the-box" functionality does not
  ~
  11   require engineers to write code to implement the functionality. DHS defined a score of"4"
  12   as meaning the "vendor provides the functi_onality from its own code base. No customizing or
  13   working around is required."
  14                                                  57.
  15           In its response, Oracle set forth its interpretation ofDHS's scores. Oracle clarified
  16   that it scored its response to DHS's requirements a "4" if its products met the requirement
  17   "out-of-the-box without modification or through routine configuration using the toolsets
  18   provide~   with the applications* * *." Oracle claimed that "routine configuration" could be
  19   performed by business analysts and did not require software engineers to write software code
  20   or scripts.
  21                                                  58.
  22           Oracle also clarified its interpretation of a "2." According to Oracle, "customization"
  23   involved writing scripts to create new functionality. Scripts are software code that runs on
  24   top of software applications. "Source code," in contrast, is the ~oftware code that forms the
  25   underlying application. Oracle later claimed that "under no circumstances will we
  26   recommend" changes to the underlying application source code.


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   1                                                   59.

   2            Oracle scored more than 95% of the DHS's requirements as a "4," indicating that the

   3     "Oracle Solution" was 95% "out-of-the-box."
   4                                                   60.

   5            On the Vendor Questionnaire, Oracle contended that the "Oracle Solution" met key

   6     State requirements for both the Modernization and HIX-IT Projects out-of-the-box. Oracle
   7     claimed, for example, that the "Oracle Solution" provided the functionality for Individual
   8     Enrollment and SHOP out-of-the-box. Oracle also claimed that the "Oracle Solution" would

   9     allow Oregonians to electronically apply for DHS benefits and for DHS to make benefit

  10     determinations out-of-the-box.
  11                                                   61.

  12            Oracle's responses to the Vendor Questionnaire also indicated that key components

  13     of the "Oracle Solution" already worked together out-of-the-box. For example, in response
  14     to the State's requirement that the vendor's proposed technology should allow Oregonians to ,

  15     "self-screen[] for program benefits and services," Oracle responded that the "Oracle

  16     Solution" met the requirement out-of-the-box. Oracle added in a comment that it would meet

  17     this requirement with three Oracle products: WebCenter, Siebel, and OPA. Oracle's

  18     response to this requirement, and many others, caused DHS and OHA to believe that there
  19     was an "out-of-the-box integration between" OPA and Siebel.
  20                                                   62.

  21 ·          Oracle's responses to the Vendor Questionnaire also stated that OPA and Sie,hel, the
  22     foundation of the "Oracle Solution," could be implemented by business analysts, not
  23     software developers, and without customization. Oracle explained that "governrnent subject
  24     matter experts (not application developers)" could define rules in OPA "in the terms and
  25     vocabulary that they are familiar with and/or as defined in relevant statute, regulations and

  26     policy documents.   * * * There is no scripting or programming needed."    With respect to


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   1     Siebel, Oracle claimed that changes "such as adding new fields are considered configurations

   2     in the Oracle system and require NO CODE to implement" (capitalization in original).

   3                                                    63.

   4             Throughout its presentations to and conversations with DHS, Oracle repeatedly

   5     stressed that the "Oracle Solution" would only require 5% customization.

   6                                                    64.

   7             DHS hosted a Table Talk presentation on March 14, 2011. In a PowerPoint

   8     accompanying Oracle's presentation, Oracle stated that it was proposing a "Comprehensive

   9     Solution for Eligibility Automation and Health Insurance Exchange," and its Solution

  10     utilized "Comprehensive integrated technology" (emphases in original). Oracle also

  11     claimed that OPA used "pre-packaged integrations."

  12                                                    65.

  13             Oracle also said that the "Oracle Solution" would allow the State to meet the

  14     demanding time lines imposed by the A CA. Oracle's March 14,2011 PowerPoint

  15     presentation stated that "Proven enterprise architecture & OnDemand hosting speeds the

  16 •   deployment time necessary to meet HIX deadlines." The presentation also stated that

  17     "Infrastructure and Environment can be stood up in less than 3 weeks from contract

  18     ratification."

  19                                                    66.

  20             Following its March 2011 Table Talk presentation, Oracle continued to represent that

  21     Oregon could implement the "Oracle Solution" quickly and with minimal customization. In

  22     its response to DHS requests for additional information, Oracle W"rote that the "Oracle

  23     Solution" could be "incorporated into the current technology environment without

  24     customization of the core features and functionality   * * *."   Oracle also stated that its

  25     "Solution" "is a highly flexible, scalable, secure, commercial-off-the-shelf (COTS) package

  26     that is easily integrated with internal and external systems."


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   2               The Wakely and K:PMG assessments also noted that Oracle was claiming it could

   3     provide Oregon with a solution for the Modernization and HIX-IT Projects with existing

   4     applications that merely needed to be configured. Upon a review of Oracle documents sent

   5     to the State, Wakely and K:PMG wrote that "Oracle is touting the 'one stop shop' approach

   6     where all of the functionality it feels Oregon needs to handle the [Eligibility Automation] and
                                                      '
   7     HIX solution is already available and primarily needs to be configured." Wakley and K:PMG

   8     also noted that "Oracle proposes that its solution can [be] incorporated into Oregon's current

   9     technology environment without customization of the core features and functionality."
  10                                                      68.

  11               Curam withdrew from the procurement process in May 2011.
  12                                                      69.

  13               On May 10 through 12,2011, DHS invited Oracle to provide demonstrations of its

  14     products to a State evaluation team. During these demonstrations, Oracle demonstrated to

  15     the evaluation team "the 'out-of-the-box' capabilities of its solution" and answered follow-up

  16     questions. Wakely and K:PMG attended Oracle's May 2011 demonstrations.
  17                                                      70.

  18               During the May 2011 demonstrations, Oracle said that its products had been

  19     developed so that the State could very rapidly deploy the systems for the Modernization and
  20     HIX-IT Projec~s. Oracle asserted that key components of the "Oracle Solution," such as
  21 ·   Siebel and OPA, were already seamlessly connected. Oracle claimed that their products
  22     were highly integrated and the State would only need to configure them to make them work

  23     together. ~ased on Oracle's presentation, DHS believed that Oracle's suite of applications
  24     could be configured to work together with "point and click" tools.
  25     Ill Ill
  26     Ill Ill


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   1                                                  71.

   2             Oracle Vice President Kevin Curry was the highest ranking Oracle employee present

   3    throughout the May 2011 demonstrations. Curry failed to disclose to DHS that the "Oracle

   4    Solution" was not already integrated, was not functional "out-of-the-box," and was not

   5    flexible and easy to use.
   6                                                  72.

   7             During a breakfast meeting held on the final day, Curry told DHS staff, including

   8    DHS Interim Chief Information Officer John Koreski, that the "Oracle Solution" was 95%

   9    Gut-of-the-box. During this same breakfast, Oracle told DHS that rules for determining

  10    Oregonians' eligibility for social service programs could be configured in OPA in six to eight

  11    weeks.

  12                        The State Decides to Purchase the "Oracle Solution"

  13                                                  73.

  14             Following Oracle's May 2011 demonstrations, DHS prepared a final report

  15    summarizing its findings and recommending that the State purchase the "Oracle Solution"

  16    (the "Recommendation and Evaluation"). The State followed the Recommendation and

  17    Evaluation and selected the "Oracle Solution."
  18                                                  74.

  19             Oracle's representation that the "Oracle Solution" was 95% out-of-the-box was the
                             "
  20    key factor influencing the State's decision to purchase the "Oracle Solution." One State
  21   · evaluation team noted that Oracle "products meet virtually all of our business/field

  22    requirements out-of-the-box (Oracle's response to our questionnaire indicated only about 5%
  23    ofthe business requirements will require customization)."
  24                                                  75:

  25             The DHS Recommend~tion and Evaluation emphasized that "Oracle's vendor

  26   demonstration did a good job showing how flexible the solution is out of the box. Members


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   1   of the Oracle team walked through how configurable the solution components are and how
   2   they integrate well together. The [Oracle] team also repeatedly reiteratedthateverything
   3   being presented was core functionality that comes 'out of the box' to its clients" (emphasis

   4   added). The report added that "Oracle's response to [the Vendor] questionnaire indicated

   5   only about 5% of business requirements will require customization. We conclude that the
   6   Oracle framework will meet the needs of Eligibility Automation for DHS." Altogether, the

   7   DHS Recommendation and Evaluation mentioned the out-of-the-box functionality of the
   8   "Oracle Solution" almost 20 times.
   9                                                   76.

  10             The State also relied on Oracle's representations that the "Oracle Solution" was

  11   flexible and easily configurable. DHS noted that the "Oracle solution is highly
  12   configurable"; "the proposed solution is quite flexible"; "Oracle's solution provides an

  13   integrated and flexible approach to policy automation"; OP A "is highly configurable and

  14   does not require a high level of technical expertise." In a debrief following Oracle's May
  15   2011 demonstrations, the DHS team recorded that "Configurability is very valuable." A

  16   State team focused on developing the HIX reported that "the Oracle solution has the

  17   flexibility for scaling and configuration to meet our current and future needs." A summary of

  18   team feedback recorded "ease of use" first on a list of features that the team liked.
  19                                                   77.
  20             Finally, the State relied on Oracle's representations that the "Oracle Solution" was
  21   scalable. The DHS final report stated that the "proposed infrastructure supports clustering
  22   and load balancing features, flexible deployment options, horizontal and vertical scalability
  23   features and high levels of performance tuning on data and application servers to meet
  24   availability, performance and capacity growth requirements."
  25   Ill Ill
  26   Ill Ill


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   1                                                78.
   2          Wakely and KPMG independently concluded that the State should purchase the
   3   "Oracle Solution." They noted that Oracle's May 2011 demonstrations showed that "several
   4   of the various components that comprise the [Oracle] solution are mature, robust, and appear
   5   to be well integrated," and concluded that "based on the information provided previously and
   6   the functionality demonstrated during the [May demonstrations], the Oracle solution provides
   7   Oregon a sound technology foundation on which to build its envisioned" Modernization and
   8   HIX-IT Projects.
   9                                 The Oracle-Mythics Enterprise
  10                                                79.
  11          Mythics is a corporation headquartered in Virginia Beach, Virginia. Mythics is
  12   engaged in an ongoing organization with Oracle to distribute and resell Oracle products and
  13   provide consulting on the implementation and integration of those products.
  14                                                80.
  15          To purchase the "Oracle Solution," the State entered a contract and purchase orders
  16   with Mythics rather than Oracle directly. Oracle and Mythics worked together to develop
  17   terms for the contracts between Mythics and the State. Oracle and Mythics employees
  18   jointly negotiated the contracts between Mythics and the State.
  19                       Mythics License Service Agreement, June 30, 2011
  20                                                81.
  21          The Oregon legislature created OHA in 2009 as a division within DHS. DHS
  22   consolidated health-related programs under OHA. The legislature provided that OHA should
  23   transition to become an independent state agency effective July 1, 2011. Throughout 2010
  24   and early 2011, State employees from what would become OHA attended Oracle's
                               r·
  25   presentations and demonstrations. On July 1, 2011, OHA became a separate and independent
  26   State agency.


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   1                                                82.

   2          On June 30, 2011, the State executed the Mythics License and Services Agreement

   3   ("MLSA") with Mythics. Oracle did not sign the MLSA, but it was named as a third-party

   4   beneficiary· of the contract. The MLSA does not itself provide for the purchase of Oracle

   5   products and services. Instead, it provides a contractual framework governing the purchase
                                                                                                            )

   6   of Oracle products and services. Actual purchases were made through a series of purchase

   7   orders submitted pursuant to the MLSA. (The MLSA and the purchase orders and ordering

   8   documents submitted pursuant to it shall be collectively referred to as ,the "Mythics-ORA

   9   Contracts.")

  10                                               . 83.

  11          The State entered the Mythics-ORA Contracts pursuant to an amendment to an

  12   existing Oregon Department of Administrative Services State Procurement Office Price

  13   Agreement with Dell Marketing LLP ("Dell"). DRS and ORA issued purchase orders for

  14   Oracle and Mythics products and services to Dell, and then Dell invoiced DRS and ORA for

  15   these services.

  16                                                84.
                                        -
  17          The MLSA expressly,warrants that Mythics and Oracle will perform work "in a

  18   professional manner consistent with industry standards." It also warrants that programs "will

  19   operate in all material respects as described in the applicable program documentation for one
  20   year after delivery."
  21                                                85.

  22          On the same day that DRS and ORA executed the MLSA, they also executed a

  23   Statement of Work providing that Mythics and Oracle would "assist" DRS and ORA"with

  24   the installation, implementation, configuration, and customization of the Oracle Policy

  25   Automation 10.2 components    * * * to support benefit eligibility processing and full
  26   determination for" SNAP, TANF, Medicaid, and the RIX. The Statement of Work also


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   1    included a proposed schedule where Mythics estimated that based "on current knowledge of

   2    the'DHS/OHA requirements"_ the work would take 28 weeks to complete. Mythics proposed

   3    that OPA would be confi-gured for' full determination of eligibility for SNAP, TANF,

   4    Medicaid, and the HIX in January 2012.

   5                                                 86.

   6           In August 2011, DHS and OHA executed a purchase order with Oracle for

   7    approximately $8,700,000. This purchase order provided for the purchase of licenses for the

   8    Oracle software comprising the "Oracle Solution," hardware on which to run the software,

   9    and consulting services to begin planning and implementing the "Oracle Solution."
  10                                                 87.

  11           Between June 30, 2011 and July 11, 2013, the State and Mythics executed 20
                                                                .
  12    purchase orders under the MLSA for the purchase of Oracle hardware, software, and

  13    services, for a total of more than $30,000,000. The first two purchase orders issued by DHS

  14    and OHA included services from Oracle's internal consulting unit, Oracle Consulting

  15    Services. The remaining purchase orders were for the purchase of access to data storage,

  16    software licenses, hardware, and server maintenance, support, and setup.

  17                     Decision Not to Use a Systems Integrator, Summer 2011
  18                                                 88.·

  19           DHS and OHA initially planned to use a Systems Integrator to implement the "Oracle
  20    Solution." A Systems Integrator is a company that is responsible for bringing together all of

  21    the components in a project and ensuring that the components function together.
  22                                                 89.

 · 23          In May 2011, DHS and OHA began preparation of a Request for Proposals to solicit

  24    potential Systems Integrators. Although never completed, the draft envisioned that a

  25    potential Systems Integrator would be responsible for managing the Modernization andHIX-

  26    IT Projects, including developing and maintaining the work plan and schedule.


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   1                                                   90.
   2              Unbeknownst to the State, Oracle was dead set against the State hiring an
   3    independent Systems Integrator. According to a former Oracle employee, Oracle advanced a
   4    "planned * * * behind-the-scenes effort" to convince the State "that a Systems Integrator
   5    would just cause * * * delay." The former employee explained that "the message was we've
   .6   got to make sure that [the State] doesn't bring [a Systems Integrator] in because it's* * *just
   7    going to cause us trouble." Oracle recommended to the State that it hire Oracle's own
   8    internal consulting unit, Oracle Consulting Services, to fill that role. Oracle also offered to
   9    provide training services to State employees, enabling the State to believe it, along with
  10    Oracle, could co-manage the Projects without hiring an independent Systems Integrator.
  11    Oracle continued to support the State's decision to not hire a Systems Integrator through the
  12    life of the project.
  13                                                   91.
  14              Oracle's behind-the-scene scheme paid off. Oracle convinced the State to spend
  15    millions of dollars more to use Oracle Consulting Services to design, plan, and manage the
  16    Projects, rather than hire an independent Systems Integrator.
  17                           Oracle License Service Agreement, November 2011
  18                                                   92.
  19              In November 2011, DHS and OHA entered the Oracle License Service Agreement
  20    ("OHA OLSA") with Oracle. Like the MLSA, the OHA OLSA does not itself provide for
  21    the purchase of Oracle products and services. Instead, it provides a contractual framework
  22    governing the purchase of Oracle products and services. Actual purchases were made
  23    through a series of purchase orders submitted pursuant to the OHA OLSA (collectively, the
  24                                '
        OHA OLSA and related purchase orders and ordering documents shall be referred to as the
  25    "Oracle-0HA Contracts").
  26    Ill Ill


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   1                                                  93.

   2          The State entered the Oracle-ORA Contracts pursuant to an amendment to an existing

   3   Oregon Department of Administrative Services State Procurement Office Price Agreement

   4   with Dell. DHS and OHA issued purchase orders for Oracle products and services to Dell,

   5   and then Dell invoiced DHS and OHA for these products and services.

   6                                                  94.

   7          The OHA OLSA expressly warrants that Oracle will perform work "in a professional

   8   manner consistent with industry standards." It also warrants that programs "will operate in

  ·9   all material respects as described in the applicable program documentation for one year after
  10   delivery."

  11                                                  95.

  12          Be.tween November 30,2011 and May 29,2014, DHS and OHA executed 23

  13   purchase orders under the OHA OLSA. The majority of the State's purchases under the

  14   Oracle-ORA Contracts were for Oracle Consulting Services.
  15                                                  96.

  16          Oracle caused 238 invoices to be sent to the State for payment under both the

  17   Mythics-Oracle Contracts and Oracle-ORA Contracts. The State paid $133,607,504 for

  18   Oracle products and services under these contracts. A complete list of these invoices under

  19   the Mythics-Oracle and Oracle-ORA Contracts is attached to this complaint as Exhibits 1
· 20   and 2, and incorporated herein by reference.
  21                                                  97.

  22          The Oracle-ORA Contracts provided for Oracle to supply all of the products and
  23   services necessary for the State to implement the technological components of the

  24   Modernization and HIX-IT Projects. The first purchase order submitted pursuant to the OHA

  25   OLSA provided that "Oracle will assist the State of Oregon Health Authority and the Oregon

  26   Department of Human Services' [sic] implementation of the Health Insurance Exchange


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   1    system." It goes on to provide that Oracle will assist DHS and OHA with developing the

   2    technology architecture for the_HIX, including for the creation of an online portal permitting

   3    individual Oregonians and Oregon small businesses to create accounts, undergo eligibility

   4    screening, and shop for health plans.

   5                                       Creation of Cover Oregon

   6                                                   98.

   7              In June 2011, the Oregon legislature passed and the.Govemor signed Senate Bill99,

   8    creating the Oregon Health Insurance Exchange Corporation. On October 1, 2012, the

   9    corporation adopted the name "Cover Oregon."

  10                                                   99.

  11              Cover Oregon is a public corporation and an independent unit of State government.

  12    State law provides that Cover Oregon shall "[a]dminister a health insurance exchange in

  13    ·accordance with federal law to make qualified health plans available to individuals and
  14    groups throughout this state."                                                                  (

  15                                                  100.
  16              From 2011 through the end of 2012, Cover Oregon focused on building staff and
  17    developing plans for implementation 'of the ACA in Oregon. During this time, OHA
  18    remained responsible for working with Oracle on the HIX-IT Project.
  19                                                  101.
 '20              Cover Oregon's business plan provided that it would be funped by federal grants
  21    through 2014. To pay for operations beyond 2014, Senate Bill 99 established an assessment
  22    to be paid by carriers based on the number of individuals enrolled in health plans offered by
  23    the carriers through the exchange. Cover Oregon's plan was to begin to charge the carrier
  24   - assessment in 2014 and achieve self-sufficiency in 2015.
  25    Ill Ill
  26    Ill Ill


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   1                                    Oracle Takes Control, 2012

   2                                                 102.

   3          Oracle did more than provide software, hardware, and implementation services. It

   4   managed both Projects. In summer of2012, OHA asked for Oracle's assistance with project

   5   management and Oracle set up a project management office. Oracle provided a project

   6   manager and achief technology officer to direct the Projects.

   7                                                 103.
                                                                                                        •
   8          OCS became, in effect, the Systems Integrator throughout the life of the

   9   Modernization and HIX-IT Projects. Oracle brought on project managers to run the Projects

  10   and tightly controlled access to Oracle's development and integration work. Oracle took the

  11   lead in proposing system architecture, the selection of software and hardware, and project

  12   management. At all times, Oracle was the technical lead on both Projects. Under this

  13   arrangement, Oracle was 100% responsible for the development of the HIX technology, and

  14   State employees did not have access to the technical development environment.
  15                                                 104.

  16          Oracle described itself as Oregon's Systems Integrato.r in its own internal email.
  17                                                 105.

  18          Until the HIX failed to launch in October 2013, Oracle managed its own staff

  19   throughout the Projects. Before that time, Oracle did not seek State approval for most
  20   staffing decisions unless it was for approval to add additional staff.
  21                                                 106.

  22          Oracle, and Oracle alone, was responsible for the technical development and
  23   implementation of the Modernization and HIX-IT Projects systems. Oracle did not provide
  24   the State, Cover Oregon, or the State and Cover Oregon's independent quality assurance

  25   provider, Maximus, with access to its technical development work. State employees did not

  26   set up hardware, configure software, integrate components, or write code. In fact, Oracle


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     1   managers forbade their staff from discussing the progress of Oracle's development with State

     2   employees. A former Oracle employee was chastised by an Oracle manager after he revealed

     3   to Cover Oregon staff that Oracle developers were having trouble implementing an Oracle

     4   product. The State, Cover Oregon, and Maximus did not gain access to test the system until

     5   July 16, 2013, less than three months before the HIX-IT Project was planned for launch.
     6                              Transition to Cover Oregon, 2012-2013

     7                                                  107.

     8             From the execution of the MLSA in June 2011 through December 2012, the

     9   Modernization and HIX-IT Projects proceeded in parallel and were jointly managed under an

    10   executive steering committee consisting ofthe h~ads ofDHS, OHA, and Cover Oregon. The

    11   State originally planned to merge both Projects into a single code base.
    12                                                  108.

    13             In December 2012, however, due to concerns about meeting ACA deadlines, the State

    14   decided not to merge the HIX-IT Project code base with the Modernization code base. In

    15   December 2012, OHA began to transition the HIX-IT Project to Cover Oregon.
    16                                                  109.

    17             In January 2013, the HHS awarded Cover Oregon a Level-2 Establishment grant to be

    18   used in part to complete the HIX-IT Project.
    19                                                  110.

    20             Because Cover Oregon was not a party to the MLSA or the Oracle-ORA Contracts,

    21   on March 14, 2013, Covet Oregon executed an Oracle License and Services Agreement with
    22   Oracle.
    23                                                  111.

    24             Like the MLSA and the OHA OLSA, the Cover Oregon OLSA does not itself provide

J   25   for the purchase of Oracle products and services. Instead, it provides a contractual

    26   framework governing the purchase of Oracle products and services. Actual purchases were


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   1   made through a series of Oracle ordering documents and Cover Oregon purchase orders
   2   submitted pursuant to the Cover Oregon OLSA (collectively, the Cover Oregon OLSA and
   3   the ordering. documents and purchase orders submitted pursuant to it shall be referred to as
   4   the "Oracle-Cover Oregon Contracts").
   5                                                 112.
   6           The Cover Oregon OLSA expressly warrants that Oracle will perform work "in a
   7   professional manner consistent with,industry standards." It also warrants that programs "will
   8   operate in all material respects as described in the applicable program documentation for one
   9   year after delivery."
  10                                                 113.
  11           The Cover Oregon OLSA also provides that if Oracle breaches its warranty to
  12   provide service in a professional manner consistent with industry standards, then Oracle will
  13   provide additional services at no charge to correct tliat breach of warranty. Specifically, the
  14   Contract provides that when Oracle breaches the warranty, Oracle shall provide "THE
  15   REPERFORMANCE OF THE DEFICIENT SERVICES" (capitalization and emphasis in
  16   original).
  17                                                 114.
  18           Oracle sent Cover Oregon invoices for payment under ,Cover Oregon-Oracle
  19   Contracts.· Between March 15, 2013 and August 6, 2014, Oracle sent Cover Oregon 105
  20   invoices under these contracts. Cover Oregon paid a total of $106,672,503 for Oracle
  21   products and services. A complete list of Oracle's invoices under the Oracle-Cover Oregon
  22   Contracts is attached to this complaint as Exhibit 1, and incorporated herein by reference.
  23                                                 115.
  24           In early 2013, before Cover Oregon and Oracle had executed the Cover Oregon
  25   OLSA, Cover Oregon officials, including Cover Oregon Chief Information Officer Aaron
  26   Karjala, met twice with Oracle executives, in,cluding Vice-President of Government Sales


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   1   Greg Loos and Regional Vice-President for Public Sector State and Local Government Colin

   2   Wardlaw. During these meetings, Cover Oregon and Oracle discussed Cover Oregon

   3   purchasing Oracle hardware, including servers and environments. The Oracle executives

   4   told Karjala that key Oracle environments could be set up and ready for use in approximately

   5   12 weeks.
   6                                               116.

   7          Karjala relied on the Oracle executives' representations to recommend that Cover

   8   Oregon execute two purchase orders totaling $12.4 million for the purchase of Oracle servers

   9   and related licenses, ~quipment, and support. Both purchase orders were executed on March

  10   .14, 2013, contemporaneously with the Cover Oregon OLSA.
  11                                                 117.

  12          IQ. early 2013, Oracle provided Cover Oregon with estimates ofthe "Level ofEffort"

  13   required to complete the HIX-IT Project by October 1, 2013. Oracle's Level of Effort

  14   estimates indicated to Cover Oregon that the HIX-IT Project was approximately 80%

  15   complete.

  16                                                 118.

  17          Cover Oregon relied on Oracle's Level of Effort estimates to enter into an ordering

  18   document for Oracle consulting services on May 1, 2013. This ordering document provided

  19   for Cover Oregon to purchase $45 million in consulting services. Oracle used the Level of

  20   Effort estimated to determine the size and scope of the May 1, 2013 ordering document and

  21   Cover Oregon relied on Oracle's Level of Effort estimates to approve and sign the May 1,
  22   2013 ordering document.
  23                                                 119.

  24          In the May 1, 2013 ordering document, Oracle agreed to provide Cover Oregon with

  25   consulting services "to assist with the completion of the Cover Oregon * * * implementation

  26   of the Health Insurance Exchange system[.]"


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   1                                                 120.

   2            The May 1, 2013 ordering document provided that Oracle would, among other tasks,

   3     assist with program management, milestone planning, and project scheduling. It also

   4     provided that Oracle would assist Cover Oregon with the implementation of the "Oracle

   5     Solution," including configuring, integrating, and implementing Siebel, OP A, and
   6     WebCenter. The ordering document also provided that Oracle would provide "post

   7     production support from 10/1/13 [Cover Oregon's launch date for the HIX] through

   8     12/31/13" and additional post-production support in 2014.

   9                              The HIX-IT Project, Spring- Fall, 2013
  10                                                 121.

  11            Consistent with the requirements set forth in the ACA, Cover Oregon sought to

  12     implement a HIX that offered both Individual Enrollment and SHOP. As described above,

  13 ·   Individual Enrollment allows individuals to compare, purchase, and enroll in health

  14     insurance on a HIX website. SHOP is the Small Business Health Options Program. SHOP

  15     offers small employers an option to provide health insurance to their employees through a

  16     HIX website. In order for Oregonians to obtain insurance for 2014, as required by the ACA,

  17     Cover Oregon established a goal of implementing Individual Enrollment and SHOP by

  18     October 2013. Consistent with the goal, Cover Oregon set October 1, 2013 as the launch
  19     date for the HIX.
  20                                                 122.

  21            Both orally and in writing Oracle assured OHA and Cover Oregon that it would
  22     deliver a fully functioning HIX system on or before the launch date of October 1, 2013. On
  23     May 20, 2013, Oracle Senior Vice President for North America Technology and Government
  24     Consulting Kate Johnson wrote in an email to Cover Oregon Executive Director Howard

  25     "Rocky" King: "I have copied my manager, Matt Mills, to ensure that you know we are

  26     committed to the successful implementation of Oregon's Health Insurance Exchange at the


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       1    highest levels in Oracle. I will continue to personally work with you and the team to achieve

       2    this critical Go Live. on Oct 1." In addition, as noted above, the May 1, 2013 ordering

       3    document expressly provided that post-production work would begin on October 1, 2013.
       4'   Furthermore, Oracle prepared estimates of the Level of Effort required to complete the

       5    project and used those estimates to create the ordering documents under the Oracle-Cover
       6    Oregon Contracts. Those estimates projected that the website would be delivered before
       7    October 1, 2013. OHA and Cover Oregon relied on Oracle's representations throughout the·

       8    HIX-IT Project and, based on those representations, reasonably expected that Oracle would

       9    deliver a functioning HIX system on or before October 1, 2013.
      10                                                    123. '
      11           In early 2013, Cover Oregon staff provided Oracle with a set of requirements setting
      12'   out the scope of the final version of the HIX-IT Project. A requirement is a stand-alone
      13    statement describing a required functionality. Most requirements were based on federal and
      14    State laws and regulations governing the implementation of the HIX. Cover Oregon's key
      15    requirements were for Individual Enrollment and SHOP, but also included several others.
      16                                                    124.
      17           In April2013, Oracle provided feedback to Cover Oregon that they were concerned
      18    that they could not complete the HIX-IT Project in time to launch on October 1, 2013 unless
      19    Cover Oregon reduced the scope. In response, Cover Oregon reduced the number of
\
      20    requirements, but retained both Individual Enrollment and SHOP. After Cover Oregon
      21    agreed to reduce the scope,   Or~cle   assured Cover Oregon that it would meet the October 1,
      22    2013 launch date, including completing both Individual Enrollment and SHOP.
      23                                                    125.
                                                                                                      /
      24           Throughout 2013, Oracle deceived the State about the development status ofthe HIX.
      25    During the June 13, 2013 Cover Oregon Board of Directors meeting, Oracle Technical
      26    Manager Brian Kim provided a demonstration to the Cover Oregon Board that purportedly

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   1    showed that core elements of the HIX were functional, including portions of both Individual
   2    Enrollment and SHOP. Kim's demonstration was designed to create and did create the
   3    impression that core elements of the HIX were functional and nearly complete. But the core
   4    elements of the HIX, as Oracle knew, were not functional and were not nearly complete.
   5                                                  126.
   6               During the June 13, 2013 demonstration, Kim purported to demonstrate the
   7    functionality of the HIX at that time. Kim explained that "we wanted to demonstrate the
   8    functionality." Kim represented that the HIX had functionality to (1) allow different types of
   9    users (including individuals, employees, employers) to create and manage accounts, (2) allow
  10    individuals to submit an application to enroll for financial assistance under the ACA for
               .                                      q



  11    healthcare coverage, (3) determine if an individual who submits an online application is
  12    eligible for financial assistance for coverage, (4) allow individuals to shop for medical
  13    coverage and dental coverage, and enroll in the coverage of her or his choosing, and (5)
  14    allow employers to shop for and select a healthcare plan for their employees. Kim's
  15    demonstration was false. At the time of the demonstration, the core functionalities Kim
                                                                \
  16    demonstrated were not complete and were. not in a state of completion that would allow them
  17    to launch in October. Kim knew or recklessly disregarded that the core functionalities he
  18    was demonstrating were not complete and were not in a state of completion that would allow
  19    them to launch in October.
  20                                                  127.
  21               As the summer of 2013 progressed, Cover Oregon had growing concerns about
  22    Oracle's performance. Although Oracle executives Loos and Wardlaw had promised Cover
  23    Oregon that environments would be set up in approximately 12 weeks, Oracle delivered the
  24    environments late. A Cover Oregon contractor wrote to Oracle: "[W]hen [Oracle] delivers
  25    an environment nothing is setup to work together. You are Oracle People, working on an
  26    Oracle Platform, with Oracle technology products, on an Oracle solution.    ***     Oracle


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   1   should be delivering these environments and products as a solution, like they actually
   2   understood the products and owned the solution which has not been the case by a long shot."
   3                                                128.
   4           In addition, from spring until August, Oracle regularly provided Cover Oregon with
   5   "development dashboards," which showed the percentage of the development of the Project
   6   that Oracle estimated was complete. The first development dashboard, provided in April
   7   2013, showed the HIX-IT Project at just under 80% complete. Development dashboards
   8   provided in the following months remained at approximately 80% complete, even as Oracle
   9   purportedly increased resources dedicated to the Project and Cover Oregon continued to
  10   reduce its scope.
  11                                                129.
  12           Given these concerns, in August 2013 Cover Oregon decided to focus development
  13   efforts on Individual Enrollment and not launch SHOP on October 1, 2013. Cover Oregon
  14   also revised its October launch plan. It decided to implement a "soft launch" on October 1,
  15   2013. Under the soft launch, Cover Oregon did not plan to launch Individual Enrollment to
  16   the public immediately on October 1, 2013. Instead, Cover Oregon set up a portal accessible
  17   only by community partners and agents. Oregonians contacted a community partner or agent
  18   to request that the community partner or agent use the portal to enroll them in an appropriate
                                              .             .
  19   · health insurance plan. Cover Oregon planned to launch Individual Enrollment to the public
  20   later in October 2013.
  21                                                130.
  22           Oracle executives assured Cover Oregon that the system would meet this revised
                                                                                                          (

  23   launch plan. At the August 8, 2013 Cover Oregon Board of Directors meeting, Oracle Vice
  24   President for North America Government Consulting Thomas Budnar stated that Oracle has
  25   "been working closely with the Oregon management team on all aspects of the project,
  26   including the launch plan. We worked together to develop that- it's in line with our best


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   1       practices for what we would recommend for large projects, so we feel very comfortable with

   2       that and support the approach 100%." At the same time, Budnar failed to disclose that there

   3       were serious deficiencies with the system that would prevent Oracle from meeting Cover

   4       Oregon's revised launch plan. At the time he made these statements and failed to disclose

   5       the HIX systems' serious deficiencies, Budnar knew or recklessly disregarded that the state

   6       of development on the HIX-IT Project would make it impossible to launch the system

   7       according to Cover Oregon's plan.
   8                                                    131.

   9              Oracle staff regularly told the State that the system was almost ready.

  10                                       Oracle's Failures to Launch

  11                                                    132.

  12              On September 11 and 12, 2013, the Center for Medicare and Medicaid Services

  13       ("CMS"), the federal agency overseeing state projects to build exchanges, conducted an

  14       Operati~nal   Readiness Review to assess the status of Oregon's HIX. Oracle employee Brian

  15       Kim led CMS through a demonstration of the system.
  16                                                    133.

  17              Kim's demonstration exposed serious problems with the HIX. Both Individual

  18       Enrollment and SHOP (which Oracle demonstrated even though it was not planned for the

  19       October launch) failed to function correctly. Kim could not successfully demonstrate that the
  20       system was capable of processing user requests as simple as an address change. Serious

  21       errors occurred throughout the demonstration. Kim demonstrated portions of the ~ystem that
  22 · ·   had not been completed and still resided on a development environment.
  23                                                    134.

  24              On September 18, 2013, Oracle demonstrated the system to Cover Oregon staff at

  25       Gover Oregon's headquarters in Durham, Oregon. Oracle executives flew into Oregon from

  26       out-of-state to attend the demonstration. The demonstration was a disaster. Critical errors


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   1   interrupted the demonstration. Essential functionality needed to enroll Oregonians in health

   2   insurance programs was incomplete and failed to operate.
   3                                                  135.

   4             Even with a sharply reduced scope, the system was not ready to launch on October l,

   5   2013. The soft launch to community partners and agents failed to function correctly and

   6   Cover Oregon was forced to scale it back.

   7                                                  136.

   8             Despite Oracle's failure to deliver a functional system on October 1, Oracle

   9   executives continued to assure Cover Oregon that the system, including Individual
  10   Enrollment, would be ready tolaunch before the end of October. On October 10,2013, Vice

  11   President, Engineered Systems and Hardware Stephen Bartolo sent an email to Rocky King

  12   stating "[a]t this point in time we are confident that we will reach the 10115 date[.]" Bartolo

  13   also repeatedly told King and Karjala in person that the system would be ready to launch

  14   with Individual Enrollment before the end of October. During the October 17, 2013 Cover

  15   Oregon Board of Directors meeting, Bartolo stated that "we're working together to meet the

  16   date of October 30." At the time he made each of these statements, Bartolo knew or

  17   recklessly disregarded that given the current state of development of the HIX-IT Project it

  18   would be impossible for the system to launch on the dates he told King and Karjala.
  19                                                  137.

  20             In October 2013, Oracle assigned its "A-Team" to Cover Oregon to fix the errors
  21   caused by Oracle's inferior development team over the preceding years.
  22                                                  138.

  2}             Even with the "A-Team" on site, the HIX was not ready to launch by the end of
  24   October 2013.

  25   Ill Ill
  26   Ill Ill


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     1                                                139.

     2          By mid- to late-October 2013, Cover Oregon had lost hope that the system would be

     3   capable of allowing citizens to enroll online. To ensure that Oregonians would be able to

     4   enroll in insurance, Cover Oregon had no choice but to hire hundreds of temporary workers

     5   to manually process paper applications.

     6                                                140.

     7          In Nov~mber, Oracle executives continued to represent to Cover Oregon that the

     8   system was nearly ready to launch. On November 14, 2013, Budnar told the Cover Oregon

     9   Board of Directors that the system would be ready for individual enrollments by the end of

    10   December 2013. Budnar stated: "The timeframe that we're looking at for the plan selection

    11   and enrollment is early- to mid-December. For the full end-to-end eligibility is the middle to

    12   end of December." He went on to add that "those are dates that we feel are outliers and

    13   we're going to try to bring it in before those dates." At the time he made these statements,

    14   Budnar was aware that the state of development of the system made it impossible to launch

    15   the system by the end of December 2013.
    16                                                141.

    17          Like Bartolo's assurances, Budnar's assurances were false. The system did not

    18   launch by the end of December 2013.

    19                                                142.

    20          From October 1, 2013 onward, Oracle worked on repairing its earlier deficient

    21   services. Oracle's level of effort estimates, express oral and written statements, and May 1,
    22   2013 ordering document all indicated that Oracle would deliver a fully functioning HIXon

    23   October 1, 2013. When Oracle broke its promises to meet that dyadline, it was unable to

    24   engage in the "post-production" work agreed to in the May 1, 2013 ordering document.

    25   Instead, Oracle continued to work on the deficient system. Consistent with the Cover Oregon

    26   OLSA, which requires Oracle to re-perform deficient services free of charge, Cover Oregon

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   1    began withholding payments to Oracle in September 2013. Nonetheless, Oracle has and
   2    continues to insist that Cover Oregon owes it millions for work performed after October
   3    2013, even though that work was for repairing Oracle's earlier deficient services.
   4                                                 143.
   5            On January 7, 2014, Oracle sent yet another executive to Oregon to again assure the
   6    Stat~ that Oracle would meet a deadline. Senior Vice President for North America
   7    Technology and Government Consulting Ravi Puri, along with Budnar, met with Acting
   8    Executive Director of Cover Oregon Dr. Bruce Goldberg and told him that Oracle would
   9    have the functionality necessary to launch the HIX completed on February 3, 2014. Puri also
  10    claimed that all serious errors-known as "blockers"-preventing the HIX system from
  11    launching had been resolved. In an email following up on their meeting, Puri wrote to
  12    Goldberg that Oracle is "committed to a successful go-live." At the time Puri made these
  13    statements, he knew or recklessly disregarded that Oracle had not resolved all "blockers" and
  14    the state of development of the system made it impossible to launch the HIXon February 3,
  15    2014.
  16                                                 144.
  17            Even though Oracle had failed to meet the October 2013 launch dates, during the
  18    January 7, 2014 meeting, Puri demanded that Cover Oregon pay Oracle more than $24
  19    million for development ·work allegedly performed after October 1, 2013. This included
  20    more than $11 million for allegedly new development, as opposed to repair work which
  21    would have been covered by warranty, performed in November and December 2013 (and that
  22    failed to make ~he site ready for launch in December 2013, as Budnar had promised), $11
 -23    million for allegedly new development work, as opposed to repair work which would have
  24    been covered by warranty, planned for January 2014, and $2 million for testing through
  25    February 3, 2014. Puri's demand for more than $24 million constituted a representation that
  26    Oracle had performed new development work, as opposed to repairs to the system, because


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   1    repair work was covered by warranty and should have been performed without charge. At
   2    the time Puri demanded payment, he knew or recklessly disregarded that the work Oracle
   3    was claiming payment for was not new development work, but was repair work that was
   4    covered by ~arranty. Because the system was not ready to launch, Dr. Goldberg refused to
   5    pay Oracle.
   6                                                   145.
   7            Budnar failed to correct Puri' s false statements and failed to disclose that the system
   8    would be unable to launch on February 3, 2014. Budnar also knew or recklessly disregarded
   9    that Oracle had not resolved all "blockers" and the state of development of the system made
 . 10   it impossible to launch the HIXon February 3, 2014. Budnar also failed to disclose that the
  11    work Oracle had performed since October 1, 2013, and was proposing to perform, was repair
  12    work covered by warranty, even though he knew or recklessly disregarded that this was the
  13    case.
  14                                                   146.
  15            Dr. Goldberg met with Puri and Budnar again on February 11, 2014. Dr. Goldberg
  16    told Puri and Budnar that Cover Oregon would not pay Oracle until the HIX worked
  17    correctly. Puri "guaranteed" that the HIX would be working for community partners and
  18    agents by February 14, 2014 and ready for launch to the public the following week on
  19    February 24, 2014. When he made this representation, Puri knew or recklessly disregarded
  20    that the system would not have sufficient functionality for Cover Oregon to successfully
  21    launch the HIXon February 24; 2014. Puri coupled his representation that the HIX website
  22    was nearly ready to launch with a demand that Cover Oregon pay Oracle nearly $70,000,000.
  23    Puri threatened to pull the entire Oracle workforce off the HIX-IT Project on March 1, 2014
  24    if Cover Oregon did not make the demanded payment. Later that day, Puri emailed Goldberg
  25    a PowerPoint slide purporting to show that Cover Oregon should pay Oracle nearly
  26    $70,000,000 for HIX.development and testing. Puri's demand for nearly $70,000,000


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   1    constituted a representation that Oracle had performed and was going to perform new

   2    development work, as opposed to repairs to the system, because repair work was covered by

   3    warranty and should have been performed without charge. At the time Puri demanded

   4    payment, he knew or recklessly disregarded that the work Oracle was claiming payment for

   5    was not new development work, but was repair work that was covered by warranty.

   6                                                   147.

   7            Budnar failed to correct Puri' s false statements and failed to disclose that the system

   8    would be unable to launch on February 14 and 24, 2014. Budnar knew or recklessly

   9    disregarded that it would be impossible for Cover Oregon to successfully launch the HIXon

  10    February 24, 2014. Budnar also failed to disclose that the work Oracle had performed since

  11    October 1, 2013, and was proposing to perform, was repair work covered by warranty, even

  12    though he knew or recklessly disregarded that this was the case.

  13                                                   148.

  14            Throughout this time, Oracle continued to exert tight control over the development

  15    process. A February 2014 report by the Centers for Medicare and Medicaid Services
 ' 16   ("CMS") noted that there "is no visibility by [Cover Oregon] into OCS' activities.           )


  17    Therefore, there is a substantial dependency on OCS for almost everything that is time
  18    sensitive (e.g., schedules, fixes, releases, etc.)." The report went on to note that Oracle was
  19    failing to provide Cover Oregon with variance reports necessary to allow Cover Oregon to
         '
  20    properly test the system.
  21                                                   149.
  22            Despite Oracle's assurances that the system could launch in February 2014, Cover
  23    Oregon concluded that it was unstable and not suitable for the public. The February 2014
  24    CMS report found that the "system environments are not stable and are affecting testing,
  25    development and activities." Cover Oregon conducted consumer testing throughout
  26


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   1   February. Significant numbers of testers were unable to enroll in insurance through the
   2   system.
   3                                                 150.
   4             On February 26, 2014, during a meeting with Dr. Goldberg and State officials, Oracle
   5   President Safra Catz threatened to pull Oracle personnel off the HIX-IT Project in less than a
   6   week if Cover Oregon did not immediately pay Oracle millions of dollars for work
   7   performed since October. Catz's threat risked severely compromising the limited back-end
   8   functionality Cover Oregon was using to make Medicaid eligibility determinations and enroll
   9   Oregonians in health insurance through community partners and agents with paper
  10   applications. Catz also claimed that the HIX system was nearly ready to launch and that the
  11   State and Oracle were on the verge of declaring victory. At the time she made these claims,
  12   Catz knew or recklessly disregarded that the system was not almost ready to launch. On
  13   February 28, 2014, Cover Oregon and Oracle reached an agreement by which Oracle would
  14   continue work and Cover Oregon would pay $43,934,567, a portion ofthe amount Oracle
  15   claimed it was   o~ed.   Pursuant to this agreement, Cover Or~gon did not waive any claims
  16   and expressly retained its right to seek a refund of its payment to Oracle.
  17                                                 151.
  18             In April2014, Catz wrote a letter to Cover Oregon in which she claimed that the HIX
        )

  19   website "that Oracle coded has successfully registered a very substantial number of citizens."
  20   Catz also claimed that the "functionality required to enroll the vast majority of Oregon
  21   residents is operational* * * ." In May 2014, Catz followed up in an email to Cover Or~gon
  22   stating Oracle and Cover Oregon must resolve "payment issues."
  23                                                 152.
  24           Puri's representation that the HIX website would be ready to launch in February 2014
  25   and Catz's subsequent representation that month that it was ready to launch were false. In
  26   January 2014, a review conducted on behalf of the federal government found that "there are


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   1    still significant performance issues with the system such that, while the core functionality

   2    exists, the end user experience would be significantly diminished." A report by Deloitte in
   3    April2014 concluded that it would take nearly two years and cost more than $50,000,000 in
   4    2014 alone for Oracle and the State to repair the "Oracle Solution" in order to make it usable
   5    for Oregonians.
   6                                                     153.
   7                As of April24, 2014, Cover Oregon staff identified 1,198 errors that required repair
   8    before the system could be considered for a public launch. On April25, 2014, the Cover
   9    Oregon Board voted unanimously to transition from the HIX-IT Project to the federal health
  10    insurance exchange.
  11                                                      154.
  12              ' Cover Oregon is unable to use the vast majority of Oracle's shoddy and incomplete
  13    work. Cover Oregon uses a limited portion of the backend system, which includes
  14    functionality to determine Medicaid eligibility, but that system is fragile. Coyer Oregon's use
  15    is frequently interrupted by extended outages when employees are sometimes locked out for
  16    days.
  17                                                      155.
  18                As a result of Oracle's failure to deliver a fully automated "Oracle Solution" to Cover
                            '                              .

  19    Oregon, the Oregon Health Authority, in coordination with Cover Oregon, is working to
 20     transition to the federal website. As part of the transition plan, Cover Oregon will transfer
  21    back to the Oregon Health Authority responsibility for MAGI-Medicaid eligibility
  22    determinations under the Oregon Health Plan. To accomplish this in time for open
  23    enrollment in November 2014, Cover Qregon has already transferred this functionality into
  24.   an OHA development environment. Both Cover Oregon and the State paid Oracle for
  25    developing the limited functionality in use.
  26    Ill Ill


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   1                                  Oracle's Work Was "Atrocious"
   2                                                 156.
   3            Throughout the Modernization and HIX-IT Projects, Oracle failed to meet industry
   4   standards for architecture, planning, development, implementation, integration,
   5   customization, configuration, project management and productivity.-
   6                                                 157.
   7            Oracle's development failed to meet basic industry standards. A former Oracle
   8   employee described Oracle's work designing the architecture for the HIX-IT Project as
                     0
   9   "literally garbage." In May 2013, a Cover Oregon consultant who had a long history in
  10   Sie~el   development obtained access to Oracle's work on the Siebel application, the key
  11   Oracle product in the "Oracle Solution." After reviewing Oracle's work, he concluded that
  12   "the Oracle development team's quality of* * * work was atrocious." He added that "they
  13   broke every single best practice that Oracle themselves have defined. It is one of the worst
  14   assessments I have performed in my 18 years of Siebel work." The Centers for Medicare and
  15   Medicaid Services observed that Oracle Consulting Services had an "overall lack of
  16   timeliness and quality with regards to solution delivery."
  17                                                 158.
  18            Oracle assigned employees to work on the Projects who lacked minimum levels of
  19   training, skill, and experience.· According to a former Oracle employee, Oracle assigned
  20   employees to the HIX-IT Project who "had no technical skills in the area they were
  21   assigned." Oracle also assigned employees to teams who lacked relevant experience on the
  22   components they were developing.
  23                                                 159.
  24            Maximus, Cover Oregon's outside quality assurance consultant, also found that
  25   Oracle's work was below industry standards. In its October 2013 report, Maximus stated that
  26   Oracle's "processes do not meet industry standards. Impact analysis, code review, coding


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   1   standards and proper parallel development techniques are ad hoc and inconsistently applied

   2   or understood." In its January 2014 report, Maximus observed that "Oracle's performance is

   3   clearly lacking. Their inability to adhere to industry standards and professional software and

   4   project management tenants warrants further review."

   5                                                  160.

   6            Another outside consultant reviewed Oracle's software development in October and

   7   November 2013. He concluded that Oracle's code and development processes were below

   8   industry s~andards. He also found that Oracle had failed to assign a skilled software

   9   development manager to the Project. As a result, Oracle was "working under group

  10   consensus as opposed to industry standard best practices." ·

  11                                                  161.

  12            Oracle failed to manage the Projects in a professional manner consistent with industry

  13   standards. Oracle was consistently unable to correctly estimate the level of effort required to

  14   complete the project. Maximus found that "Oracle's ab_ility to properly estimate the work for

  15   any release is significantly lacking." Oracle also failed to properly manage the configuration.

  16   of its own products. The February 2014 CMS report noted that "there is no formal tool in

  17   place for system build configuration management." Furthermore, while Oracle used a

  18   software tool, to analyze changes to the system, Oracle refused to provide Cover Oregon with

  19   access to reports generated by the tool.
  20                                                  162.

  21            Oracle also failed to manage its own staff. Oracle staff were divided into different

  22   units according to the product they worked on and there was poor communication between
  23   units.

  24                                                  163.

  25            Oracle failed to configure and. implement its own programs correctly. WebCenter

  26   was incorrectly configured so that if any single connection failed, the whole system would


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   1   fail. The Identity Management ("IDM") component, an essential suite of security products,

   2   was configured separately for every environment instead if a single instance across all

   3   environments, slowing down the setup of all the environments. Additionally, Oracle had to

   4   use an outdated version ofiDM because the current version was not compatible with

   5   Oracle's other products. This decision and lack of integration placed the entire project in

   6   jeopardy because' support was scheduled to end for the older version ofiDM. in 2015,

   7   meaning more costs in trying to upgrade and maintain IDM.

   8                                              Oracle's False Statements

   9                                                        164.

  10          Before DHS and OHA signed the first contract with Oracle, the MLSA on June 30,

  11   2011, Oracle made material misrepresentations about the "Oracle Solution" to DHS and

  12   OHA. These included:

  13                                          "
              (a)          The "Oracle Solution" functioned "out-of-the-box":
  14                  1.          "Oracle's COTS software meets the current and future needs [of]

  15                              DHS's case management requirements with out-of-the-box
  16                              functionality." (Letter from Oracle Customer Relations Management

  17                              Application Sales Manager Jim Verster to DHS, February, 18, 2009,
  18                              Oracle Response to DHS RFI);
  19                 11.          "Oracle'~   COTS software meets the current and future needs of Health
  20                              and Human Services sector case management requirements with out-
  21                              of-the-box functionality." (Oracle Response to DHS RFI, February
  22                              18, 2009, p. 4);
  23                iii.          Oracle's Siebel Public Sector Case Management Solution "contains
  24                              intuitive visual tools that allow users to configure the Siebel User
  25                              Interface without modifying HTML or writing 'code."' (Oracle
  26                              Response to DHS RFI, February 18, 2009, p.4);


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   1                    tv.          "The Siebel Public Sector Case Management Solution is a true
   2                                 enterprise COTS application that leverages 'out-of-the-box'
   3                                 functionality and allows DHS to accommodate various application

   4                                 requirements by configuring the Siebel Public Sector application (and

   5                                 using our comprehensive development tools) while minimizing the
   6                                 need for custom coding. This configuration-based approach will drive
   7                                 down the cost, tirpe to market and substantially reduce risk for the
                                          .              '·
   8                                 Self-Sufficiency Modernization Program." (Oracle Response to DHS

   9                                 RFI, February 18, 2009, p. 6);
  10                    v.           "Oracle's componentized solution can be incorporated into the current

  11                                 technology environment without customization of core features and
  12                                 functionality on a phased basis." (Oracle Solution for Oregon
  13                                 Eligibility Automation & Health Insurance Exchange, p. 2 [undated]);
  14                    v1.          On March 14, 2011 and May 12, 2011, Oracle Vice President Curry
  15                                 told DHS and OHA that the "Oracle Solution" was 95% out-of-the- ·
  16                                 box and would only require 5% customization.
  17·             (b)         The "Oracle Solution" could be implemented quickly:
  18                     1.          "Infrastructure and Environment can be stood up in less than 3 weeks
  19                                 from contract ratification." (Oracle Solution Overview, p. 37
  20                                 (emphasis in original));
  21                    n.           During a breakfast meeting held on May 12, 2011, an Oracle employee
                                                                                 I
  22                                 told DHS Information Technology Director Kathryn Naugle that rules
  23                                 for determining Oregonians' eligibility for social service programs
  24                                 could be configured in OP A in six to eight weeks.
  25              (c)         The "Oracle Solution" was built on integrated technologies:
  26    Ill Ill


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   1                  1.              OPA allows purchaser to "achieve consistency across delivery

   2                                  channels using standard web services architecture and pre-packaged

   3                                  integrations." (Oracle Solution Overview, p. 41 );

   4                 11.              "Comprehensive integrated technology." (Oracle Solution Overview,

   s-                                 p. 40 (emphasis in original));

   6           (d)          The ''Oracle Solution" was flexible and easy to integrate with both existing

   7                        and external systems:
   8                  1.              "Oracle's integrated solution is a highly flexible, scalable, secure,

   9                                  commercial-off-the-shelf (COTS) package that is easily integrated
  10                                  with internal and external systems." (Oracle Solution for Oregoh

  11                                  Eligibility Automation & Health Insurance Exchange, p. 4 [undated,

  12                                  2011]).
  13                 11.              "Oracle will also enable Oregon to achieve the following goals and
  14                                  objectives * * * [ e]ase operability/integration to legacy and 3rd party

  15                                  systems." (Oracle Solution for Oregon Eligibility Automation &

  16                                  Health Insurance Exchange, p. 6 [undated, 2011 ]);
  17                 111.         ~   "Oracle will also enable Oregon to achieve the following goals and

  18                                  objectives* * * [f]lexible and maintainable applications to enable self-
  19                                  sufficiency for Oregon staff." (Oracle Solution for Oregon Eligibility
  20                                  Automation & Health Insurance Exchange, p. 6 [undated, 2011 ]);
  21                 IV.              "Key capabilities include * * * [c]onfigurable applications and flexible
  22                                  business rules architecture." (Oracle Solution for Oregon Eligibility
  23                                  . Automation & Health Insurance Exchange, p. 4 [undated, 2011 ]);
  24                  v.              "The Seibel Data Model is designed to be very flexible, and able to
  25                                  optimize performance for both online users and server processes."
  26


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   1                               (Oracle Response to request for additional information, April29, 2011,
   2                               p. 3.)
   3          (e)           The "Oracle Solution" included implementation of a health insurance
   4                        exchange:
   5                   1.          The "Oracle Solution" "provid[ es] a Health Insurance Exchange and
   6                               an Eligibility Automation solution for [Oregon] citizens." (Oracle
   7                               Solution for Oregon Eligibility Automation & Health Insurance
   8                               Exchange, p. 6 [undated]);
   9                  11.          "Comprehensive functionality across multi-program social services
  10                               case management, eligibility automation & health insurance exchange"
  11                               (Oracle Solution Overview, p. 40);
  12                 111.          "Proven enterprise architecture & OnDemand hosting speeds the
  13                               deployment time necessary to meet HIX deadlines." (Oracle Solution
  14                               Overview, p. 47);
  15                 lV.           "Comprehensive Solution for Eligibility Automation and Health
  16                               Insurance Exchange." (Oracle Solution Overview, p. 53);
  17                  v.           "Our solution is the most comprehensive and secure solution with
  18                               regards to the total functionality necessary for Oregon, including
  19                               Eligibility Automation and Health Insurance Exchange." (Oracle
  20                               Solution Overview, p. 54);
  21                 Vl.           The "Oracle Solution's" "Comprehensive functionality addresses a
  22                               broad range of requirements across Eligibility Automation and Health
  23                               Insurance Exchange." (Oracle Solution for Oregon Eligibility
  24                               Automation & Health Insurance Exchange, p. 2 [undated]);
  25                V11.           "Oracle will also enable Oregon to achieve the following goals and
  26                               objectives* * * [t]o accomplish an effective single point of entry fo[r]


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   1                            all clients - Eligibility Automation and Healthcare Insurance

   2                            Exchange." (Oracle Solution for Oregon Eligibility Automation &

   3                            Health Insurance Exchange, p. 6 [undated, 2011 ]).

   4                                                   165.

   5             These representations by Oracle were false. In fact, the Oracle products making up

   6   the "Oracle Solution" were not a "Comprehensive Solution" and were unable to function

   7   together to modernize DHS's social services delivery systems or create an operational HIX.

   8   An internal assessment estimated that the "Oracle Solution" was 40% custom code. The

   9   "Oracle Solution" failed to easily integrate with Oregon's legacy systems and external

  10   systems. The "Oracle Solution" and its components could not be implemented quickly.

  11                                                  166.

  12             Oracle also made numerous false statements on the Vendor Questionnaire. As noted

  13   above, Oracle answered 95% of the Vendor Questionnaire requirements with a "4,"

  14   indicating "out-of-the-box" functionality. The following responses to the Vendor

  15   Questionnaire requirements were false. For each requirement, the "Oracle Solution" did not

  16   function "out-of-the-box." It required customization and integration to meet the requirement:
  17             (a)    State requirement T -250: "The system shall utilize automated deployment
  18                    tools and techniques to build different environments (for development, testing,
  19                    training and production) and support interfaces with external systems."
  20                    Oracle response: 4.
  21             (b)    State requirement T-340: "The system shall support Master Data Management
  22                    functions, including data standardization and deduplication." Oracle
  23                    response: 4. Oracle comments: "Our Master Data Management platform
  24                    performs high-quality search, match, duplicate identification, and relationship
                        /
  25                    linking on all types of name, address and other identification data."
  26   Ill Ill


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                              e.
   1             (c)   State requirement T -780: "The system shall be the Agency system of record
   2                   for all information used to determine client eligibility and the eligibility result.
   3                   This information shall include client identity, personal information, legal
   4                   status, household information, income and assets." Oracle response: 4.
                                        '
   5                   Oracle comments: "Oracle's technology components are ideal for building
   6                   master data management systems, and Oracle's MDM solutions for client data
   7                   can bring real business value in a fraction of the time it takes to build from
   8                   scratch."
   9             (d)   State requirement R-0152: "System shall support client-initiated electronic
  10                   application for benefits." Oracle's response: 4. Oracle comments: "Clients
  11                   will use the proposed Eligibility Automation Portal - powereq by Oracle
  12                   WebCenter, Oracle's Siebel Public Sector and Oracle Policy Automation
  13                   (OP A) - to initiate and complete online applications for benefits."
  14             (e)   State requirement R-0153: "System shall support client self-screening for
  15                   program benefits and services." Oracle's response:' 4. Oracle comments:
  16                   "Clients,will use the proposed Eligibility Automation Portal - powered by
  17                   Oracl.e WebCenter, Oracle's Siebel Public Sector and Oracle Policy
  18                   Automation (OPA)- to initiate self screening."
  19             (f)   State requirement R-0156: "The system shall provide a method for clients and
  20                   client advocates to update case information." Oracle response: 4.
  21             (g)   State requirement R-0473: "The system shall support configurable workflow
  22                   management." Oracle response: 4.
  23             (h)   State requirement T-360: "The system shall be scalable, meaning that
  24                   additional performance load can be met without changes to the technical
  25                   architecture." Oracle response: 4.
  26   Ill Ill


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   1          (i)   State requirement T-380: "The system shall provide failover capability for
   2                servers." Oracle response: 4.
   3                State requirement T-390: "The system shall average 2 seconds or less end-
   4                user response time 98% of the time each day, testable from the server subnet."
   5                Oracle response: 4.
   6          (k)   State requirement T-400: "The system shall scale to at least 50,000 end-users
   7                while meeting response time requirements (this number is inclusive of the
   8                number of users for con-current usage). Other information pertinent to sizing
   9                of the system include: (1) Number of Oregon medicaid - eligible clients: over
  10                500,000; (2) Number of case managers & other administrative users: 6,000 ;
  11                (3) Number of Providers: 50,000." Oracle response: 4.
  12          (1)   State requirement T-410: "The system shall support 10,000 concurrent users."
  13                Oracle response: 4.
  14          (m)   State requirement T-420: "The system shall be recoverable from a system
  15                failure in 30 minutes or less." Oracle response: 4.
  16          (n)   State requirement T-840: "The system shall support real-time & batch
  17                interfaces with the legacy Client Index system." Oracle response: 4.
  18          (o)   State r~quirement T-850: "The system shall facilitate a person se~rch in its
  19                database and the legacy Client Index system for resolving the identity of
  20                known and possibly known persons before initiating the eligibility
  21                determination process." Oracle response: 4. Oracle comment: "Oracle's
  22                MDM technology components include Data Quality capabilities that search
  23                for possible duplicates and provide data cleansing functions that can be
  24                utilized before eligibility determination processes are started."
  25          (p)   State requirement T-860: "The system shall support real-time & batch
  26                interfaces with the Agency SSA Data Exchange system to facilitate data
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       1                    exchange with Social   Secur~ty   Administration systems to support eligibility
       2                    verification functions." Oracle response: 4.
       3             (q)    State requirement R-0002: "The system shall support updating client data
       4                    (e.g., client demographics and detail information)." Oracle response: 4.
       5             (r)    State requirement R-0019: "The system shall support setting an eligibility
       6                    status." Oracle response: 4.
       7
                                                                                      -
                     (s)    State requirement R-0034: "The system shall support the issuance of benefits
       8                    (e.g., medical cards, EBT cards, provider vouchers, cash equivalents, checks,
       9                    EFT, Foster Home Licenses, etc.)." Oracle response: 4.
      10             (t)    State requirement R-0039: "The system shall support tracking of payment
      11                    transactions (e.g., client payments to branch, deposits, overdue payments,
      12                    provider vouchers, EBT Cards, 437's, Contractor Invoices [599A's])." Oracle
      13                    response: 4.
      14             (u)    State requirement R-0148: "System shall support insurance plan enrollment."
      15                    Oracle response: 4.
      16             (v)    State requirement R-0149: "System shall support identifying regional
      17                    insurance plan choices." Oracle response: 4:
      18             (w)    State requirement R-0238: "The system shall support data extraction for
  19                        analysis and reporting." Oracle response: 4.
  20                 (x)    State requirement R-0450: "The system shall identify duplicate data in client
  21                        records." Oracie response: 4.
  22                 (y)    State requirement R-0471: "The system shall determine client benefits."
  23                       · Oracle response: 4. Oracle comments: "Oracle Policy Automation, Oracle's
  24                        natural language rules engine, will be used to determine all client benefits
  25                        based on underlying State business policies and legislation."
  26       Ill Ill


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   1          (z)      State requirement (not numbered): "The system shall support maintenance of
   2                   rules." Oracle response: 4. Oracle comments: "The Oracle Policy
   3                   Automation (OPA) component ofthe proposed solution supports rule
                                                                                                 '
   4                   maintenance. OPA is used to create, model, test, and deploy business rules in
   5                   natural language."
                                  /

   6          (aa) ·   State requirement R-0272: "The system shall support receiving new Oregon
   7                   Administrative Rule(s) (OAR)." Oracle response: 4. Oracle comments: "Rule
   8                   adminis[t]rators, using Oracle Policy Automation, can receive and incorporate
   9                   new OAR rules easily as they are released."
  10          (bb)     State'requirement R-0273: "The system shall provide historical acces~to prior

  11                   Oregon Administrative Rule(s) (OAR)." Oracle response: 4. Oracle
  12                   comments: "Oracle Policy Modeling has the ability to store historical versions
  13                   of source policy documents and legislation in its rule repository."
  14          (cc)     State requirement R-0274: "The system shall support rule testing/impact
  15                   analysis." Oracle response: 4. Oracle comments: "Oracle's Policy
  16                   Automation solution determines eligibility in complex legislative
  17                   environments."
                                                                                         \
  18          (dd)     State requirement R-0275: "The system shall support importing, exporting and
  19                   sharable rules." Oracle response: 4. Oracle comments: "Oracle's Policy
  20                   Automation solution supports the' ability to import, export and [s]hare
  21                   business rules in easy-understood formats by using familiar desktop
  22                   applications such as Microsoft Word and Excel."
  23          (ee)     State requirement R-0278: "The system shall support applying rules." Oracle
  24                   response: 4. Oracle comments: "The Oracle Policy Automation (OP A)
  25                   component of the proposed solution supports applying rules to business
  26                   processes."



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    1             (ff)   State requirement X-0001: "The system shall support a web portal for an
   2                     individual to view/identify affordable health insurance options." Oracle
   3                     response: 4.
   4              (gg)   State requirement X-0002: "The system shall support a web portal for a
   5                     employer to view/identify affordable health insurance options." Oracle
   6                     response: 4.
   7              (hh)   State requirement X-0008: "The system shall support multiple open
   8                     enrollment periods (e.g., initial, change· of circumstance, Indian tribal, etc.)."
   9                     Oracle response: 4.
  10              (ii)   State requirement X-0032: "The system shall support individual enrollment
  11                     for health plans." Oracle response: 4.
  12              UD     State requirement X-0033: "The system shall support employer enrollment

  13                     for health plans." Oracle response: 4.

  14                                                     167.

  15              Oracle's representations were false. With respect to each of the representations

  16    described in paragraphs164 and 166, the system did not function out-of-the-box. Oracle did

  17    not use automated development deployment and billed the State to configure and standup

  18    'code-ready environments. Oracle's discrete products failed to integrate without extensive

  19    customization. T]:le disaster recovery environment was never delivered. On the October 1,

  20    2013 launch date, the systems scaled to only 80 users. Oracle failed to configure its data

  21    management component to load client addresses from the State's legacy servers and Oracle

  22    billed the State to de-duplicate data. An Oracle employee noted that OPA, which was the

  23    key Oracle product responsible for eligibility automation, was "[n]ot ready for prime time

  24    when sold as an integral part of the initial contract." Oracle extensively customized Siebel

  2,?   and OPA.

  26    Ill Ill


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   1                                                 168.

   2           Oracle also presented false bills to the State. According to a former Oracle employee,

   3    Oracle billed the State for employees working 40-hour weeks when those same employees

   4    were not working on the Projects but were instead performing work for other states.

   5                              The Damage Oracle Caused to the State

   6                                                 169.

   7           From June 2011 until June 2014, the State and Cover Oregon paid $240,280,008 for

   8   . Oracle products and services to build a HIX and modernize its delivery of social services.

   9    The State's and Cover Oregon's investment in Oracle products and services has amounted to

  10    a nearly complete loss. The HIX failed to -launch on schedule and has never functioned as

  11    planned. The Modernization Project groundto a halt in 2013 and remains incomplete.

  12                                                  170.

  13            Since 2011, DHS and OHA have paid $133,607,504 for Oracle products and services

  14    for the Modernization and HIX-IT Projects. Of that total, DHS and OHA paid $94,504,170
  15    for Oracle's consulting services. Cover Oregon paid $106,672,503 between March 2013 and

  16    present for Oracle products and services related to the HIX-IT Project. Of that total, Cover

  17    Oregon paid $77,197,987 for Oracle's consulting services. In total, the State and Cover

  18   · Oregon paid $240,280;008 for Oracle products and services for the Modernization and HIX-

  19    IT Projects.
  20                                                  171.

  21            Oracle's failures have caused the State to incur additional costs beyond Oracle's
  22    sizeable fees.
  23                                                  172.

  24            OraCle's failures required Cover Oregon and the OHA to create a manual process to

  25    determine Oregonian's eligibility for benefits under the ACA and emoll them in coverage.

  26    To that end,·Cover Oregon hired hundreds of temporary workers to manually process paper


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   1    insurance enrollment applications, at a reasonably probable cost through the end of2014 of

   2    $11,235,543. ·To support this manual process, ORA's activities included creating a call

   3    center, renting office space, hiring hundreds of temporary employees, purchasing hardware,

   4    and sending out thousands of mailings. It is reasonably probable that the t_otal cost to OHA

   5    of this manual process through the end of2014 will be $51,735,864.

   6                                                 173.

   7           Aside from a limited portion the back-end system used to determine Medicaid

   8    eligibility and transition to the federal exchange, the majority of Oracle's shoddy and

   9    incomplete work on the HIX-IT Project is useless. Cover Oregon estimates that it will cost

  10    $661,600 to transition to federal exchange. Cover Oregon may incur additional costs that

  11    have yet to be determined to complete this transition.
  12                                                  174..

  13           Oracle's failures required the State and Cover Oregon to build a new eligibility
                                                              .
  14    determination process for Medicaid applicants. The first portion of this work is estimated to

  15    cost $24,400,000. Additional work will be required at a cost that has not yet been
  16    determined.

  17                                                  175.

  18           Oracle's failures required Cover Oregon to build a temporary website to provide the

  19    public with information about health insurance choices at a cost of$5,750,000.
  20                                                  176.

  21           Oracle's failures cost Cover Oregon millions of dollars in anticipated revenue. Had
  22    the exchange launched as planned on October 1, 2013, Cover Oregon expected to earn carrier

  23    assessments and public program fees totaling $32,004,018 in revenue in 2014 and

  24    $64,361,775 in 2015. Because Oregonians seeking health insurance contacted insurance

  25    carriers directly instead of enrolling through Cover Oregon or did not enroll at all due to

  26   \inaccessibility of the website, Cover Oregon lost most of the carrier assessment revenue it


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   1   expected to receive. As 'a result of Oracle's failures, it is reasonably probable that Cover

   2   Oregon will lose approximately $26,214,018 in anticipated net revenue in 2014, and

   3   approximately.$54,361,775 in anticipated net revenue in 2015, for atotal projected net loss
   4   of $80,575,793.

   5                                                  177.

   6            The State and Cover Oregon expected to derive other benefits from the HIX-IT

   7   Project, including the benefit of being a nationwide leader in running a state health insurance
                        \



   8   exchange. The full amount that the State and Cover Oregon have lost as a result of the
   9   failure of Oracle to deliver these benefits has yet to be determined.
  10                                                  178.

  11            Oracle's failures required the State to hire third-party vendors to assess Oracle's

  12   work. In January 2014, the State hired First Data to provide a review of the HIX-IT Project,

  13   at a total cost of $228,000. Also in 2014, the State and Cover Oregon each hired Deloitte to
  14   assess Oracle's wdrk and provide them with options for enabling Oregonians to enroll in
  15   health insurance. Cover Oregon paid Deloitte $2,900,000 and the State paid Deloitte
  16    $2,980,000.
  17                                                  179.

  18            Oracle's failures caused the Modernization Project to fail. The State will be forced to
  19    spend an amount that has yet to be determined to complete the Modernization Project.
  20                                                  180.

  21          , In addition,· the State expected the Modernization Project to streamline the
  22   application, eligibility determination, and enrollment process for State social service
 23    programs, improving efficiency and reducing costs. The State also expected the
 24    Modernization Project to improve caseworker efficiency for State social service programs,

 25    also reducing costs. Finally, the State and Cover Oregon expected to have a unified, single
  26   system for the health insurance exchange and the State's social service programs, improving


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   1    efficiency and reducing costs. The full amount that the State and Cover Oregon have lost as

   2    a result of the failure of Oracle to deliver these benefits has yet to be determin~d.

   3                                                   181.

   4           Oracle's failures led to several ongoing federal .investigations. On March 25, 2014,

   5    the United States House Committee on Oversight and Government Reform launched an

   6    investigation into the failures of Oregon's HIX. Two months later, the-United States Senate

   7    Committee on Finance launched its own investigation into the failures. In May 2014, the

   8    United States Attorney for Oregon launched a grand jury investigation. To date, the State

   9    has spent approximately $85,000 responding to these investigations, and will continue to

  10    incur costs.

  11                                                   182.

  12            Oracle's failures have also exposed the State to litigation. In March 2014, the estate

  13    of an Oregon citizen provided to the State notice of its intention to sue to recover medical

 · 14   expenses incurred because the citizen was allegedly unable to successfully obtain health

  15    insurance through the HIX. The citizen's alleged inability to obtain health insurance through

  16    the HIX is, if true, directly caused by Oracle's failures. The State has incurred and will incur

  17    costs investigating and preparing a defense to this potential lawsuit.

  18                                                   183.

  19            In addition, on July 8, 2014, counsel for a health insurance agent provided notice of

  20    intent to file a class action lawsuit against Cover Oregon on behalf of more than 1,000 health

  21    insurance agents alleging that Cover Oregon had failed to pass through commission

. 22    payments to agents and provide adequate reporting. Any delay or inadequacy in commission

  23    payments or reporting by Cover Oregon was caused by Oracle's failure to properly design

  24    and construct the functionality necessary to process the commissions and accurately report.

  25    To date, Cover Or~gon has incurred costs to address these issues and will incur costs to

  26    defend any future lawsuit.


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   1                                    FIRST CLAIM FOR RELIEF
   2                                                  Fraud
   3                              (DHS and OHA against Defendant Oracle)
   4                                                   184.
   5             Plaintiffs re-allege paragraphs 1 through 183, and incorporate the allegations herein,
   6   as if fully set forth.
   7                                                   185.
   8             Oracle made material representations to DHS and OHA t~at were false, including:
   9             (a)     The "Oracle Solution" was an out-of-the-box solution, as described in
  10                     paragraphs 3, 35, 57, 59, 60, 61, 69, 72, 74, 75, 164 and 166;
  11             (b)     The "Oracle Solution" required only 5% customization, as described in
  12                     paragraphs 59, 63, 72, 74, 75, 164 and 166;-
  13             (c)     The "Oracle Solution" could be implem_entedquickly, as described in
  14                     paragraphs 53, 70, 66 and 164;
  15             (d)     The "Oracle Solution" was built on integrated technologies, as described in
  16                     paragraphs 3, 51, 64, 66, 70, 75, 76 and 164;
  17             (e)     The "Oracle Solution" was flexible and easy to integrate with both existing
  18                     and external systems, as described in paragraphs 3, 35, 66, 75, 76 and'77;
  19             (f) .   The "Oracle Solution" included implementation of a health insurance
  20                     exchange, as described in paragraph 164.
  21                                                   186.
  22             Oracle disguised the true state of development of the Modernization and HIX-IT
  23   Projects, including by its control of access to ~evelopment environments, as described in
  24   paragraphs 6, 103, 106 and 148, so that DHS and OHA were unable to discover that Oracle
  25   was failing to meet the representations listed in paragraph 185.
  26   Ill Ill


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   1                                                     187.
   2               DHS and OHA were ignorant of the falsity of Oracle's representations, which were
   3    material to DHS and OHA's decision to purchase the "Oracle Solution."
   4                                                     188.
                                                                                                                       I

   5·              Oracle either knew that its representations were false or recklessly disregarded the

   6    truth or falsity of its representations.
   7                                                     189.
   8               Oracle made these representations with the intentthat DHS and OHA would rely on

   9    them to decide to purchase and use the "Oracle Solution" and to pay Oracle millions of
  10    dollars.

  11                                                     190.

  12               Oracle's representations caused DHS and OHA to purchase the "Oracle Solution" and

  13    pay Oracle, as described in paragraphs 9, 14, 96, 169 and 170.
  14                                                     191.

  15               DHS and OHA's reliance on Oracle's representations was justified. Oracle had
 ·16    superior knowledge and understanding of the products in the "Oracle Solution" and the

  17    capacity of Oracle to integrate, program, and implement the products. Furthermore, DHS

  18    and OHA exercised reasonable diligence in determining the truth of Oracle's representations,
  19    including by submitting numerous requests for information, holding several Table Talk
  20    presentations, hosting a demonstration of the "Oracle Solution," and hiring Wakely and
  21    . KPMG to make an independent evaluation and recommendation, as described in paragraphs
  22    50, 67, 69 and 78.
  23                                                     192.

  24               As the direct and foreseeable result of Oracle's fraud, DHS and OHA suffered

  25    damages of$212,837,368, as described in paragraphs 169-183.
  26    !IIIII


                                                                                    ATIORNEY GENERAL ELLEN ROSENBLUM
Page    64 -       COMPLAINT                                                                MARKOWITZ, HERBOLD,
                                                                                           GLADE & MEHLHAF, P.C.
                                                                                    SPECIAL ASSISTANT ATIORNEYS GENERAL
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   1                                                  193.
   2            The dates on which DHS and OHA became responsible for the amounts described in
   3   paragraph 192 are easily ascertainable. As such, DHS and OHA are entitled to prejudgment
   4   interest on those amounts at the statutory rate of 9% per anmim.
   5                                                  194.
   6            Because aggravating factors exist with regard to Oracle's fraud, DHS and OHA
   7   reserve the right to seek leave to amend this claim to allege punitive damages consistent with
   8   ORS 31.725.
   9                                   SECOND CLAIM FOR RELIEF

  10                                                 Fraud
  11                               (Cover Oregon against Defendant Oracle)
  12                                                  195. '
  13            Plaintiffs re-allege paragraphs 1 through 194, and incorporate the allegations herein,
  14   as if fully set forth.
  15                                                  196.
  16            Oracle made material representations. to Cover Oregon that were false, including:
  17            (a)     Oracle executives Loos and Wardlaw told Cover Oregon officer Karjala that
  18                    servers and environments could be set up in less than 12 weeks, as described
  19                    in paragraph 115;
  20            (b)     Oracle Level of Effort estimates provided to Cover Oregon showed that the
  21                    HIX-IT Project was nearly 80% complete, as described in paragraphs 7, 117
  22                    and 128;
  23            (c)     Oracle would deliver complete production of the HIX-IT Project before

  24                    October 1, 2013.

· 25   /IIIII
  26   /IIIII


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                                                                                        GLADE & MEHLHAF, P.C.
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     1                                                    197.
     2              In addition, Oracle intended that the representations it made to DHS and OHA,
     3    described above in paragraph 196, would be passed on to and relied on by Cover Oregon.
     4                                                  \198.
     5              Cover Oregon was ignorant of the falsity of Oracle's representations, which were
     6    material to Cover Oregon's decision to enter the Oracle-Cover Oregon Contracts.
     7                                                    199.
     8              Oracle either knew that its representations was false or recklessly disregarded the
     9    truth or faJsity of its representations.
    10                                                    200.
                    (
    11              Oracle made these representations with the intent that Cover Oregon would enter the
    12   . Oracle-Cover Oregon Contracts and pay Oracle millions of dollars.
    13                                                    201.
I   14              Oracle's representations caused Cover Oregon to enter the Oracle-Cover Oregon
    15    Contracts and pay the amounts Oracle billed for and demanded, as described in paragraphs
    16    114, 150, 169 and 170.
    17                                                    202.
    18              Cover Oregon's reliance on Oracle's representations was justified. Oracle had
    19    superior knowledge and understanding of the products in the "Oracle Solution," including the
    20    servers and environments, and the capacity of Oracle to integrate, program, and implement
    21    the products. Furthermore, Oracle controlled the HIX-IT Project, as described in paragraphs
    22    6, 103, 106 and 148. As such, Oracle did not provide Cover Oregon with access to
    23    development environments and Cover Oregon was unable to assess the degree to which
    24    Oracle had completed the HIX-IT Project.
    25    Ill Ill
    26    Ill Ill


                                                                                     ATIORNEY GENERAL ELLEN ROSENBLUM
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   1                                                 203.
   2           As the direct and foreseeable result of Oracle's fraud, Cover Oregon suffered
   3   damages of$207,915,439 as described in paragraphs 169-183.
   4                                                 204.
   5           The dates on which Cover Oregon became responsible for the amounts described in
   6   paragraph 203 are easily ascertainable. As such, Cover Oregon is entitled to prejudgment
   7   interest on those amounts at the statutory rate of 9% per annum.
   8                                                 205.
   9           Because aggravating factors exist with regard to Oracle's fraud, Cover Oregon
  10   reserves· the right to seek leave to amend this claim to allege punitive damages consistent
  11   with ORS 31.725.
  12                                  THIRD CLAIM FOR RELIEF

  13                                      Oregon False Claims Act
  14                      (Attorney General of Oregon against Defendant Oracle)
  15                                                 206 ..
  16           Plaintiffs re-allege paragraphs 1 through 205, and incorporate the allegations herein,
  17   as if fully set forth.
  18                             C~mnt   1- Violation ofORS 180.755(1)(a)
  19                                                 207.
  20           Oracle presented invoices for payment to DHS, OHA, and Cover Oregon, as
  21   described in paragraphs 9, 14, 96, 114, 143-147, 150, 169 and 170.
  22                                                 208.
  23           Oracle fraudulently induced DHS, OHA, and Cover Oregon to enter the Mythics-
  24   OHA Contracts, the Oracle-OHA Contracts, and the Oracle-Cover Oregon Contracts, as
  25   described in First and Second Claims for Relief. Each and every one of the invoices
  26   presented to DHS, OHA, and Cover Oregon pursuant to the Mythics-OHA Contracts, the


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   1   Oracle-ORA Contracts, and the Oracle-Cover Oregon Contracts was a false claim because .

   2   they derived from the original fraudulent misrepresentations inducing DHS, OHA, and Cover

   3   Oregon to the enter Mythics-OHA Contracts, the Oracle-ORA Contracts, and the Oracle-

   4   Cover Oregon Contracts.

   5                                                209.

   6          Oracle, disguised the true state ofdevelopment on the Modernization and HIX-IT

   7   Projects, including by controlling access to development environments, as described in

   8   paragraphs 6,1 103, 106 and 148, so that DHS, OHA and Cover Oregon were unable to

   9   discover that Oracle was failing to meet the representations listed in paragraphs 185 and 196.
  10                                                210.

  11          As a direct and foreseeable result of Oracle's false claims, DHS, OHA, and Cover

  12   Oregon were damaged in the full amount of every claim paid, amounting to $133,607,504

  13   pa!d by DHS and OHA and $106,672,503 paid by Cover Oregon, as described in paragraph

  14   9, 14, 96, 114, 150, 169 and 170.
  15                                                211.

  16          Pursuant to ORS 180.760(4), the Attorney General seeks an award of damages for the

  17   amounts described in paragraph 210.

  18                                                212.

  19          The dates on which DHS, ORA, ~and Cover Oregon became responsible for the

  20   amounts described in paragraph 210 are easily ascertainable. As such, the Attorney General

  21   is entitled to prejudgment interest on those amounts at the statutory rate of 9% per annum.
  22                                                213.

  23          In addition, pursuant to ORS 180.760(4), the Attorney General seeks civil penalties

 -24   amounting to twice the amount of damages described in paragraph 210. The Attorney

  25   General seeks an award of reasonable attorney fees and costs of investigation, preparation,

  26   and litigation incurred in connection this count pursuant to ORS 180.760(8). ·


                                                                                A TIORNEY GENERAL ELLEN ROSENBLUM
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   1                /
                                     Count 2- Violation of ORS 180.755(l)(b)
   2                                                  214.
   3          Oracle falsely stated that:
   4          (a)       The "Oracle Solution" was an out-of-the-box solution, as described in

   5                    paragraphs 3, 35, 57, 59, 60, 61, 69, 72, 74, 75, 164 and 166; ·
   6          (b)       The "Oracle Solution" required only 5% customization, as described in

   7                    paragraphs 59, 63, 72, 74, 75, 164 and 166;
   8          (c)       The "Oracle Solution" could be implemented quicklr, as qescribed in

   9                    paragraphs 55, 66, 70, 164;
  10          (d)       The "Oracle Solution" was built on integrated technologies, as described in

  11                    paragraphs 3, 51, 64, 66, 70, 75, 76 and 164;
  12          (e)       The "Oracle Solution" was flexible and easy to integrate with both existing
  13                    and external systems, as described in paragraphs 3, 35, 66, 75, 76 and 77;
  14          (f)       The "Oracle Solution" included implementation of a health insurance
  15                    exchange, as described in paragraph 164;
  16          (g)       The HIX-IT Project was nearly complete, as stated in the development
  17                    dashboards and described in paragraphs 7 and 128;
  18          (h)       Core elements of the exchange were functional as shown in Kim's
  19                    demonstration at the June 13, 2013 Cover Oregon Board of Directors' meeting
  20                    described in paragraphs 125-127;
                                 '
  21          (i)       The HIX would be ready to launch on· October 1, 2013, as described in
  22                    paragraphs 7, 8, 117, 120, 122, 124, 126, 128, 130 and 142;
  23                    The HIX would be ready to launch on October 15, 2013, as stated in. the email
  24                    from Bartolo to King described in paragraphs 9-and 136;
  25          (k)       The HIX would be ready to launch on October 31, 2013, as told by Bartolo to
  26                    King and Karjala and described m·paragraph 9 and 136;


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   1             (1)    The HIX would be ready to launch at the end of December 2013, as told by
   2                    Budnar to the Cover Oregon Board of Directors on November 14, 2013 and
   3                    described in paragraphs 9 and 140;
   4             (m)    The HIX would be ready to launch on February 3, 2014, as told by Puri to
   5                    Goldberg on January 7, 2014 and described in paragraphs 9, 10, 143-145;
   6             (n)    The HIX would be ready to launch on February 24, 2014, as told by Puri to
   7                    Goldberg on February 11,2014 and described in paragraphs 9, 10, 146-147;
   8             (o)    The HIX was nearly ready to launch as told by Catz to Goldberg and other
   9                    State officials on February 26, 2014 and described in paragraph 150;
  10             (p)    The "functionality required to enroll the vast majority·of Oregon residents is

  11                    operational," as written in a letter from Catz to Cover Oregon in April20 14

  12                    and described in paragraph 151.

  13                                                   215.

  14             Oracle made these statements with actual knowledge that they were false, with

  15   deliberate ignorance of their falsity, or with reckless disregard of their falsity.

  16                                                   216.

  17             Oracle made these statements in the course of presenting invoices and other claims

  18   for payment to DHS, OHA, and Cover Oregon. Oracle made these statements in the course

  19   of presenting for payment each of the invoices and claims described in paragraphs 9, 14, 96,

  20   114, 143-147, 150, 169, 170 and 210.

  21                                                   217.

  22             Oracle disguised the true state of development on the Modernization and HIX-IT

  23   Projects, including by controlling access to development environments, as described in

  24   paragraphs 6, 103, 106 and 148, so that DHS and OHA were unable to discover that Oracle

  25   was failing to meet the representations listed in paragraph 214.
  26   Ill Ill


                                                                                   A TIORNEY GENERAL ELLEN ROSENBLUM
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   1                                                   218.
   2              As a direct and fores~eable result of Oracle's false claims, DHS, OHA, and Cover
   3   Oregon were damaged in the full amount of every claim paid, amounting to $133,607,504
   4   paid by DHS and OHA and $106,672,503 paid by Cover Oregon, as described in paragraphs
   5   9, 14, 96, 114, 150, 169, 170 and 210.
   6                                                   219.
   7              Pursuant to ORS 180.760(4), the Attorney General seeks an award of damages for the
   8   amounts described in paragraph 218.
   9                                                   220.
  10              The dates on which DHS, OHA, and Cover Oregon became responsible for the
  11   amounts described in paragraph 218 are easily ascertainable. As such, the Attorney General
  12   ·is entitled to prejudgment interest on those amounts at the statutory rate of 9% per annum.
  13                                                   221.
  14              In addition, pursuant to ORS 180.760(4), the Attorney General seeks civil penalties
  15   amounting to twice the amount of damages described in paragraph 218. The Attorney
  16   General seeks an award of reasonable attorney fees and costs of investigation, preparation,
  17   and litigation incurred in connection this count pursuant to ORS 180.760(8).
  18                               Count 3- Violation ofORS 180.755(1)(a)
  19                                                   222.
  20          '
              I


                  Oracle presented invoices for payment to DHS, OHA, and Cover Oregon, for
  21   consulting services, as described in paragraphs 9, 96, 114, 143-147, 150; 169 and 170.
  22                                                   223.

  23              Each and every one ofthese invoices was false because Oracle's consulting services
  24   were not provided in a professional manner consistent with industry standards, as required in
  25   the MLSA, OHA OLSA, and Cover Oregon OLSA. Oracle failed to adhere to industry
  26   standards, as described in paragraphs 13, 84, 94, 112, 113, 156-163.


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   1                                                    224.

   2              , Oracle disguised the true state of development on the Modernization and HIX-IT

   3   . Projects, including by controlling access to development environments, as described in

   4    paragraphs 6, 103, 106 and 148, so that DHS and OHA were unable to discover that Oracle

   5    was failing to meet industry standards.

   6                                                    225.

   7               As a direct and foreseeable result of Oracle's false claims, DHS, OHA, and Cover

   8    Oregon paid Oracle $174,029,405 for consulting services, as set forth in Exhibit 1.

   9                                                    226.

  10               Pwsuant to'ORS 180.760(4), the Attorney General seeks an award of damages for the

  11    amounts described in paragraph 225.

  12                                                    227.

  13               The dates on which DHS, OHA, and Cover Oregon became responsible for the

  14    amounts described in paragraph 225 are easily ascertainable. As such, the Atto~ey General

  15    is entitled to prejudgment interest on those amounts at the statutory rate of 9% per annum.

  16                                                    228.

  17               In addition, pursuant to ORS 180.760(4), the Attorney General seeks civil penalties

  18   . amounting to twice the amount of damages described in paragraph 225. The Attorney

  19    General seeks an award of reasonable attorney fees and costs of investigation, preparation,

  20    and litigation incurred in connection this count pursuant to ORS 180.760(8).

  21                                Count 4- Violation ofORS 180.755(1)(a)
  22                                                    229.

  23               Oracle presented invoices for payment to DHS, OHA, and Cover Oregon, for

  24    consulting services, as described in paragraphs 9, 96, 114, 143-147, 150, 169 and 170.

  25    Ill Ill
  26    Ill Ill


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   1                                                  230.
   2             Numerous of these invoices were false because they represented that Oracle
   3   employees were working on the Projects, when in reality those employees were performing
   4   work for other states, as described in paragraph 168.
   5                                                  231.
   6             As a direct and foreseeable result of Oracle's false claims, DHS, OHA, and Cover
   7   Oregon paid Oracle an amount to be determined, but not in excess of $174,029,405, for
   8   consulting services billed that Oracle did not perform.
   9                                                   232.
  10             Pursuant to ORS-180. 760(4), the Attorney General seeks an award of damages for the
  11   amounts described in paragraph 231.
  12                                                   233.
  13             The dates on which DHS, OHA, and Cover Oregon became responsible for the
  14   amounts described in paragraph 231 are easily ascertainable. As such, the Attorney General
  15   is entitled to prejudgment interest on those amounts at the statutory rate of-9% per annum.
  16                                                   234.
  17             In addition, pursuant to ORS 18"0. 760(4), the Attorney General seeks civil penalties
  18   amounting to twice the amount of damages described in paragraph 231. The Attorney
  19   General seeks an award of reasonable attorney fees and costs of investigation, preparation,
  20   and litigation incurred in connection this count pursuant to ORS 180. 760(8).
  21                                   FOURTH CLAIM FOR RELIEF
  22                     Oregon False Claims Act- Violation of ORS 180.755(1)(b)
  23                       (Attorney General of Oregon against Defendant Catz)
  24                                                   235.
  25             Catz made the following false statements:
  26   Ill Ill


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                                                                                         MARKOWITZ, HERBOLD,
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   1             (a)    During a meeting on February 26, 2014 with Dr.      Gold~erg   and State officials,
   2                    Catz falsely stated that the HIX system was nearly ready to launch, as
   3                    described in paragraph 150;
   4             (b)    In an April 2014 letter to Cover Oregon, Catz falsely stated that the
   5                    "functionality required to enroll the vast majority of Oregon residents is
   6                    operational," as described in paragraph 151.
   7                                                   236.
   8             Catz made these statements with actual knowledge that they were false, with
   9   deliberate ignorance of their falsity, or with reckless disregard of their falsity.
  10                                                   237.
  11             Catz made these statements in the course of presenting claims for payment to Cover
  12   Oregon. Catz made her February 26, 2014 statement in the course of demanding that the
  13   State and Cover Oregon pay Oracle millions of dollars, as described in paragraph 150. Catz
  14   made her April 2014 statement in the course of demanding that Cover Oregon resolve
  15   "payment issues" with Oracle, as described in paragraph 151.
  16                                                   238.
  17             As a direct and foreseeable result ofCatz's February 26,2014 statement, Cover
  18   Oregon paid Oracle $43,934,567, as described in paragraph 150.
  19                                                   239.
  20             Pursuant to ORS 180.760(5), Catz is liable for a penalty under ORS 180.760(4). The
  21   Attorney General seeks civil penalties amounting to twice the amount of damages described
  22   in paragraph 238. Pursuant to ORS 180.760(4), the Attorney General also seeks a penalty of
  23   ,$10,000 for each ofCatz's violations ofORS 180.755(1)(b) contained in her April2014
  24   letter.
  25   Ill Ill
  26   Ill Ill


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   1                                                   240.

   2             The dates on which Cover Oregon became responsible for the amounts described in

   3   paragraph 238 are easily ascertainable. As such, the Attorney General is entitled to

   4   prejudgment interest on those amounts at the statutory rate of 9% per annum.

   5                                                   241.

   6             The Attorney General seeks    an award of reasonable attorney fees and costs of
   7   investigation, preparation, and litigation incurred in connection with this claim pursuant to

   8   0}\S 180. 760(8).

   9                                    FIFTH CLAIM FOR RELIEF

  10                     Oregon False Claims Act- Violation ofORS 180.755(1)(b)

  11                     (Attorney General of Oregon against Defendant Budnar)
  12                                                   242.

  13             Budnar made the following false statements:
  14             (a)    At the August 8, 2013 Cover Oregon Board-of Directors meeting, Budnar
  15                    confirmed that the HIX system would be ready to launch on October 1, 2013,
  16                    and failed to disclose that there were serious deficiencies with the system, as
  17                    described in paragraph 130;
  18             (b)    At the November 14, 2013 Cover Oregon Board of Directors meeting, Budnar
  19                    stated that the HIX would be ready to launch at the end of December 2013, as
                                           \
  20                    described in paragraph 140;
  21             (c)    At the January 7, 2014 meeting with Puri and Dr. Goldberg, Budnar failed to
  22                    to correct Puri's false statements, as described in paragraphs 143-145;
  23             (d)    At the February 11, 2014 meeting with Puri and Dr. Goldberg, Budnar failed
  24                    to correct Puri' s false statements, as described in paragraphs 146-14 7.
  25   Ill Ill
  26   Ill Ill


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                                                                                         GLADE & MEHLHAF, P.C.
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   1                                                   243.

   2          Budnar made these statements with actual knowledge that they were false, with

   3   deliberate ignorance of their falsity, or with reckless disregard of their falsity ..

   4                                                   244.

   5           Budnar made these statements in the course of presenting claims for payment to

   6   Cover Oregon. Oracle had four invoices awaiting payment when Budnar made his first

   7   misrepresentation on August 8, 2013, as shown in Exhibit 1. Oracle sent Cover Oregon an

   8   additional33 invoices between August 8, 2013 and December 31,2013, the last date Budnar

   9   said the HIX-IT Project would be ready to launch, as shown in Exhibit 1. In addition failed

  10   to correct Puri's false statements during the January 7, 2014 and February 11,2014 meetings,

  11   during which Oracle presented demands for payment.
  12                                                   245.

  13          As a direct and foreseeable result ofBudnar's false statement on August 8, 2013,

  14   Cover Oregon paid Oracle $12,265,026.37 for consulting services from that date until

  15   October 1, 2013, the date Budnar represented the HIX-IT Project would be ready to launch,
  16   as shown in Exhibit 1.
  17                                                   246.

  18          As a direct and foreseeable result of Budnar' s failure to correCt Puri' s false statements

  19   on January 7, 2014 and February 11, 2014, Cover Oregon paid Oracle $43,934;567 in March
  20   2014, as described in paragraph 150.
  21                                                   247.

  22          Pursuant to ORS 180.760(4) and (5), the Attorney General seeks civil penalties
  23   amounting to twice the amount of damages described in paragraphs 245 and 246.
  24                                                   248.

  25          Pursuant to ORS 180.760(4), the Attorney General seeks a penalty of$10,000 for

  26   each ofBudnar's violations ofORS 180.755(1)(b) on November 14,2013.


Page   76 -   COMPLAINT                                                             ATIORNEY GENERAL ELLEN ROSENBLUM
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   1                                                    249.
   2            The dates on which Cover Oregon became responsible for the amoun~s described in
   3    paragraphs 245-246 are easily ascertainable. As such, the Attorney General is entitled to
   4    prejudgment interest on those amounts at the statutory rate of 9% per annum.
   5                                                    250.
   6            The Attorney General seeks an award of reasonable attorney fees and costs of
   7    investigation, preparation, and litigation incurred in connection with claim pursuant to
   8    ORS 180.760(8).
   9                                    SIXTH CLAIM FOR RELIEF

  10                    Oregon False Claims Act- Violation of ORS 180.755(1)(b)
  11                     (Attorney General of Oregon against Defendant Bartolo)
  '12                                                   251.
  13            Bartolo made the following false statements:
  14            (a)     On October 10, 2013, Bartolo sent an email to King stating that the HIX-IT
  15                    Project would be ready to launch on October 15, 2013, as described in
  16                    paragraphs 9 and 136;
  17            (b)     On multiple dates in October, Bartolo told King and Karjala that the HIX-IT
  18                    Project would be ready to launch on October 30, 2013, as described in
  19                    paragraphs 9 and 136.
  20                                                    252.
  21            Bartolo made these statements with actual knowledge that they were false, with
  22    deliberate ignorance of their falsity, or with reckless disregard of their falsity.
  23                                                    253.
  24           Bartolo made these statements in the course of presenting claims for payment to
  25    Cover Oregon. Oracle had five invoices outstanding in October 2013 and Oracle sent C<;>Ver
  26    Oregon an additional two invoices in October 2013, as shown in Exhibit 1.


Page    c77-   COMPLAINT                                                            ATIORNEY GENERAL ELLEN ROSENBLUM
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   1                                                   254.
   2             Pursuant to ORS 180.760(4) and (5), the Attorney General seeks a penalty of$10,000
   3   for each of Bartolo's violations ofORS 180.755(1)(b).
   4                                                   255.
   5             The Attorney General seeks an award of reasonable attorney fees and costs of
   6   investigation, preparation, and litigation incurred in connection with claim pursuant to
   7   ORS 180. 760(8).
   8                                  SEVENTH CLAIM FOR RELIEF

   9                     Oregon False Claims Act- Violation of ORS 180.755(l)(b)
  10                       (Attorney General of Oregon against Defendant Kim)
  11                                                   256.
  12             At the June 13, 2013 Cover Oregon Board of Directors meeting, Kim falsely
  13   represented through a demonstration to the Cover Oregon Board of Directors that core
  14   elements ofthe HIX system were functional, as described in paragraphs 125-127.
                                              .                                                  I



  15                                                   257.
  16             Kim presented this demonstration with actual knowledge that it was false, with
  17   deliberate ignorance of its falsity, or with reckless disregard of its falsity.
  18                                                   258.
  19             Kim presented this demonstration in the course of presenting claims. for payment to
  20   Cover Oregon. Oracle sent Cover Oregon 15 invoices between Kim's June 13,2013
  21   demonstration and October 1, 2013, the date the HIX-IT Project failed to launch.
  22                                                   259.
  23             As a direct and foreseeable result of Kim's June 13, 2013 demonstration, Cover
  24   Oregon paid Oracle $22,551,105.19 for consulting services between that date and October 1,
  25   2013, the date the HIX-IT Project failed to launch. ·
  26   Ill Ill


Page   78 -      COMPLAINT                                                             ATIORNEY GENERAL ELLEN ROSENBLUM
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   1                                                260.

   2          Pursuant to ORS 180.760(4) and (5), the Attorney General seeks civil p~nalties

   3   amounting to twice the amount of damages described in paragraph 259.

   4                                                261.

   5          The dates-on which Cover Oregon became responsible for the amount described in

   6   paragraph 259 is easily ascertainable. As such, the Attorney General is entitled to

   7   prejudgment interest on those amounts at the statutory rate of 9% per annum.

   8                                                262.

   9          The Attorney General seeks an award of reasonable attorney fees and costs of

  10   investigation, preparation, and litigation incurred in connection with claim pursuant to

  11   ORS 180.760(8).
  12                                 EIGHTH CLAIM FOR RELIEF

  13                   Oregon False Claims Act- Violation of ORS 180.755(1)(b)

  14                     (Attorney General of Oregon against Defendant Puri)
  15                                                263.

  16          Puri made the following false statements:
  17          (a)     On January 7, 2014, Puri told Dr. Goldberg that all "blockers" had been
  18                  resolved and the HIX would be ready to launch on February 3, 2014, as
  19                  described in paragraph 183;
  20          (b)     On the same day, Puri told Dr. Goldberg that Oracle had performed
  21                  development work, as opposed to repair work covered by warranty, since
  22                  November 17,2013 and would be performing new development work, as
  23                  opposed to repair work covered by warranty, through February 3, 2014;
  24          (c)     On February 11, 2014, Puri told Dr. Goldberg that the HIX would be ready to
  25                  launch with limited functionality on February 14, 2014 and be ready for a full
  26                  launch on February 24, 2014, as described in paragraph 146;


                                                                                ATTORNEY GENERAL ELLEN ROSENBLUM
Page   79 -   COMPLAINT                                                                MARKOWITZ, HERBOLD,
                                                                                      GLADE & MEHLHAF, P.C.
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   1                     (d)   ,On the same day, Puri told Dr. Goldberg that Oracle had perforined new

   2                            development work since October 1, 2013, as opposed to repair work covered

   3                            by warranty, and would be performing new development work up until

   4                            February 28, 2014, as opposed to repair work covered by warranty.

   5                                                          264.

   6                     Puri made these statements with actual knowledge that they were false, with

   7          deliberate ignorance of their falsitY, or with reckless disregard of their falsity.
   8                                                          265.

   9                     Puri made these representations in the course of presenting claims for payment to

  10 ·        Cover Oregon. On January 7, 2014, Puri demanded rriore than $24,000,000 in payment, as

  11          described in paragraph 144, and on February 11, Puri de~anded nearly $70,000,000 in

  12          payment, as described in paragraph 146.

  13                                                          266.

  14 \                   Puri's false representations that the HIX-IT Project would be ready to launch on

  15          February 3, 2014 and February 24, 2014, each violated ORS 180.755(1)(b). Pursuant to ORS

  16           180.760(4), the Attorney General seeks a penalty of$10,000 for each ofPuri's violations of
  17          ORS 180.755(1)(b).
         '"
  18                                                          267.

  19                     As a direct and foreseeable result ofPuri's representations on January 7, 2014 and
  20          February 11, 2014, that Oracle had performed and would perform development work, as

  21          opposed to repair work covered by warranty, Cover Oregon paid Oracle $43,934,567 in
  22          March 2014.

  23                                                              268.

  24                     Pursuant to ORS 180.760(4) and (5), the Attorney General seeks civil penalties
                                                                     '

  25          amounting to twice the amount of damages described in paragraph 267.
  26          -111 Ill


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                                                                                                   MARKOWITZ, HERBOLD,
                                                                                                  GLADE & MEHLHAF, P.C.
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   1                                                  269.
   2              The dates on which Cover Oregon became responsible for the amounts described in
   3   paragraph 267 are easily ascertainable. As such, the Attorney General is entitled to
   4   prejudgment interest on those amounts at the statutory rate of 9% per annum.
   5                                                  270.
   6              The Attorney General seeks an award of reasonable attorney fees and costs of
   7   investigation, preparation, and litigation incurred in connection with claim pursuant to
   8   ORS 180.760(8).
   9                                   . NINTH CLAIM FOR RELIEF

  10                      Oregon False Claims Act- Violation of ORS 180.755(l)(a)
  11                       (Attorney General of Oregon against Defendant Curry)
  12                                                  271.
  13              Curry falsely told DHS that the "Oracle Solution" was 95% "out-of-the-box" at a
  14   breakfast meeting on May 12, 2011, as described in paragraph 72. In. addition, even though
  15   Curry was the highest ranking Oracle employee at the May 2011 demonstrations, Curry
  16   failed to disclose that the "Oracle Solution" was not already integrated, was not functional
  17   "out-of-the-box," and was not flexible and easy to use, as described in paragraph 71.
  18                                                  272.
  19              Curry made this representation and these omissions with actual knowledge that they
  20   were false, with deliberate ignorance of their falsity, or with reckless disregard of their
  21   falsity.
  22                                                  273.
  23              Curry's false representation and omissions induced DHS and OHA to enter the
  24   Mythics-OHA Contracts and the Oracle-OHA Contracts. As a result, each and every one of
  25   the invoices presented to DHS and OHA pursuant to the Mythics-OHA Contracts and the
  26   Oracle-OHA Contracts was a false claim because they derived from Curry's false


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      1    representation and omissions inducing DHS and OHA to the enter the. Mythics-OHA
      2    Contracts and the Oracle-OHA Contracts.
      3                                                    274.
'-
     -4              As a direct and foreseeable result of Curry's false representation and omissions, DHS
      5    and OHA paid Oracle $133,607,504 under the Mythics-OHA Contracts and the Oracle-OHA
      6    Contracts.
      7                                                    275.
      8              Pursuant to ORS 180.760(5), Curry is liable for a penalty under ORS 180.760(4).
      9·   The Attorney General seeks civil penalties amounting to twice the amount of damages
     10    described in paragraph 274.
     11                                                    276.
     12              The dates on which Cover Oregon became responsible for the amounts described in
     13    paragraph 274 are easily ascertainable. As such, the Attorney General is entitled to
     14    prejudgment interest on those amounts at the statutory rate of 9% per annum.
     15                                                    277.
     16              The Attorney General seeks an award of reasonable attorney fees and costs of
     17    investigation, preparation and litigation incurred in connection with claim pursuant to
     18    ORS 180.760(8).
     19r                                    TENTH CLAIM FOR RELIEF
     20                                           Breach of Contract
     21                       (DHS and OHA against Defendants Oracle and Mythics)
     22                                                    278.
     23              Plaintiffs re-allege paragraphs 1 through 277, and incorporate the allegations herein,
     24    as if fully set forth.
     25    Ill Ill
     26    IIMil


                                                                                      ATTORNEY GENERAL ELLEN ROSENBLUM
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                                                                                            GLADE & MEHLHAF, P.C.
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                               e.
   1                                                  279.

   2          DHS and OHA have performed the duties required of them under the Mythics-OHA
                    ~




   3   Contracts alleged in this complaint, or their duties have been excused, and all conditions

   4   precedent to the institution of this lawsuit and to the claims lht:rdn have been met.

   5                                                  280.

   6          Oracle and Mythics materially breached the Mythics-OHA Contracts by failing to

   7   assist DHS and OHA to:
   8          (a)       Install, implement, configure, and customize OPA to support benefit

   9                    eligibility pre screening and full determination for SNAP, TANF, Medicaid,

  10                    and the HIX in a professional manner consistent with industry standards

  11                    (MLSA § E; Oracle Policy Automation Implementation, Exhibit 1, Statement

  12                    of Work, June 23,2011, § 1.1)
  13          (b)       Configure an online benefit eligibility pre-screening rulebase in a professional

  14                    manner consistent with industry standards (MLSA § E; Oracle Policy
  15                    Automation Implementation, Exhibit 1, Statement of Work, June 23, 2011, §
  16                    2.l(C)(l)(a));
  17          (c)       Configure an online benefit application interview rule base to collect and

  18                    validate plan data required to apply for TANF, SNAP, and Medicaid programs
  19                    ·in the State of Oregon in a professional manner consistent with industry
  20                    standards (MLSA § E; Oracle Policy Automation Implementation, Exhibit 1,
  21                    Statement of Work, June 23,2011, § 2.1(C)(1)(b));
  22          (d)       Configure a full determination rulebase for TANF, SNAP, and Medicaid to
  23                    determine the eligibility of a household for SNAP, TANF, and Medicaid
  24                    benefits according to criteria in the Oregon Self-Sufficiency Family Services
  25                    Manual and determine the amount of the benefit an applicant is entitled to
  26                    using formulas provided by DHS/OHA in a professional manner consistent


                                                                                  ATIORNEY GENERAL ELLEN ROSENBLUM
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       '·
            1                         with industry standards (MLSA § E; Oracle Policy Automation

            2                         Implementation, Exhibit 1, Statement of Work, June 23, 2011, § 2.l(C)(1)(c));

            3               (e)       Configure an online HIX eligibility and benefit calculator rule base to

            4                         determine eligibility for a health insurance exchange benefit in a professional

            5                         manner consistent with industry standards (MLSA § E; Oracle Policy

            6                         Automation Implementation, Exhibit 1, Statement of Work, June 23, 2011, § .·

            7                         2.1(C)(f)(d)).
            8                                                       281.
            9               Oracle and Mythics also breached the Mythics-OHA Contracts, including without
       10       limitation all of the purchase orders and ordering documents, by failing to provide services in

       11       a professional manner consistent with standards, as required in the MLSA § E, throughout
       12       their work on the Modernization and HIX-IT Projects, as described in paragraphs 156-163.
      13        In addition, Oracle and Mythics breached the duty of good faith and fair dealing by failing to
      14        deliver a fully functional and complete HIX and Modernization Project, according to the
                                  -
      15        'reasonable expectations ofDHS and OHA.

/
       16                                                           282.
      17                    As the direct and foreseeable result of Oracle's and Mythics' breach of contract, DHS
      18        and OHA suffered damages of $109,455,925, as described in paragraphs 169 and 183 and
      19        Exhibit 2.
      20                                                            283.
      21                    All of damages sought by DHS and OHA are legally appropriate, despite limitations
      22        on remedies in the Mythics-OHA Contracts, due to the conduct of Oracle, as described
      23        above.
      24        Ill Ill .
      25        Ill /It
      26        ///Ill


                                                                                               ATIORNEY GENERAL ELLEN ROSENBLUM
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                                                                                                      GLADE & MEHLHAF, P.C.
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   1                               Count 2 - Breach of Warranty of Repair
   2                                                    284.

   3            The MLSA, Section E, provides that if Oracle breaches its warranty to provide

   4   service in a professional manner consistent with industry standards, then Oracle will provide

   5   additional services at no charge to correct that breach of warranty. Specifically, the MLSA

   6   provides that when Oracle and Mythics breaches the warranty, Oracle and Mythics shall

   7   provide "THE REPERFORMANCE OF THE DEFICIENT SERVICES" (capitalization

   8   and emphasis in original).

   9                                                    285.

  10            Oracle and Mythics breached their warranty by failing to provide re-performance of

  11   the deficient services.

  12                                                    286.

  13            As the direct and foreseeable result of Oracle's and Mythics' breaches of warranty,
                                                   .-
  14   DHS and OHA suffered damages of in the amount of $2,203,324, as described in Exhibit 1,

  15   pg. 5 and Exhibit 2.
  16                                                    287.

  17            All of damages sought by DHS and OHA are legally appropriate, despite limitations

  18   on remedies in the Mythics-OHA Contracts, due to the conduct of Oracle, as described

  19   above.

  20                             Count 3- Breach of Warranty to Recover Fees
  21                                                    288.

  22            The MLSA, Section E, further provides that if Oracle and Mythics cannot correct

  23   their breaches of the warranty "IN A COMMERCIALLY REASONABLE MANNER,

  24   [DHS and OHA] MAY END THE RELEVANT SERVICES AND RECOVER THE

  25   FEES YOU PAID TO ORACLE FOR THE DEFICIENT SERVICES" (capitalization

  26   and emphasis in original).


Page   85 -     COMPLAINT                                                         ATTORNEY GENERAL ELLEN ROSENBLUM
                                                                                         MARKOWITZ, HERBOLD,
                                                                                        GLADE & MEHLHAF, P.C.
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   1                                                  289.

   2            Oracle and Mythics did not correct their breaches of warranty in a commercially

   3   reasonable manner. DHS and OHA have ended the relevant services. Oracle and Mythics

   4   have not returned the fees that DHS and OHA paid to Oracle and Mythics.

   5                                                  290.

   6            As the direct and foreseeable result of Oracle's and Mythics' breaches.ofwarranty,

   7   DHS and OHA suffered damages in the amount of $2,203,324, as. described in Exhibit 1, pg.

   8   5 and Exh~bit 2.

   9                                                  291.

  10            All of damages sought by DHS and OHA are legally appropriate, despite limitations

  11   on remedies in the Mythics-OHA Contracts, due to the conduct of Oracle, as described
  12   above.

  13                                                  292.

  14            The dates on which DHS and OHA became responsible for the amounts described in

  15   paragraphs 282, 286 and 290 are easily ascertainable. As such, the DHS and OHA are

  16   entitled to prejudgment interest on those amounts at the statutory rate of 9% per annum.
  17                               ;ELEVENTH CLAIM FOR RELIEF

  18                                         Breach of Contract

  19                             (DHS and OHA against Defendant Oracle)
  20                                                  293.

  21            Plaintiffs re-allege paragraphs 1 through 292, and incorporate the allegations herein,
  22   as if fully set forth.

  23                                                  294.

  24            DHS and OHA have performed the duties required of them under the Oracle-ORA

  25   Contracts alleged in this complaint, or their duties have been excused, and all conditions

  26   precedent to the institution of this lawsuit and to the claims therein have been met.


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                                                                                         MARKOWITZ, HERBOLD,
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   ·1                                 Count 1 - Breach of Express Contract

    2                                                   295.

    3               Oracle materially breached the Oracle-OHA Contracts by failing to assist DHS and

    4    OHA to:

    5               (a) · Implement a completed and functioning HIX (Exhibit 1-TME-300336749 to

    6                      ordering document 306226-04-0D-18-NOV-2011, § 1(A); Exhibit 1-TME-

    7                      300336724 to ordering document 306226-04-0D-18-NOV-2011, § 1(A));

    8               (b)    Implement a completed and functioning Modernization Project by building

    9                      eligibility automation initiatives (Exhibit 2-TME-300336724 to ordering
   10                      document 306226-04-0D-18-NOV-2011, § (1));
   11               (c)    Analyze and design HIX Siebel integrations in a professional manner
   12                      consistent with industry standards (OHA OLSA § E; Exhibit' 1-TME-
   13                      300336724 to ordering document 306226-04-0D-18-NOV-2011, § 2.2(1)(a)
   .14                     (HIX Tasks));
   15               (d)    Analyze and design a WebCenter portal for HIX, Medicaid, and CHIP in a
   16                      professional manner consistent with industry standards (OHA OLSA § E;
   17                      Exhibit 1-TME-300336724 to ordering document 306226-04-0D-18-NOV-
   18                      2011, § 2.2(3)(a) (HIX Tasks));
   19               (e)    Analyze and design Oracle SOA integrations in a professional manner
   20           ~   .      consistent with industry standards (OHA OLSA § E; Exhibit 1-TME-
   21                      300336724 to ordering docur.nent 306226-04-0D-18-NOV-2011, § 2.2(4)
   22                      (HIX Tasks));
   23               (f)    Analyze and design MDM functionality in a professional manner consistent
   24                      with industry standards (OHA OLSA § E; Exhibit 1-TME-300336724 to
  25                       ordering document 306226-04-0D-18-NOV-2011, § 2.2(a) (Shared
  26                       Component tasks));



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                                                                                          MARKOWITZ, HERBOLD,
                                                                                         GLADE & MEHLHAF, P.C.
                                                                                : SPECIAL ASSISTANT A TIORNEYS GENERAL
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 1          '(g)   Analyze and design IDM functionality in a professional manner consistent

 2                 with industry standards (OHA.OLSA § E; Exhibit 1-TME-300336724 to

 3                 ordering document 306226-04-0D-18-NOV-2011, § 2.2(3) (Shared
 4                 Component tasks));
 5           (h)   Manage the Modernization and HIX-IT Projects in a professional manner
 6                 consistent with industry standards (OHA OLSA § E; Exhibit 1-TME-
 7                 300336741 to ordering document 306226-04-0D-18-NOV-2011, as amended
 8                 September 7, 2012, § 1(A); Exhibit 2-TME-300336724 to ordering document
 9                 306226-04-0D-18-NOV-2011, § (l)(D));
10           (i)   Configure and test Seibel for SNAP, Medicaid, and Long-Term Care in a
11                 professional manner consistent with industry standards (OHA OLSA, § E;
12                 Exhibit 1-TME-300336741 to ordering document 306226-04-0D-18-NOV-
13                 2011, as amended September 7, 2012, § 3.l(a)(3); Exhibit 1-TME-300336749
14                 to ordering document 3.06226-04-0D-18-NOV-2011, as amended September
15                 7, 2012, § 3.1(2));
16           G)    Implement Siebel integrations with OPA in a professional manner consistent
17                 with industry standards (OHA OLSA, § E; Exhibit 1-TME-300336741 to
18                 ordering document 306226-04-0D-18-NOV-2011, as amended September 7,
19                 2012, § 3.1(a)(3)(e); Exhibit 1-TME-300336749 to ordering document
20                 306226-04-0D-18-NOV-2011, as amended September 7, 2012, § 3.1(2));
21           (k)   Install the Modernization and HIX-IT Projects in the test, training, and
                                                                      -
22                 production environments in a professional manner consistent with industry
23                 standards (OHA OLSA, § E; Exhibit 2-TME-300336724 to ordering
24                 document 306226-04-0D-18-NOV-2011, §§ (1)(A)(xii), (1)(B)(vii); Exhibit
25                 1-TME-300336741 to ordering document 306226-04-0D-18-NOV-2011, as
26                 amended September 7, 2012, §§ 4.l(a)(l), 4.1(b)(1); Exhibit 1-TME-


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   1                300336749 to ordering document 306226-04-0D-18-NOV-2011, as amended
   2                September 7, 2012, §§ 4.1(a), (e));
   3          (1)   Validate the OP A pre-screening, benefit application interview, and full·
   4                eligibility rulebases in a professional manner consistent with industry
   5                standards (OHA OLSA, § E; Exhibit 1-TME-300336741 to ordering
   6                document 306226-04-0D-18-NOV-2011, as amended September 7, 2012, §§
   7                4.1(b)(2)-(4), 4.1(c)(2)-(3));
   8          (m)   Test the Modernization and HIX-IT Projects in a professional manner
   9                consistent with industry standards (OHA OLSA, § E; Exhibit 1-TME-
  10                300336749 to ordering document 306226-04-0D-18-NOV-2011, as amended
  11                September 7, 2012, § 3.1(c)(l)-(3), (5); Exhibit 2-TME~300336724 to
  12                ordering document 306226-04-0D-18-NOV-2011, §§ (1 )(A)(xiii),
  13                (1 )(B)(viii));
  14          (n)   Migrate the Modernization and HIX-IT Projects from one environment to
  15                another in a professional manner consistent with industry standards (OHA
  16                OLSA, § E; Exhibit 1-TME-300336749 to ordering document 306226-04-
  17                OD-18-NOV-2011, as amended September 7, 2012, §§ 4.1(e), 5.1(d) Exhibit
  18                2-TME-300336724 to ordering document 306226-04-0D~18-NOV-2011, §
  19                (1)(E)(iv));
  20          (o)   Design, build, and test integrations between Siebel and other application
  21                components for the Modernization and HIX-IT Projects in a professional
  22                manner consistent with industry standards (OHA OLSA, § E; Exhibit 2-TME-
  23                300336724to ordering document 306226-04-0D-18-NOV-2011, §§
  24                (l)(A)(iv), (l)(B)(iv));
  25          (p)   Design, build, and test Webcenter for the Modernization Projects in a
  26                professional manner consistent with industry standards (OHA OLSA § E; ,


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   1                  Exhibit 2-TME-300336724 to ordering document 306226-04-0D-18-NOV-
   2                  2011, § (1 )(B)(ii));
   3          (q)     Design, build, and test the HIX Iden~ity Management application in a
   4                  professional manner consistent with industry standards (OHA OLSA, § E;
   5                  Exhibit 2-TME-300336724 to ordering document 306226-04-0D-18-NOV-
   6                  2011, § (l)(A)(vii));
   7          (r)     Design, build, and test the Master Data Management application for the HIX-
   8                  IT Project in a professional manner consistent with industry standards (OHA
   9                  OLSA, § E; Exhibit 2-TME-300336724 to ordering document 306226-04-
  10                  0D-18-NOV-2011, §§ (l)(A)(viii));
  11          (s)     Design, build, and test PeopleSoft for the HIX-IT Project in a professional
  12                  manner consistent with industry standards (OHA OLSA, § E; Exhibit 2-TME-
  13                  30033?724 to ordering document 306226-04-0D-18-NOV-2011, §
  14                  (1)(A)(xi));
  15          (t)     Correct defects and resolve deficiencies in a professional manner consistent
  16                  withindustry standards (OHA OLSA, § E; Exhibit 1-TME-300336741 to
  17                  ordering document 306226-04-0D-18-NOV-2011, as amended September 7,
  18                  2012,§§ 4.l(a) (5); 5.l(a); Exhibit 1-TME-300336749 to ordering document
  19                  306226-04-0D-18-NOV-2011, as amended September 7, 2012, §§ 3.l(c)(4),
                                                           I

  20                  4.1(b), 4.2(b), 5.1(a); Exhibit 2-TME-300336724 to ordering document
  21                  306226-04-0D-18-NOV-2011, §§ (1)(E)(i)-(iii)).
  22                                                296.
  23          Oracle also breached the Oracle-OHA Contracts, including without limitation all of
  24   the purchase orders and ordering documents, by failing to provide services in a prpfessional
  25   manner consistent with standards, as required in the OHA OLSA § E, throughout its work on
  26   the Modernization and HIX-IT Projects', as described in paragraphs 156-163.


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   1                                                  297.

   2           As the direct and foreseeable result of Oracle's breaches of contract, DHS and OHA

   3    suffered damages of $182,611,307, as described in paragraphs 169-183.

   4                                                  298.

   5           All of the damages sought by DHS and OHA are legally appropriate, despite

   6    limitations on remedies in the Oracle-ORA Contracts~ due to the conduct of Oracle, as

   7    described above.

   8                 Count 2 - Breach of Implied Duty of Good Faith and Fair Dealing

   9                                                  299.

 · 10          The Oracle-ORA Contracts contain an implied duty of good faith and fair dealing.

  11                                                  300.

  12           The Oracle-ORA Contracts require Oracle to "assist" DHS and OHA with "the

  13    implementation of the Health Insurance Exchange system[.]" The implied duty of good fair.

  14    and fair dealing required Oracle to "assist" DHS and OHA in a manner consistent with the

  15    reasonable expectation of the parties.

  16                                                  301.

  17           DHS and OHA reasonably expected that Oracle was responsible for delivering a fully

  18    functional HIXon or before the State's launch date of October 1, 2013. This reasonable

  19    expectation is manifest in:
  20           (a)     Oracle's complete control of the Modernization and HIX-IT Projects, as
  21                   described in paragraphs   6, 103, 106 and 148;
  22           (b)     DHS and OHA did not have their own developers and architects and relied on
  23                   Oracle for all software development and system architecture;
  24           (c)     The size and scope of the Oracle-ORA Contracts, which provided that DHS
  25                   and OHA would pay Oracle tens of millions of dollars and provide assistance
  26                   with every facet of the Modernization and HIX-IT project, including project


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    1                  management, scheduling, hardware, software, and development, as described
   2                   in paragraphs 92-97, 293-296;
   3            (d)    Oracle's assumption of the role, in effect, of Systems Integrator, as described

   4                   in paragraphs 5, 6, 90-91, 103-104.

   5                                                  302.

   6            Oracle breached its implied duty of good faith and fair dealing by failing to meet the

   7    reasonable expectation of the parties and delivering a fully functional HIX system on or

   8    before October 1, 2013.

   9                                                  303.

  10            As the direct and foreseeable result of Oracle's breach of the duty of good faith and

  11    fair dealing, DHS and OHA suffered damages of $182,611,307, as described in paragraphs

  12    169-183.

  13                                                  304.

  14            All of damages sought by DHS and OHA are legally appropriate, despite limitations

  15    on remedies in the Oracle-ORA Contracts, due to the conduct of Oracle, as described above.

  16                              Count 3- Breach of Warranty of Repair
  17                                                  305.

  18            The OHA OLSA, Section E, provides that if Oracle breaches its warranty to provide

  19    service in a professional manner consistent with industry standards, then Oracle will provide

  20    additional services at no charge to correct that breach of warranty. Specifically, the OHA

  21    OLSA provides that when Oracle breaches the warranty, Oracle shall provide "THE

  22    REPERFORMANCE OF THE DEFICIENT SERVICES" (capitalization and emphasis in
  23    original).

  24                                                  306.
  25     \
                Oracle breached its warranty by failing to provide re-performance of its deficient
 . 26   services.


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   1                                                  307.
   2             As the direct and foreseeable result of Oracle's breach of warranty, DHS and OHA
   3    suffered damages in the amount of$94,628,093, as described in Exhibit 1, pg. 5.
   4                                                  308.
   5             All of damages sought by DHS and OHA are legally appropriate, despite limitations
   6    on remedies in the Oracle-OHA Contracts, due to the conduct of Oracle, as described above.
   7                           Count 4- Breach of Warranty to Recover Fees
   8                                                  309.
   9             The OHA OLSA, Section E, further provides that if Oracle cannot correct its breach
  10    of the warranty "IN A COMMERCIALLY REASONABLE MANNER, [DHS and OHA]
  11    MAY END THE RELEVANT SERVICES AND RECOVER THE FEES YOU PAID
  12    TO ORACLE FOR THE DEFICIENT SERVICES" (capitalization and emphasis in
  13    original).
  14                                                  310.
  15             Oracle did not correct its breaches of warranty in a commercially reasonable mjlnner.
  16    DHS and OHA have ended the relevant services. Oracle has not returned the fees that DHS
  17    and OHA paid to Oracle.
  18                                                  311.
  19             As the direct and foreseeable result of Oracle's breach of warranty, DHS and OHA
  20   ·suffered damages in th1e amount of$94,628,093, as described in Exhibit 1, pg. 5.
  21                                                  312.
  22             All of damages sought by DHS and OHA are legally appropriate, despite limitations
  23   on remedies in the Oracle-OHA Contracts, due to the conduct of Oracle, as described above.
  24   Ill Ill
  25   Ill Ill
  26   Ill Ill


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   1                                                   313.
   2           The dates on which DHS and OHA became responsible for the amounts described in
                                             \                             .
   3   paragraphs 297, 303·and 311 are easily ascertainable. As such, the DHS and OHA are
   4   entitled to prejudgment interest on those amounts at the statutory rate of 9% per annum.
   5                                 TWELFTH CLAIM FOR RELIEF
   6                                             Breach of Contact
   7                              (Cover Oregon against Defendant Oracle)
   8                                                   314.
   9           Plaintiffs re-allege paragraphs 1 through 313, and incorporate the allegations herein,
  10   as if fully set forth.
  11                                                   315.
  12           Cover Oregon has performed the duties required of it under the Oracle-Cover Oregon
  13   Contracts alleged in this complaint, or its duties have been excused, and all conditions
  14   precedent to the institution of this lawsuit and to the claims therein have been met.
  15                                Count 1 - Breach of Express Contract
  16                                                   316.
  17           Oracle materially breached the Oracle-Cover Oregon Contracts by:
  18           (a)      Failing to provide a functioning, completed HIX (Exhibit 1 to the April 28,
  19                    2013 Ordering Document; Exhibit 1 to the November 15, 2013 Ordering
  20                    Document; Exhibit 1 to the March 1, 2014 Ordering Document; Exhibit 1 to
  21                    the March 11, 2014 Ordering Document; Exhibit 1 to the April14, 2014
  22                    Ordering Document; and Exhibit 1 to the May 16, 2014 Ordering Document);
  23           (b)      Failing to meet deadlines to ensure the timely launch of the ·HIX (Exhibit 1 to
  24                    the April28, 2013 Ordering Document; Exhibit 1 to the November 15, 2013
  25                    Ordering Document; Exhibit 1 to the March 1, 2014 Ordering Document; .
  26                    Exhibit 1 to the March 11, 2014 Ordering Document; Exhibit 1 to the April


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                    14, ·2014 Ordering Document; and Exhibit 1 to the May 16, 2014 Ordering
   2                Document);
   3          (c)   Failing to design and deliver an overall architecture for the HIX in a manner
   4                consistent with industry standards (Cover Oregon OLSA § E; Exhibit 1 to the
   5                April28, 2013 Ordering Document, §2.B.5, 7; Exhibit 1 to the November 15,
   6                2013 Ordering Document§ 2.B.10, 12; Exhibit 1 to the March 1, 2014
   7                Ordering Document§ 2.B.13, 15; Exhibit 1 to the March 11,2014 Ordering
   8                Document §2.B.13, 15; Exhibit 1 to the April14, 2014 Ordering Document
   9                §2.B.13, 1.5; and Exhibit 1 to the May 16,2014 Ordering Document§ 2.B.l2,
  10                14);.

  11          (d)   Failing to document the overall architecture for the HIX (Cover Oregon
  12                OLSA § E; Exhibit 1 to the April28, 2013 Ordering Document, §2.B.5, 7;
  13                Exhibit 1 to the November 15,2013 Ordering Document§ 2.B.10, 12; Exhibit
  14                1 tothe March 1, 2014 Ordering Document§ 2.B.l3, 15; Exhibit 1 to the
  15                March 11,2014 Ordering Document §2.B.13, 15; Exhibit 1 to the April14,
  16                2014 Ordering Document §2.B.13, 15; and Exhibit 1 to the May 16,2014
  17                Ordering Document§ 2.B.12, 14);
  18          (e)   Failing to deliver a set of integrated software programs (Cover OregonOLSA
  19                § E; Exhibit 1 to the April 28, 2013 Ordering Document; Exhibit l to the
  20                November 15,2013 Ordering Document; Exhibit 1 to the March 1, 2014
  21                Ordering Document; Exhibit 1 to the March 11, 2014 Ordering Document;
  22                Exhibit 1 to the April14, 2014 Ordering Document; and Exhibit 1 to the May
  23                16, 2014 Ordering Document);
  24          (f)   Failing to provide personnel with the proper experience, competence, and
  25                training to perform the tasks necessary to meet Cover Oregon's needs in a
  26                professional manner consistent with industry standards (Cover Oregon OLSA


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   1                § E; Exhibit 1 to the April28, 2013 Ordering Document; Exhibit 1 to the
   2                November 15, 2013 Ordering Document; Exhibit 1 to the March 1, 2014
   3                Ordering Document; Exhibit 1 to the March 11, 2014 Ordering Document;
   4                Exhibit 1 to the April14, 2014 Ordering Document; and Exhibit 1 to the May
   5                16, 2014 Ordering Document);
   6          (g)   Failing to provide adequate project management, including failure to follow.
   7                the Oracle Unified Method, consistent with industry standards (Cover Oregon
   8                OLSA § E; Exhibit 1 to the April28, 2013 Ordering Document§ 2.B.5, 6, §
   9                4; Exhibit 1 to the November 15,2013 Ordering Document§ 2.B.l0, 11, § 4;
  10                Exhibit 1 to the March 1, 2014 Ordering Document§ 2.B.13, 14 § 4; Exhibit 1
  11                to.the March 11, 2014 Ordering Document§ 2.B.l3, 14, § 4; Exhibit 1 to the
  12                April14, 2014 Ordering Document§ 2.B.l3, 14, § 4; and Exhibit 1 to the
  13                May 16,2014 Ordering Document§ 2 B.12, 14, § 4);
  14          (h)   Failing to provide proper configuration of Siebel consistent with industry
  15                standards (Cover Oregon OLSA § E; Exhibit 1 to the April28, 2013 Ordering
  16                Document,§ 1, §2.B.23; Exhibit 1 to the November 15, 2013 Ordering
                                '          '                           \

  17                Document§ 1, § 2.B.20; Exhibit 1 to the March 1, 2014 Ordering Document§
  18                1, § 2.B.23; Exhibit 1 to the March 11,2014 Ordering Document§ 1, §
  19                2.B.23; Exhibit 1 to ~he April14, 2014 Ordering Document§ 1, § 2.B.23; and
  20                Exhibit 1 to the May 16, 2014 Ordering Document§ 1, § 2 B.22);
  21          (i)   Failing to apply standard naming conventions consistent with industry
  22                standards (Cover Oregon OLSA § E);
  23                Failing to provide proper branching for WebCenter applications consistent
  24                with industry standards (Cover Oregon OLSA § E; Exhibit 1 to the April28,
  25                2013 Ordering Document,§ l, § 2.B.23; Exhibit 1 to the November 15, 2013
  26                Ordering Document§ 1, §'2.B.20; Exhibit 1 to the March 1, 2014 Ordering


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       1               Document§ 1, § 2.B23; Exhibit 1 to the March 11, 20.14 Ordering Document

       2               § 1, 2:B.23; Exhibit 1 to the April14, 2014 Ordering Document§ 1, § 2.B.23;

       3               and Exhibit 1 to the May 16, 2014 Ordering Document,§ 1, § 2.B22);

       4         (k)   Failing to provide and complete the development of SHOP (Cover Oregon

       5               OLSA § E; Exhibit 1 to the April28, 2013 Ordering Document; Exhibit 1 to

       6               the November 15, 2013 Ordering Document; Exhibit 1 to the March 1, 2014
       7               Ordering Document; Exhibit 1 to the March 11, 2014 Ordering Document;
       8               Exhibit 1 to the April14, 2014 Ordering Document; and Exhibit 1 to the May

       9               16, 2014 Ordering Document);
      10         (1)   Failing to develop an adequate enrollment interface, including but not limited

      11               to failure to comply with ACA and the Health Insurance Portability and
      12               Accountability Act (Cover Oregon OLSA § E; Exhibit 1 to the April28, 2013

      13               Ordering Document; Exhibit 1 to the November 15, 2013 Ordering
      14               Document; Exhibit 1 to the March 1, 2014 Ordering Document; Exhibit 1 to
      15               the March 11, 2014 Ordering Document; Exhibit 1 to the Apri114, 2014
      16               Ordering Document; and Exhibit 1 to the May 16, 2014 Ordering Document);
      17         (m)   Failing to provide adequate testing of new code releases consistent ~ith
      18               industry standards (Cover Oregon OLSA § E; Exhibit 1 to the April28, 2013
      19               Ordering Document; June 3, 2013 Ordering Document;      ~une   25,2013
      20               Ordering Document; Exhibit 1 to the November 15, 2013 Ordering Document
      21               § l.F; Exhibit 1 to the March 1, 2014 Ord~ring Document§ l.F; Exhibit 1 to
      22               the March 11, 2014 Ordering Document§ l.F; Exhibit 1 to the April14, 2014
      23               Ordering Document§ l.F; and Exhibit 1 to the May 16, 2014 Ordering
      24               Document § 1.F);
      25         (n)   Failing to provide adequate revision controls consistent with industry
'     26               standards (Cover Oregon OLSA § E; Exhibit 1 to the April28, 2013 Ordering


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                    Document,§ 2.8.5; Exhibit 1 to the November 15, 2013 Ordering Document

                    § 2.8.10; Exhibit 1 to the March 1, 2014 Ordering Document§ 2.8.13;

                    Exhibit 1 to the March 11, 2014 Ordering Document§ 2.8.13; Exhibit 1 to the
   4                April14, 2014 Ordering Document §2.8.13; and Exhibit 1 to the May 16,
   5                2014 Ordering Document§ 2.8.12);
   6          (o)   Failing to provide proper configuration of Oracle Identity Management suite
   7                consistent with industry standards ((Cover Oregon OLSA § E; Exhibit 1 to the
   8                April28, 2013 Orqering Document,§ 1, 2.8.23; Exhibit 1 to the November
   9                    15, 2013 Ordering Document§ 1, § 2.8.20; Exhibit 1 to the March 1, 2014
                                        '
  10                Ordering Document §1, § 2.B.23; Exhibit 1 to the March 11,2014 Ordering
  11                Document§ 1, § 2.B.23; Exhibit 1 to the April14, 2014 Ordering Document§
  12                    1, § 2.B.23; and Exhibit 1 to the May 16, 2014 Ordering Document§ 1, §
  13                2.8.22);
  14          (p)   Failing to timely deliver code ready environments fornecessary testing to
  15                meet the October 1, 2013 launch (Cover OregonOLSA § E; Exhibit 1 to the
  16                April28, 2013 Ordering Document, §1, § 2.B.23, March 4, 2013 Ordering
                    '
  17                Document; Exhibit 1 to the November 15, 2013 Ordering Document§ 1, §
  18                -2.B.20; Exhibit 1 to the March 1, 2014 Ordering Document §1, § 2.B.23;
  19                Exhibit 1 to the March 11, 2014 Ordering Document§ 1, § 2.B.23; Exhibit 1
  20                to the April 14, 2014 Ordering Document§ 1, § 2.8.23; and Exhibit 1 to the
  21                May 16, 2014 Ordering Document§ 1, § 2.B.22);
  22          (q)   Failing to deliver code ready environments for development and production to
  23                meet the October 1, 2013 launch (Cover Oregon OLSA § E; Exhibit 1 to the
  24                April28, 2013 Ordering Document, §1.B, §2.B.23; Exhibit 1 to the November
  25                15, 2013 Ordering Document§ l.A, § 2.B.20; Exhibit 1 to the March 1, 2014
  26                Ordering Document § 1.A, § 2.B.23; Exhibit 1 to the March 11, 20 i 4 Ordering


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   1                Document§ 1, § 2.B.23; Exhibit 1 to the April14, 2014 Ordering Document§
   2                1, § 2.B.23; and Exhibit 1 to the May 16, 2014 Ordering Document§ l.a, §
   3                2.B.22);
   4          (r)   Failing to properly integrate and deliver the Oracle User Content Management
                                                                   '•


   5                program (Cover Oregon OLSA § E; Exhibit 1 to the April28, 2013 Ordering
                                 I

   6                Document, §1, § 2.B.23; Exhibit 1 to the November 15,2013 Ordering
   7                Document§ 1, § 2.B.20; Exhibit 1 to the March 1, 2014 Ordering Document
   8                §1, § 2.B.23; Exhibit 1 to the March 11, 2014 Ordering Document § 1, §
   9                2.B.23; Exhibit 1 to the April14, 2014 Ordering Document§ 1, § 2.B.23; and
  10                Exhibit 1 to the May 16, 2014 Ordering Document§ 1, § 2.B.22);
  11          (s)   Failing to design and implement the HIX to meet user specifications of
  12                scalability to accommodate anticipated number of concurrent users (Cover
  13                Oregon OLSA § E; Exhibit 1 to the April28, 2013 Ordering Document;
  14                Exhibit 1 to the November 15, 2013 Ordering Document; Exhibit 1 to the
  15                March 1, 2014 Ordering Document; Exhibit 1 to the March 11, '20 14 Ordering
  16                Document; Exhibit 1 to the April14, 2014 Ordering Document; and Exhibit 1
  17                to the May 16,2014 Ordering Document);
  18          (t)   Failing to provide accurate level of effort estimates (Exhibit 1 to the April28,
  19                2013 Ordering Document §1 and 2 B.J; Exhibit 1 to the November 15,2013
  20                Ordering Document§ 1, § 2.B.l; Exhibit 1 to the March 1, 2014 Ordering
  21                Document§ 1, § 2.B.l; Exhibit 1 to the March 11,2014 Ordering Document§
  22                1, § 2.B.1; Exhibit 1 to the April14, 2014 Ordering Document§ 1, § 2.B.l;
  23                and Exhibit 1 to the May16, 2014 Ordering Document§ 1, § 2.B.l);
  24          (u)   Failing to provide accurate monthly status reports of the current state, needs,
  25                and issues concerning the development of the HIX (Exhibit 1 to the April28,.
  26                2013 Ordering Document§ l.I; Exhibit 1 to the November 15, 2013 Ordering


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   1               Document§ l.B; Exhibit 1 to the March 1, 2014 Ordering Document§ l.B;
   2               Exhibit 1 to the March 11, 2014 Ordering Document § 1.B; Exhibit 1 to the
   3               April14, 2014 Ordering Document§ l.B; and Exhibit 1 to the May 16, 2014
   4               Ordering Document § 1.B,;                                              l

   5         (v)   Failing to provide adequate documentation of software, architecture, design,
   6               and systems engineering for the HIX consistent with industry standards
   7               (Cover Oregon OLSA § E; Exhibit 1 to the April28, 2013 Ordering
   8               Document,§ 2.B.5, 7; Exhibit 1 to the November 15, 2013 Ordering
   9               Document §.2.B.l0, 12; Exhibit 1 to the March 1, 2014 Ordering Document§
  10               2.B.p, 15; Exhibit 1 to the March 11,2014 Ordering Document§ 2.B.13, 15;
  11               Exhibit 1 to the April14, 2014 Ordering Document§ 2.B.l3, 15; and Exhibit
  12               1 to the May 16,2014 Ordering Document§ 2.B.12, 14);
  13         (w)   Failing to provide timely repair of coding failures, bugs and errors (Cover
  14               Oregon OLSA § E; Exhibit 1 to the April28, 2013 Ordering Document,§
  15               2.B.5, 7; June 3, 2013 Ordering Document; June 25, 2013 Ordering
  16               Document; Exhibit 1 to the November 15,2013 Ordering Document §1, §
                                                                                                                 \
  17               2.B.l0, 12; Exhibit 1 to the March 1, 2014 Ordering Document §1, § 2.B.13,
  18               15; Exhibit 1 to the March 11,2014 Ordering Document §1, § 2.B.13, 15;
  19               Exhibit 1 to the April14, 2014 Ordering Document §1, § 2.B.13, 15; and
  20               Exhibit 1 to the May 16,2014 Ordering Document §1, § 2.B.12, 14);
  21         (x)   Failing to provide "reperformance of the deficient services" consistent with
  22               industry standards anq without charge (Cover Oregon OLSA §E);
  23         (y)   Failing to use software engineering tools to support the development ofthe
  24-              HIX, consistent with industry standards (Cover Oregon OLSA §E);
  25         (z)   Failing to perform system monitoring and system health checks (Cover
  26               Oregon OLSA § E; March 4, 2013 Ordering Document);


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   1             (aa)   Failing to implement an electronic submission of collected data to Siebel for
   2                    storage and further processing (Exhibit 1 to April28, 2013 Ordering
   3                    Document § 1.A);
   4             (bb)   Failing to deliver an online web interview implementing the information
   5                    display, data collection, and webpage behavior as described in requirements
   6                    provided to Oracle (Exhibit 1 to April28, 2013 Ordering Document §l.A);
   7             (cc)   Failing to integrate WebCenter with IDM for Single Sign On and User
   8                    registration self-service, OPA to display OP A questionnaires, Siebel for end
   9                    user functionality using the Oracle SOA Suite, and Oracle WebCenter Content
  10                    for content management (Exhibit 1 to April28, 2013 Ordering Document                          /


  11                    §l.A);

  12                                                  317.

  13             Oracle also breached the Oracle-Cover Oregon Contracts, including without

  14   limitation all purchase orders and ordering documents, by failing to provide services in a

  15   professional manner consistent with standards, as required in the Cover Oregon OLSA § E,

  16   throughout its work on the HIX-IT Projects, as described in paragraphs 156-163.
  17                                                  318.

  18             As the direct and foreseeable result of Oracle's breach of contract, Cover Oregon

  19   suffered damages of$207,915,439, as described in paragraphs 169-183.
  20                                                  319.

  21             All of damages sought by Cover Oregon are legally appropriate, despite limitations
  22   on remedies in the Oracle-Cover Oregon Contracts, due to the conduct of Oracle, as
  23   described above.
  24   Ill Ill
  25   Ill Ill
  26   Ill Ill


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                                             r
   1                   Count 2 - Breach of Implied Duty of Good Faith and Fair Dealing
   2                                                    320.

   3           The Oracle-Cover Oregon Contracts contain an implied duty of good faith and fair

   4    dealing.
   5                                                    321.
   6           The Oracle-Cover Oregon Contracts require Oracle to "assist" Cover Oregon "with

   7    the completion of the Cover Oregon       * * * implementation of the. Health Insurance Exchange               /


   8    system[.]" The implied dutY of good fair and fair dealing required Oracle to "assist" Cover

   9    Oregon in a manner consistent with the reasonable expectation of the parties ..

  10                                                    322.

  11         ' Cover Oregon reasonably expected that Oracle was responsible for delivering a fully

  12    functional HIXon or before Cover Oregon's launch date of October 1, 2013. This·
                                         )

  13.   reasonable expectation is manifest in:
  14           (a)     Oracle's complete control of the development of the HIX system, as described
  15                   in paragraphs 6, 103, 106, 148;
  16           (b)     Oracle's complete control of demonstrations of the HIX system before
  17                   October 1, 2013, including control of demonstrations at the June 13, 2013
  18                   Cover Oregon Board of Directors' meeting, the September 11-12, 2013 CMS
  19                   Operation Readiness Review, and the September 18,2013 demonstrations to
  20                   Cover Oregon staff, as described in paragraphs 6, 125-127, 132-133 and 134;
  21           (c)     Oracle executives' statements that Oracle would deliver a functional HIX by
  22                   October 1, 2013, as described in paragraphs 9, 122 and 130;
  23           (d)    ·The May 1, 2013 ordering document's terms providing that Oracle would
  24                   provide "post production support from 10/1/13 [Cover Oregon's launch date
  25                   for the· HIX] through 12/31113" and additional post-production support in
  26                   201,4;


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                               -
   1           (e)     Oracle's determination of the "Level of Effort" necessary to complete the HIX
   2                   system in time for launch on October 1, 2013, as described in paragraph 117,

   3                   122 and 142; :
   4           (f)     The size and scope of the Oracle-Cover Oregon Contracts, which provided

   5                   that Cover Oregon would pay Oracle nearly $100 million and provide
   6                   assistance with every facet of the HIX-IT Project, including project
   7                   management, scheduling, hardware, software, and development, as described                      /




   8                   in paragraphs 110-114, 314-317.

   9                                                  323.

  10           Oracle breached its implied duty of good faith and fair dealing by failing to meet the

  11    reasonable expectation of the parties and delivering a fully functional HIX system on or

  12    before October 1, 2013.

  13                                                  324.

  14           As the direct and foreseeable result of Oracle~ s breach of contract, Cover Oregon

  15    suffered damages of$207,915,439, as described in paragraphs 169-183.

  16                                                  325.

  17           All of damages sought by Cover Oregon are legally appropriate, despite limitations

  18    on remedies in the Oracle-Covet Oregon Contracts, due to the conduct of Oracle, as

  19    described above.

  20                               Count 3 - Breach of Warranty of Repair

  21                                                  326.

  22           The Cover Oregon OLSA, Section E, provides that if Oracle breaches its warranty to

  23    provide service in a professional manner consistent with industry standards, then pracle will

  24    provide additional services at no charge to correct that breach of warranty. Specifically, the

  25    Contract provides that when Oracle breaches the warranty, Oracle shall provide "THE
  26


                                                                                 ATIORi"'EY GENERAL ELLEN ROSENBLUM
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   1    REPERFORMANCE OF THE DEFICIENT SERVICES" (capitalization and emphasis in

   2    original).

   3                                                 327.

   4            Oracle breached its warranty by failing to provide re-performance of the deficient ·

 .5     services. Instead, Oracle charged Cover Oregon and demanded payment for Oracle's
   6    attempts to correct Oracle''s previously substandard services (November 15, 2013 Ordering

   7    Document, March 1, 2014 Ordering Document, April1, 2014 Ordering Document, April14,

   8    2014 Ordering Document, May 16,2014 Ordering Document).

   9                                                  328.

  10            As the direct and foreseeable result of Oracle's breach of warranty, Cover Oregon

  11    suffered damages of$77,197,987, as described in Exhibit 1, pg. 7.
  12                                                  329.

  13            All of damages sought by Cover Oregon are legally appropriate, despite limitations

  14    on remedies in the Oracle-Cover Oregon Contracts, due to the conduct of Oracle, as
                                                                  '

  15    described above.

  16                          Count 4- Breach of Warranty to Recover Fees

 . 17                                                 330.

  18            The Cover Oregon OLSA, Section E, further provides that if Oracle cannot correct its
                                                                                        _/




  19    breach ofthe warranty "IN A COMMERCIALLY REASONABLE MANNER, (Cover

  20    Oregon] MAY END THE RELEVANT SERVICES AND RECOVER THE FEES YOU

  21    PAID TO ORACLE FOR THE DEFICIENT SERVICES" (capitalization and emphasis
  22    in original).
  23                                                  331.

  24            Oracle did not correct its breaches of warranty in a commercially reasonable manner.

  25    Cover Oregon has ended the relevant services. Oracle has not returned the fees that Cover

  26    Oregon paid to Oracle.


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                                                                                       GLADE & MEHLHAF, P.C.
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                                                                                                              r
   1                                                  332.

  2              As the direct and foreseeable result of Oracle's breach of warranty, Cover Oregon

   3   suffered damages of $77,197,987,     as described in paragraphs Exhibit 1, pg. 7.
  4                                                   333.

   5             All of damages sought by Cover Oregon are legally appropriate, despite limitations
   6   on remedies in the Oracle-Cover Oregon Contracts, due to the conduct of Oracle, as

   7   described above.

   8                                    Count 5 - Promissory Estoppel

   9                                                  334.

  10             Oracle promised that it would deliver a functional HIX-IT Project byOctober 1,

  11   2913, as described in paragraphs 7, 8, 117, 120, 122, 124, 126, 128, 130 and 142.
  12                                                  335.

  13             Oracle could and did foresee that this promise would induce Cover Oregon to make

  14   payments to Oracle.

  15                                                  336.

  16             Cover Oregon relied on Oracle's promise and as a result of that reliance paid Oracle

  17   to deliver a functional HIX-IT Project by October 1, 2013.
  18                                                  337.

  19             As the direct and foreseeable result of Oracle's breach of its promise, Cover Oregon

  20   suffered damages of$207,915,439, as described in paragraphs 169-183.
  21                                                  338.

  22             All of damages sought by Cover Oregon are legally appropriate, despite limitations
  23   on remedies in the/Oracle-Cover Oregon Contracts, due to the conduct of Oracle, as
  24   described above.

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  26   Ill Ill


                                                                                  ATTORNEY GENERAL ELLEN ROSENBLUM
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   1                                                    339.
   2              The dates on which Cover Oregon became responsible for the amounts described in
   3   paragraphs 318, 324, 328, 332 and 337 are easily ascertainable. As such, Cover Oregon is
   4   entitled to prejudgment interest on those amounts at the statutory rate of 9% per annum.
   5                                THIRTEENTH CLAIM FQR RELIEF

   6                 Oregon Civil Racketeer Influenced and Corrupt Organizations Act
   7                            (DHS, OHA, and Cover Oregon against Oracle)
   8                                                    340.
   9              Plaintiffs re-allege paragraphs 1 through 339, and incorporate the allegations herein,
  10   as if fully set forth.
  11                                 Count 1- Violation ofORS 166.720(2)
  12                                                    341.
  13              DHS, OHA, Cover Oregon, Mythics, and Oracle hav:e operated continuously as an
  14   associated-in-fact enterprise from February 2009, when Oracle submitted its response to
  15   DHS's request for information, until present (the "Modernization-HIX Enterprise"). This
  16   enterprise is organized for a legitimate common purpose, to implement the Modernization
  17   and HIX-IT Projects. The members of this enterprise are organized through a web of
  18   ·contracts, including the Mythics-OHA Contracts, Oracle-OHA Contracts, and Oracle-Cover
  19   Oregon Contracts, as described in paragraphs 79-87, 92-97, 110-114. DHS, OHA, and Cover
  20   Oregon have been and are innocent participants in this legitimate enterprise.
  21                                                    342.
  22             · Oracle indirectly and directly acquired and maintained control of the Modernization-
  23   HIX Enterprise through a pattern of racketeering activity by committing or attempting to
  24   commit the crimes of unsworn falsification, ORS 162.085, and fraudulently obtaining a
  25   signature, ORS 165.042.
  26   Ill Ill


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   1                                              343 ..

  2         Oracle committed or attempted to commit the crime of unsworn falsification by:

  3         (a)    Falsely stating in writing that:

  4                1.      The "Oracle Solution" had out-of-the-box functionalities on the

   5                       Vendor Questionnaire, as described in paragraphs 55-61, 74, 75 and
                                                                          '
   6                       166;
   7               11.     The "Oracle Solution" was an out-of-the-box solution, as described in

   8                       paragraphs 3, 35, 57, 61, 69, 72, 74-75, 164 and 166;

   9               111.    The "Oracle Solution" could be implemented quickly, as described in

  10                       paragraphs 53, 66, 70, 164;
  11               IV.     The "Oracle Solution" was built on integrated technologies, as
  12                       described in paragraphs 3, 51, 64, 66, 70, 75-76 and 164;
  13               v.      The "Oracle Solution" was flexible and easy to integrate with both
  14                       existing and external systems, as described in paragraphs 3, 35, 66, 75-

  15                       77;
  16               Vl.     The "Oracle Solution" included implementation of a health insurance
  17                       exchange, as described in paragraph 164;
  18               V11.    The HIX-IT Project was nearly complete, as stated in the development
  19                       dashboards and described in paragraphs 7 and 128;
  20               Vlll.   Oracle would deliver the HIXon October 15, 2013, as stated in the
  21                       email from Bartolo to King described in paragraph 9 and 136;
  22               IX.     The "functionality required to enroll the vast majority of Oregon
  23                       residents is operational," as written in a letter from Catz to Cover
  24                       Oregon in April 2014 and described in paragraph 151.
  25        (b)    Making each of these representations to public servants working for DHS,
  26               OHA, or Cover Oregon.


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   1          (c)      Making these statements in connection with:
   2                   1.     Oracle's application to become DHS, OHA, and Cover Oregon's
   3                          vendor for the Modernization and HIX-IT Projects ~d obtain the
   4                          benefit of payment from DHS, OHA, and Cover Oregon;
   5                   11.    Applications for payment of invoices pursuant to the Mythics-OHA
   6                          Contracts, Oracle-OHA Contracts, and Oracle-Cover Oregon
   7                          Contracts, as described in paragraphs 96, 114, 143-147, 150, 169 and
   8                          170 for t~e benefit of payments from DHS, OHA, and Cover Oregon.
   9                                                344.
  10          Oracle committed or attempted to commit the crime of fraudulently obtaining a
  11   signature by:
                        (


  12          (a)      Obtaining DHS's, OHA's, and Cover Oregon's signatures on the Mythics-
  13                   Oracle Contracts, Oracle-OHA Contracts, and Oracle-Cover Oregon
  14                   Contracts;
  15          (b)      Obtaining these signatures by knowingly misrepresenting that:
  16                   1.     The "Oracle Solution" was an out-of-the-box solution, as described in
  17                          paragraphs 3, 35, 57-61, 69, 72,74-75, 164 and 166;
  18                   11.    The "Oracle Solution" required only 5% customization, as described in
  19                          paragraphs 59, 63, 72,74-75, 164 and 166;
  20                   111.   The "Oracle Solution" could be implemented quickly, as described in
  21                          paragraphs 53, 66, 70 and 164;
  22                   IV.    The "Oracle Solution" was built on integrated technologies, as
  23                          described in paragraphs 3, 51, 64, 66, 70,75-76 and 164;
  24                   v.     The "Oracle Solution" was flexible and easy to integrate with both
  25                          existing and external systems, as described in paragraphs 3, 35, 66, 75-
  26                          77;


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   1              Vl.     The "Oracle. Solution" included implementation of a health insurance
   2                      exchange, as described in paragraph 164;

   3              Vll.    The HIX-IT Project was nearly complete, as stated in the development
   4                      dashboards and described in paragraphs 7 and 128;
   5              Vlll.   Core elements of the exchange were functional as shown in Kim's
   6                      demonstration at the June 13, 2013 Cover Oregon Board of Directors'
   7                      meeting described in paragraphs 125-127;
   8              lX.     The HIX would be ready to launch on October 1, 2013, as described in

   9                      paragraphs 7, 8, 117, 120, 122, 124, 126, 128, 130 and 142;
  10              X.      The HIX would be ready to launch on October 15, 2013, as stated in
  11                      the email from Bartolo to King described in paragraphs 9 and 136; . ,
  12              Xl.     The HIX would be ready to launch on October 31, 2013, as told by
  13                      Bartolo to King and Karjala and described in paragraphs 9 and 136;
  14              Xll.    The HIX would be ready to launch at the end of December 2013, as
  15                      told by Budnar to the Cover Oregon Board of Directors on November
  16                      14, 2013, and described in paragraphs 9 and 140;
  17              Xlll.   The HIX would be ready to launch on February 3, 2014, as told by
  18                      Puri to Goldberg on January 7, 2014, and described in paragraphs 9,
  19                      10, 143-145;
  20              XIV.    The HIX would be ready to launch on February 24, 2014, as told by
  21                      Puri to Goldberg on February 11, 2014, and described in paragraphs 9,
  22                      10, 146-147;
  23              XV.     The HIX was nearly ready to launch as told by Katz to Goldberg and
  24                      other State officials on February 26, 2014, and described in paragraph
  25                      150;
  26


                                                                          ATTORNEY GENERAL ELLEN ROSENBLUM
Page   109 - COMPLAINT                                                        .   MARKOWITZ, HERBOLD,
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   1                  xv1.   The "functionality required to enroll the vast majority of Oregon_

   2                         residents is operational," as written in a letter from Catz to Cover

   3                         Oregon in April 2014 and described in paragraph 151.
   4          (c)     Making these representations with the intent to defraud DHS, OHA, and

   5                  Cover Oregon.

   6                                                345.

   7          Oracle committed multiple crimes of unsworn falsification and fraudulently obtaining

   8   a signature. Oracle committed the crime of unsworn falsification once for every instance in

   9   which Oracle made a false statement in writing as described in paragraph 343(a). Oracle

  10   committed the crime of fraudulently obtaining a signature once for every signature a State

  11   employee placed on any of the Mythics-OHA Contracts, Oracle-ORA Contracts, and Oracle-

  12   Cover Oregon Contracts.

  13                                                346.

  14          These crimes had the same intent: To obtain payments of substantial sums from

  15   DHS, OHA, and Cover Oregon to Mythics and Oracle or to obtain contracts providing for

  16   such payments. These crimes also had the same victims: DHS, OHA, and Cover Oregon.

  17                                                347.

  18          Oracle disguised the true state of development on the Modernization and HIX-IT

  19   Projects, including by controlling access to development environments, as described in

  20   paragraphs 6, 103, 1065 and 148, so that DHS and OHA were unable to discover that Oracle

  21   was failing to meet the representations listed in paragraphs 343 and 344.

  22                                                348.

  23          DHS, OHA, and Cover Oregon were injured by reason of Oracle's violations ofORS

  24   166.720(2). Oracle's control of the Modernization-HIX Enterprise caused both the

  25   Modernization and HIX-IT Projects to fail. The "Oracle Solution" failed to meet the needs

  26   of the Modernization and HIX-IT Projects, as described in paragraphs 132-163, 169-183.


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    1   Moreover, Oracle's control of the Modemization-HIX Enterprise enabled Oracle to disguise
    2   its poor work and inability to complete the Projects, thus preventing the State from taking
    3   action to correct Oracle's mistakes or hire an alternate vendor. Oracle's control of the
    4   Modemization-HIX Enterprise also allowed Oracle to manipulate the State into signing
    5   additional purchase orders, guaranteeing Oracle a continuous flow of payments.
    6                                                  349.
    7             As the direct and foreseeable result of Oracle's violations ofORS 166.720(2), DHS,
    8   OHA, and Cover Oregon suffered damages of$420,752,808, as described in paragraphs 169-
    9   183, which shall b~ trebled in accordance with ORS 166.725(7)(a).
   10                                                  350.
   11             The dates on which DHS, OHA; and Cover Oregon became responsible for the
   12   amounts described in paragraph 349 are easily ascertainable. As such, DHS, OHA, Cover
   13   Oregon are entitled to prejudgment interest on those ~unts at the statutory tate of9% per
   14   annum.
   15                                                  351.
   16             Because aggravating factors exist with regard to Oracle's violations ofORS ·
   17   166. 720(2), DHS, OHA, and Cover Oregon reserve the right to seek leave to amend this
   18   count to allege punitive damages consistent with ORS 166.725(7)(a) and ORS 31.725.
   19                               Count 2- Violation of ORS 166.720(3)
  20                                                   352.
  21              Oracle and Mythics have operated continuously as an associated-in-fact enterprise
  22    since before 2010 to present, as described in paragraphs 79-80. The common purpose of this
  23    enterprise is to sell, resell, and distribute Oracle products and services. This enterprise is
  24    organized through contracts between Oracle and Mythics.
  25    Ill Ill
  26    Ill Ill


·Page   111 - COMPLAINT                                                             ATTORNEY GENERAL ELLEN ROSENBLUM
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   1                                                  353.

   2             Oracle participated in the Oracle-Mythics enterprise through a pattern of racketeering

   3   activity by committing or attempting to commit the crimes of unsworn falsification, ORS

   4   162.085, and fraudulently obtaining a signature, ORS 165.042.

   5                                                  354.

   6             Oracle committed or attempted to commit the crime of unsworn falsification by

  .7   engaging in the conduct alleged in paragraph 343.

   8                                                  355.

   9             Oracle cominitted or attempted to commit the crime of fraudulently obtaining a

  10   signature by engaging in the conduct alleged in paragraph 344.

  11                                                  356.

  12             Oracle committed multiple crimes of unsworn falsification and fraudulently .obtaining

  13   a signature. Oracle committed the crime of unsworn falsification once for every instance in

  14   which Oracle made a false statement in writing as described in paragraph 343(a). Oracle

  15   committed the crime of fraudulently obtaining a signature once for every signature a State

  16   employee placed on any of the Mythics-OHA Contracts, Oracle-ORA Contracts, and Oracle-

  17   Cover Oregon Contracts.

  18                                                  357.

  19             These crimes had the same intent: To obtain payments of substantial sums from
  20   DHS, OHA, and Cover Oregon to Mythics and Oracle or to obtain contracts providing for

  21   such payments. These crimes also had the same results: The execution of the Mythics-OHA

  22   Contracts, Oracle-OHA Contracts, and Oracle-Cover Oregon Contracts and the payments by
  23   DHS, OHA, and Cover Oregon pursuant to those contracts. These crimes also had the same
  24   victims: DHS, OHA, and Cover Oregon.
  25   Ill Ill
  26   Ill Ill


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                                                                                        MARKOWITZ, HERBOLDf;'
                                                                                       GLADE & MEHLHAF, P.C.
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   1                                                 358.
   2             Oracle disguised the true state of development on the Modernization and HIX-IT

   3   Projects, including by controlling access to development environments, as described in

   4   paragraphs 6, 103, 106 and 148, so that DHS and OHA were unable to discover that Oracle

   5   was failing to meet the representations listed in paragraphs 343-344.
   6                                                 359.
   7             DHS, OHA, and Cover Oregon were injured by reason of Oracle's violations ofORS
   8   166.720(3). As a direct result of Oracle's crimes, DHS, OHA, and Cover Oregon entered the
   9   Mythics-OHA Contracts, Oracle-OHA Contracts, and Oracle-Cover Oregon Contracts and
  10   the payments by DHS, OHA, and Cover Oregon pursuant to those contracts. Oracle violated
  11   ORS 166.720(3) with the intent that the State would enter these contracts and make
  12   substantial payments to Oracle.
  13                                                 360.
  14             As the direct and foreseeable result of Oracle's violations ofORS 166.720(3), DHS,
  15   OHA, and Cover Oregon suffered damages of$420,752,808, as described in paragraphs 169-
  16   183, which shall be trebled in accordance with 166.725(7)(a).
  17                                                 361.
  18             The dates on which DHS, OHA, and Cover Oregon became responsible for the
  19   amounts described.in paragraph 360 are easily ascertainable. As such, DHS, OHA, Cover
  20   Oregon are entitled to prejudgment interest on those amounts at the statutory rate of 9% per
  21   annum.
  22                                                 362.
  23             Because aggravating factors exist with regard to Oracle's violations ofORS
  24   166.720(3), DHS, OHA, and Cover Oregon reserve the right to seek leave to amend this
  25   claim to allege punitive damages consistent with ORS 166.725(7)(a) and ORS 31.725.
  26   Ill Ill


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                                                                                        MARKOWITZ, HERBOLD,
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     1                                                   363.
/

     2             DHS, OHA, and Cover Oregon seek an award of reasonable attorney fees incurred in
     3   connection with this claim pursuant to ORS 166.725(14).
     4                               FOURTEENTH CLAIM FOR RELIEF

     5               - Oregon Civil Racketeer Influenced and Corrupt Organizations Act
    ·6                            (Attorney General of Oregon against Oracle)
     7                                                   364.
     8             Plaintiffs re-allege paragraphs 1 through 363, and incorporate the allegations herein,
     9   as if fully set forth.
    10                                Count 1- Violation ofORS 166.720(2)
    11                                                   365.
    12             DHS, OHA, Cover Oregon, Mythics, and Oracle have operated continuously as an
    13   associated-in-fact enterprise from February 2009, when Oracle submitted its response to
    14   DHS's requ~st for information, until present (the "Modernization-HIX Enterprise"). This
    15   enterprise is organized for a legitimate common purpose, to implement the Modernization
                                                             \
    16   and HIX-IT Projects. The members of this enter}Jrise are organized through a web of
    17   contracts, including the Mythics-OHA Contracts, Oracle-OHA Contracts, and Oracle-Cover
    18   Oregon Contracts, as described in paragraphs 79-87,92-97, 110-114. DHS, OHA, and Cover
    19   Oregon have been and are innocent participants in this legitimate enterprise.
    20                                                   366.
    21             Oracle indirectly and directly acquired and maintained control of the Modernization-
    22   HIX Enterprise through a pattern of racketeering activity by committing or attempting to
    23   commit the crimes of unsworn falsification, ORS 162.085, and fraudulently obtaining a
    24   signature, ORS 165.042, obtaining execution of documents by deception,_ ORS 165.102, and
    25   wire fraud, 18 U.S.C. § 1343.
    26   Ill Ill


Page                                                                                 AITORNEY GENERAL ELLEN ROSENBLUM
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                                                                                           GLADE & MEHLHAF, P.C.
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   1                                                      367.
   2               Oracle committed or attempted to commit the crime of unsworn falsification by
   3        engaging in the conduct alleged in paragraph 343.
   4                                                      368.
   5               Oracle committed or attempted to commit the crime of fraudulently obtaining a
   6        signature by engaging in the conduct alleged in paragraph 344.
   7                                                      369.
   8               Oracle committed or attempted to commit the crime of obtaining execution of
   9        documents by deception by:
  10               (a)    O~taining     DHS's, OHA's, and Cover Oregon's signatures on the Mythics-
  11                      Oracle Contracts, Oracle-:OHA Contracts, and Oracle-Cover Oregon Contracts
                                                 I

  12                      and presenting invoices for payments, as described in paragraphs 96, 114,
  13                      143-147, 150, 169 and 170.
  14               (b)    Obtaining execution of these documents by fraud, deceit, or subterfuge by
  15                      knowinglymisrepresenting that:
  16                      1.      The "Oracle Solution" was an out-of-the-box solution, as described in
  17                              paragraphs 3, 35, 57-61, 69, 72, 74-75, 164 and 166;
  18                      n.      The "Oracle Solution" required only 5% customization, as described in
  19                              paragraphs 59, 63, 72, 74-75, 164 and 166;
  20                      111.    The "Oracle Solution" could be implemented quickly, as described in
  21                              paragraphs 53, 66, 70, 164;
  22                      1v.     The "Oracle Solution" was built on integrated technologies, as
  23                              described in paragraphs 3, 51, 64, 66, 70, 75-76 and 164;
  24   ,,                 v.      The "Oracle Solution" was flexible and easy to integrate with both
                                                      r

  25                              existing and external systems, as described in paragraphs 3, 35, 66, 75-
  26                              77;


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                                                                                           GLADE & MEHLHAF, P.C.
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   1                 VI.     The "Oracle Solution" included implementation of a health insurance
   2-                        exchange, as described in paragraph 164;
   3                 Vll.    The HIX-IT Project was nearly complete, as stated in the development
   4                         dashboards and described in paragraphs 7 and 128;
   5                 Vlll.   Core elements of the exchange were functional as shown in Kim's
   6                         demonstration at the June 13, 2013, Cover Oregon Board of Directors'
   7                         meeting described in paragraphs 125-127;
   8                 IX.     ·The HIX would be ready to launch on October 1, 2013, as described in
   9                         paragraphs 7, 8, 117, 120, 122, 124, 126, 128, 130 and 142;
  10                 X.      The HIX would be ready to launch on October 15, 2013, as stated in
  11                         the email from Bartolo to King described in paragraph 9 and 136;
  12                 XI.     The HIX would be ready to launch on October 31, 2013, as told by
  13                         Bartolo to King and Karjala and described in paragraph 9 and 136;
  14                 xu.     The HIX would be ready to launch atthe end of December 2013, as
  15                         told by Budnar to the Cover Oregon Board of Directors on November
  16                         14, 2013, and described in paragraph 9 and 140;
  17                 Xlll.   The HIX would be ready to launch on February 3, 2014, as told by
  18                         Puri to Goldberg on January 7, 2014, and described in paragraphs 9,
  19                         10, 143-145;
  20                 XIV.    The HIX would be ready to launch on February 24, 2014, as told by
  21                         Puri to G<?ldberg on February 11, 2014 and described in paragraph 9,
  22                         10, 146-147;
  23                 XV.     The HIX was nearly ready to launch as told by Catz to Goldberg and
  24                         other State officials on February 26, 2014, and described in paragraph
  25                         150;
  26    Ill Ill


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                                                                                      GLADE & MEHLHAF, P.C.
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   1                    xv1.   The "functionality required to enroll th~ vast majority of Oregon
   2                           residents is operational," as written in a letter from Catz to Cover
                                                                       "
   3                           Oregon in April 2014 and described in paragraph 151.
   4             (c)    Making these misrepresentations with the intent to acquire millions of dollars
   5                    in payments.
   6                                                  370.
   7             Oracle committed the crime of wire fraud by:
   8             (a)    Engaging in a scheme to defraud DHS, OHA, and Cover Oregon by making
   9                    material misrepresentations, including that:
  10                    1.     The "Oracle Solution" was an out-of-the-box solution, as described in
  11                           paragraphs 3, 35, 57-61,69, 72, 74-75, 164 and 166;
  12                    11.    The "Oracle Solution" required only 5% customization, as described in
  13                           paragraphs 59, 63, 72, 74-75, 164 and 166;
  14                    111.   The "Oracle Solution" could be implemented quickly, as described in
  15                           paragraphs 53, 66, 70 and 164;
  16                   . IV.   The "Oracle Solution" was built on integrated technologies, as
  17                           described in paragraphs 3, 51, 64, 66, 70, 75-76 and 164;
  18                    v.     The "Oracle Solution" was flexible and easy to integrate with both
  19                           existing and external systems, as described in paragraphs 3, 35, 66, 75-
  20                           77;
  21                    v1.    The "Oracle Solution" included implementation of a health insurance
  22                           exchange, as described in paragraph 164;
  23                    v11.   The HIX-IT Project was nearly complete, as stated in the development
  24                           dashboards and described in paragraphs 7 and 128;
  25   Ill Ill
  26   Ill Ill


Page                                                                              ATIORNEY GENERAL ELLEN ROSENBLUM
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   1              Vlll.    Core elements of the exchange were functional as shown in Kim's
   2                       demonstration at the June 13, 2013, Cover Oregon Board ofDin!ctors'
   3                      . meeting described in paragraphs 125-127;
   4              lX.      The HIX would be ready to launch on October 1, 2013, as described in
   5                       paragraphs 7, 8, 117, 120, 122, 124, 126, 128, 130 and 142;
   6              X.       The HIX would be ready to launch on October 15, 2013, as stated in
   7                       the email from Bartolo to King described in paragraphs 9 and 136;
   8              Xl.      The HIX would be ready to launch on October 31, 2013, as told by
                  '

   9                       Bartolo to King and Karjala and described in paragraphs 9 and 136;
  10              xu.      The HIX would be ready to launch at the end of December 2013, as
  11                       told by Budnar to the Cover Oregon Board of Directors on November
  12                       14, 2013, and described in paragraphs 9 and 140;
  13              Xlll.    The HIX would be ready to launch on February 3, 2014, as told by
  14                       Puri to Goldberg on January 7, 2014, and described in paragraphs 9,
  15                       10 and 143-145;
  16              XIV.    The HIX would be ready to launch on February 24, 2014, as told by
  17                       Puri to Goldberg on February 11, 2014, and described in paragraphs 9,
  18                       10, 146-147;
  19              XV.     The HIX was nearly ready to launch as told by Catz to Goldberg and
  20                       other State officials on February 26, 2014, and described in paragraph
  21                       150;
  22              XVI.    The "functionality required to enroll the vast majority ofOregon
  23                      residents is operational," as written in a letter from Catz to Cover
  24                      Oregon in April 2014 and described in paragraph 151.
  25        (b)   Using the wires to transmit documents containing these misrepresentations, as
  26              well as invoices and other documents in furtherance of its scheme to defraud.


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   1           (c)    Making these misrepresentations with the specific intent to cause DRS, ORA,

   2                  and Cover Oregon to enter into the Mythics-ORA Contracts, the Oracle-ORA

   3                  Contracts, and the Oracle-Cover Oregon Contracts, and to make payments to
   4                  Oracle and Mythics under those Contracts.

   5                                                371.

   6           Oracle disguised the true state of development on the Modernization and RIX-IT

   7   Projects, including by controlling access to development environments, as described in

   8   paragraphs 6, 103, 106 and 148, so that DRS and ORA were unable to discover that Oracle

   9   was failing to meet the representations listed in paragraphs 369 and 370.

  10                                                 372.

  11           For Oracle's violations ofORS 166.720(2), the Attorney General seeks the following

  12   injunctive relief pursuant to ORS 166.725(1):

  13           (a)    An order voiding the provisions of the Mythics-ORA Contracts, the Oracle-
  14                  ORA Contracts, and the Oracle-Cover Oregon Contracts that limit DRS's,
  15                  ORA's, and Cover Oregon's rights to recover indirect, incidental, special,
  16                  punitive and consequential damages;
  17           (b)    An order voiding the provisions of the Mythics-ORA Contracts, the Oracle-
  18                  ORA Contracts, and the Oracle-Cover Oregon Contracts stating that actions
  19                  arising out or related to those contracts may not be brought more than two
  20                  years after the cause of action accrues;
  21           (c)    A permanent injunction prohibiting Oracle from marketing to or entering into

  22                  a contract with any public corporation of or agency of the State of Oregon

  23                  from the date of judgment forward.

  24                                                 373.

  25           For each of Oracle's violations ofORS 166.720(2), the Attorney General seeks a civil

  26   penalty of$250,000 pursuant to ORS 166.725(8).
                                                                    /




                                                                                ATIORNEY GENERAL ELLEN ROSENBLUM
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                                                                                      GLADE & MEHLHAF, P.C.
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   1                              Count 2- Violation ofORS 166.720(3)
  2                                                   374.
  3           Oracle and Mythics have operated continuously as an associated-in-fact enterprise

  4    since before 2010 to present, as described in paragraphs 79-80. The common purpose of this

   5   enterprise is to sell, resell, and distribute Oracle products and services. This enterprise is

  6    organized through contracts between Oracle and Mythics.

   7                                                  375.
   8          Oracle participated in the Oracle-Mythics enterprise through a pattern of racketeering

   9   activity by committing or attempting to commit the crimes of unsworn falsification, ORS

  10   162.085, and fraudulently obtaining a signature, ORS 165.042, obtaining execution of

  11   documents by deception, ORS 165.102, and wire fraud, 18 U.S.C. § 1343.

  12                                                  376.

  13           Oracle committed or attempted to commit the crime of unsworn falsification by

  14   engaging in the conduct alleged in paragraph 343.
  15                                                  377.

  16           Oracle committed or attempted to commit the crime of fraudulently obtaining a

  17   signature by engaging in the conduct alleged in paragraph 344.
  18                                                  378.

  19           Oracle committed or attempted to commit the crime of obtaining execution of
  20   documents by engaging in the conduct alleged in paragraph 369.
  21                                                  379.

  22           Oracle committed the crime of wire fraud by engaging in the conduct alleged in
  23   paragraph 370.

  24                                                  380.

  25           Oracle disguised the true state of development on the Modernization and HIX-IT
  26   Projects, including by controlling access to development environments, as described in


                                                                                   ATIORNEY GENERAL ELLEN ROSENBLUM
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   1       paragraphs 6, 103, 106 and 148, so that DHS and OHA were unable to discover that Oracle
   2       was failing to meet the representations listed in paragraphs 343, 344, 369 and 370.
   3                                                       381.
   4                 For Oracle's violations ofORS 166.720(3), the Attorney General seeks the following
                                      '
   5       injunctive relief pursuant to ORS 166.725(1):
   6                 (a)    An order voiding the provisions of the Mythics-OHA Contracts, the Oracle-
   7                        ORA Contracts, and the Oracle-Cover Oregon Contracts that limit DHS's,
   8                        OHA's, and Cover Oregon's rights to recover indirect, incidental, special,
   9                        punitive and consequential damages;
  10                 (b)    An order voiding the provisions of the Mythics-OHA Contracts, the Oracle-
  11                        ORA Contracts, and the Oracle-Cover Oregon Contracts stating that actions
                                )


  12                        arising out or related to those contracts may not be brought more than two
  13                        years after the cause of action accrues;
  14                 (c)    A permanent injunction prohibiting Oracle from marketing to or entering into
  15                        a contract with any public corporation of or agency of the State of Oregon
  16                        from the date of judgment forward.
  17                                                      382.
  18                 For each of Oracle's violations ofORS 166.720(3), the Attorney General seeks a civil
  19       penalty of$250,000 pursuant to ORS 166.725(8).
  20                                                      383.
  21                 The Attorney General seeks an award of the cost of investigation and reasonable
  22       attorney fees incurred iri connection with this claim, including the costs and expenses of
  23       DHS, OHA, and Cover Oregon incurred in connection with the investigation and litigation,
  24       pursuant to ORS 166.725(5).
  25       Ill Ill
  26       Ill Ill


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                                                                                            MARKOWITZ, HERBOLD,
                                                                                           GLADE & MEHLHAF, P.C.
                                                                                    SPECIAL ASSISTANT A TIORNEYS GENERAL
                                                                                          SUITE 3000 PACWEST CENTER
                                                                                             1211 SW FIFTH AVENUE_
                                                                                         PORTLAND, OREGON 97204-3730
                                                                                                           EXHIBIT A
                                                                                                  (503) 295-3085

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   2             WHEREFORE, plaintiffs Attorney General Rosenblum, the State of Oregon, by and
   3   through DHS, OHA, and Attorney General Rosenblum, and Cover Oregon pray for relief
   4   against defendants as follows:
   5                A. On the first claim for relief, for a judgment in favor ofDHS and OHA and
   6                   against Oracle in   an amount of$212,837,368;
   7                B. On the second claim for relief, for a judgment in favor of Cover Oregon and
   8                   against Oracle in an amount of$207,915,439;
   9                C. On the third claim for relief:
  10                        1. On count 1, for ajudgment in favor of Attorney General Rosenblum
  11                           and against Oracle in the amount of $240,280,008 in damages and
  12                           $480,560,017 in penalties;
  13                        2. On count 2, for a judgment in favor of Attorney General Rosenblum
  14                           and against Oracle in the amount of $240,280,008 in damages and
  15                           $480,560,017in penalties;
  16                        3. On count 3, for a judgment in favor of Attorney General Rosenblum
  17                           and against Oracle in the amount of$174,029,405 in damages and
  18                           $348,058,811 in penalties;
  19                        4. On count 4, for a judgment in favor of Attorney General Rosenblum
  20                           and against Oracle in the amount of to be determined but not to exceed
  21                           $174,029,405 in damages and $348,058,811 in penalties;
  22                D. On the fourth claim for relief, for a judgment in favor of Attorney General
  23                   Rosenblum and against Catz in the amount of $87,879,134 in penalties and an
  24                   additional $10,000 in penalties for each of Catz' s violations of ORS
                        -
  25                   180.755(l)(b) in her April2014letter;
  26   Ill Ill


Page                                                                            ATIORNEY GENERAL ELLEN ROSENBLUM
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                                                                                      GLADE & MEIILHAF, P.C.
                                                                               SPECIAL ASSISTANT A TIORNEYS GENERAL
                                                                                      SUITE 3000 PACWEST CENTER
                                                                                         1211 SW FIFTH AVENUE
                                                                                     PORTLAND, OREGON 97204-3730
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                   E. On the fifth claim for relief, for a judgment in favor of Attorney General

   2                    Rosenblum and against Budnar in the amount of$112,399,186.74 in penalties

   3                    and an additional $10~000 in penalties for each ofBudnar's violations ofORS
   4                    180.755(1)(b) during the November 14, 2013 Cover Oregon Board meeting;
   5               F. On the sixth claim for relief, for a judgment in favor of Attorney General
   6                    Rosenblum and against Bartolo in the amount of $10,000 in penalties for each
                                                       '
   7                    ofBartolo's violations ofORS 180.755(1)(b);
   8               G. On the seventh claim for relief, for a judgment in favor of Attorney General
   9                    Rosenblum and against Kim in the amount of$45,102,210.38 in penalties;.
  10               H. On the eighth claim for relief, for a judgment in favor of Attorney General

  11                    Rosenblum and against Puri in the amount of $87,869,134 in penalties and an
  12                    additional $10,000 in penalties for each ofPuri's violations ofORS
  13                    180.755(1)(b) during the January 7, 2014 and February 11, 2014 meetings;
  14               I.   On the ninth claim for relief, for a judgment in favor of Attorney General
  15                    Rosenblum and against Curry in the amount of$267;215,009.94 in penalties;
  16               J. On the tenth claim for relief:
  17                       (a) On count 1, for a judgment in favor ofDHS and OHA against Oracle
  18                           ancfMythics in the amount of$109,455,925;
  19                       (b) On count 2, for a judgment in favor ofDHS and OHA against Oracle
  20                           and Mythics in an amount to be determined;
  21                       (c) On count 3, for a judgment in favor ofDHS and OHA against Oracle
  22                           and Mythics in an amount to be determined;
  23               K. On the eleventh claim for relief:
  24                       (a) On count 1, for a judgment in favor ofDHS and OHA against Oracle
                                          -
  25                           in the amount of$182,611,307;
  26   · Ill Ill


                                                                                 ATTORNEY GENERAL ELLEN ROSENBLUM
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                                                                                       GLADE & MEHLHAF, P.C.
                                                                                SPECIAL ASSISTANT ATTORNEYS GENERAL
                                                                                      SUITE 3000 PACWEST CENTER
                                                                                         1211 SWFIFTHAVENUE,
                                                                                     PORTLAND, OREGON 97204-3730
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       1                    (b) On count 2, for a judgment in favor ofDHS and OHA against Oracle

       2                        in the amount of$182,611,307;

       3                    (c) On count 3, for a judgment in favor ofDHS and OHA against Oracle

       4                        in an amount to be determined;

       5                    (d) On count 4, for a judgment in favor ofDHS and OHA against Oracle

       6                        in an amount to be determined;

       7             L. On the twelfth claim for relief:
       8                    (a) On count 1, for a judgment in favor of Cover Oregon against Oracle in

       9                        the amount of$207,915,439;
      10                    (b) On count 2, for a judgment in favor of Cover Oregon against Oracle in

      11                        the amount of$207,915,439;
      12                    (c) On count 3, for a judgment in favor of Cover Oregon against Oracle in

      13                        the amount of$77,197,98733;
      14                    (d) On count 4, for a judgment in favor of Cover Oregon against Oracle in
      15                        the amount of$77,197,987.33;
      16                    (e) On count 5, for a judgment in favor of Cover Oregon against Oracle in
      17                        the amount of$207,915,439;
      18             M. On the thirteenth claim for relief:
      19                    (a) On count 1, for a judgment in favor ofDHS, OHA, and Cover Oregon
      20                        and against Oracle in the amount $420,752,808, which shall be trebled
/
      21                        in accordance with ORS 166.725(7)(a);
      22                    (b) On count 2, for a judgment in favor ofDHS, OHA, and Cover Oregon
      23                        and against Oracle in the amount $420,752,808, which shall be trebled
      24                        in accordance with ORS 166.725(7)(a);
      25             N. On the fourteenth claim for relief:
      26   III Ill


                                                                                  ATIORNEY GENERAL ELL.I!:N ROSENBLuM
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                                                                                        GLADE & MEHLHAF, P.C.
                                                                                 SPECIAL ASSISTANT ATIORNEYS GENERAL
                                                                                        SUITE 3000 PACWEST CENTER
                                                                                           1211 SW FIFTH AVENUE
                                                                                       PORTLAND, OREGON 97204-3730
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   1              (a)   On courit 1, for a judgment in favor of Attorney General Rosenblum
   2                    and against Oracle:
   3                            1.     Voiding the provisions of the Mythics-ORA Contracts,
   4                                   the Oracle-ORA Contracts, and the Oracle-Cover
   5                                   Oregon Contracts that limit DRS's, ORA's, and Cover
   6                                   Oregon's rights to recover indirect, incidental, special,
   7                                   punitive, and consequential damages;
   8                            2.     Voiding the provisions of the Mythics-:ORA Contracts,
   9                                   the Oracle-ORA Contracts, and the Oracle-Cover
  10                                   Oregon Contracts stating that actions arising out or
  11                                   related to those contracts may not be brought more than
  12                                   two years after the cause of action accrues;
  13                            3.     Prohibiting Oracle from marketing to or entering into a
  14                                   contract with any public corporation of or agency of the
  15                                   State of Oregon from the date of judgment forward.;
  16                            4.    Awarding penalties in the amount of$250,000 for each
  17                                  of Oracle's violation ofORS 166.720(2);
  18              (b)   On count 2, for a judgment in favor of Attorney General Rosenblum
  19                    and against Oracle:
  20                            1.    Voiding the provisions of the Mythics-OHA Contracts,
  21                                  the Oracle-ORA Contracts, and the Oracle-Cover
  22                                  Oregon Contracts that limit DRS's, ORA's, and Cover
  23                                  Oregon's rights to recover indirect, incidental, special,
  24                                  punitive, and consequential damages;
  25                            2.    Voiding the provisions of the Mythics-OHA Contracts,
  26                                  the Oracle-ORA Contracts, and the Oracle-Cover


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                                                                                 MARKOWITZ, HERBOLD,
                                                                                GLADE & MEHLHAF, P.C.
                                                                         SPECIAL ASSISTANT ATTORNEYS GENERAL
                                                                                SUITE 3000 PACWEST CENTER
                                                                                   1211 SW FIFTH AVENUE
                                                                               PORTLAND, OREGON 97204-3730
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Page                                                               ATTORNEY GENERAL ELLEN ROSENBLUM
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                                                                         GLADE & MEHLHAF, P.C.
                                                                  SPECIAL ASSISTANT ATTORNEYS GENERAL
                                                                        SUITE 3000 PACWEST CENTER
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                Invoices to OHA/DHS for Oracle Consulting Services

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INVOICE DATE   INVOICE#          INVOICE AMOUNT                      AMOUNT PAID                    DATE PAID
10/19/2011     XFF3RWRT9M      $        498,626.22    $                 498,626.22                  1/27/2012
1/4/2012       XFMJRMFN1       $        169,034.00    $                 169,034.00                   5/9/2012
3/13/2012      XFP69TNC9       $        194,849.00    $                 194,849.00                   9/5/2012
4/2/2012       XFPMR1R76       $        862,592.60    $                '862,592.60                  6/27/2012
4/2/2012       XFMR1XM5        $         59,856.00    $                  59,856.00                  6/27/2012
4/2/2012       XFPMR1WN7       $        137,749.20    $                 137,749.20                  6/27/2012
4/2/2012       XFPMR2293       $        241,632.16    $                 241,632.16                  6/27/2012
4/2/2012       XFPMR1XK9M      $        186,572.20    $                 186,572.20                  7/27/2012
4/20/2012      XFR3724X9       $      1,714,127.02    $               1,714,127.02                  5/22/2012
4/20/2012      XFR3725T2       $         67,418.12    $                  67,418.12                  5/22/2012
4/20/2012      XFR372536       $        260,194.12    $                 260,194.12                  5/22/2012
4/20/2012      XFR3722K4       $        576,935.78    $                 576,935.78                  5/23/2012
4/20/2012      XFR3725N8       $        194,532.00    $                 194,532.00                  5/29/2012
4/20/2012      XFR3726J1M      $        689,523.43    $                 689,523.43                   9/5/2012
4/20/2012      XFW739PR9       $         90,576.08    $                  90,576.08                   9/5/2012
6/7/2012       XFT3K3PK1       $        263,253.00    $                 263,253.00                  7/24/2012
6/28/2012      XFTFTI5N1       $        235,433.00    $                 235,433.00                  7/24/2012
7/12/2012      XFTR8NKM2       $         16,764.00    $                  16,764.00                  7/24/2012
8/2/2012       XFW739KK2       $        986,688.74    $                 986,688.74                  8/23/2012
f3/2/2012      XFW739M54       $         51,928.93    $                  51,928.93                  8/23/2012
8/2/2012       XFW73C3N9       $        131,309.10    $                 131,309.10                  8/23/2012
8/2/2012       XFW73C847       $        516,223.20    $                 516,223.20                  8/23/2012
8/2/2012       XFW73C9C1       $      1,086,582. 78   $               1,086,582. 78                  9/5/2012
8/2/2012       XFW73C7N4       $        649,619.99    $                 649,619.99                  9/20/2012
8/20/2012      XFWKDDP79       $         45,061.00    $                  45,061.00                   9/5/20i2
8/31/2012      XFWW4RDR4       $         89,862.48    $                  89,862.48                  9/20/2012
8/31/2012      XFX4FWP11       $        104,748.00    $                 104,748.00                  9/20/2012
8/31/2012      XFWW4RNX9       $        846,270.56    $                 846,270.56                . 9/20/2012
8/31/2012      XFWW5PC31       $        674,488.73    $                 674,488.73                  9/20/2012
8/31/2012      XFWW5PR57       $      1,099,702.28    $               1,099,702.28                  9/20/2012
9/13/2012      XFX4FWK85       $        444,835.49    $                 444,835.49                  9/20/2012
9/13/2012      XFX4JR673       $         86,132.48    $                  86,132.48                  9/20/2012
9/13/2012      XFWW5PJX7       $         61,726.50    $                  61,726.50                  9/20/2012
9/14/2012      XFX59T762       $            (12.00)   $ '                   (12.00)                 9/20/2012
9/17/2012      XFWW5PD38       $        752,151.55    $                 752,151.55                  9/20/2012
10/4/2012      XFX9XDT3        $          1,800.00    $                   1,800.00                10/15/2012
10/4/2012      XFXD9F113       $        774,368.90    $                 774,368.90                10/17/2012
10/4/2012      XFXD9F228       $        111,911.58    $                 111,911.58                10/17/2012
10/4/2012      XFXCPP5K5       $         88,661.70    $                  88,661.70                10/17/2012
10/4/2012      XFX4FWM45       $        545,939.44    $                 545,939.44                10/17/2012
10/4/2012      XFXD9F1N1       $        880,215.44    $                 880,215.44                10/17/2012
10/4/2012      XFW4MN712       $        822,971.40    $                 822,971.40                10/17/2012




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INVOICE DATE       INVOICE#                 INVOICE AMOUNT                 AMOUNT PAID       DATE PAID
10/4/2012          XFXCTP1J2             $         164,527.84     $            164,527.84   10/17/2012
10/4/2012          XFXD9F1X9 ·           $       1,011,893.96     $         1,011,893.96    10/17/2012
10/5/2012          XFXD9F1F6             $         979,965.18     $            979,965.18   10/17/2012
10/5/2012          XFX4FWNW4             $         639,871.21     $            639,871.21   10/17/2012
10/12/2012         XFXP59N52             $          77,438.70     $             77,438.70    11/8/2012
10/12/2012         XFXMWF1W7             $         773,220.24     $            773,220.24   11/28/2012
10/15/2012         XFXR5WR51             $         584,831.88     $            584,831.88   11/28/2012
10/22/2012         XFXP1PTM7             $          80,260.50     $             80,260.50    11/8/2012
10/26/2012         XFXR5WX68             $         105,207.72     $            105,207.72    11/8/2012
11/16/2012         XJ1969278             $       1,488,131.95     $         1,488,131.95    11/28/2012
11/16/2012         XJ17M4M95             $          29,618.00     $             29,618.00   11/28/2012
11/16/2012         XJ16XD2D4             $         134,509.66     $            134,509.66   11/29/2012
11/16/2012         XJ16XD1D8             $         793,111.01     $            793,111.01   11/29/2012
11/16/2012         XJ169MJR8             $         930,614.66     $            930,614.66    12/6/2012
tl/27/2012         XJ19691R9             $         486,239.27     $           486,239.27     12/6/2012
11/27/2012         XJ1969219             $         690,455.12     $            690,455.12    12/6/2012
11/27/2012         XJ1969286             $         898,614.92     $            898,614.92    1/11/2013
11/28/2012         XJ1NR89R5             $       1,057,039.71     $         1,057,039.71     1/11/2013
12/11/2012         XJ2219T39             $       1,522,575.53     $         1,522,575.53      1/9/2013
12/11/2012         XJ2219T39M            $           4,106.24     $              4,106.24     2/7/2013
12/18/2012         XJ2219TX8             $         165,824.36     $            165,824.36   12/27/2012
12/18/2012         XJ2219TI5             $       1,149,493.77     $         1,149,493.77     1/23/2013
                                                                             1
12/18/2012     -   XJ22N4CF2             $         517,636.60     $            517,636.60    1/24/2013
12/20/2012         XJ24WTIC4             $         368,548.08     $            368,548.08     1/9/2013
12/21/2012         XJ2218RD6             $          19,164.00     $           . 19,164.00    1/24/2013
1/10/2013          XJ2F8K525             $          67,374.41     $             67,374.41    1/30/2013
1/10/2013          XJ2F779X9             $               0.03     $                  0.03    1/30/2013
1/10/2013          XJ2F8JXN3             $           1,153.72     $              1,153.72    1/30/2013
1/21/2013~         XJRDTM26              $       1,839,591.56     $         1,839;591.56     2/11/2013
1/22/2013          XJ2F775P8             $         132,012.92     $            132,012.92    1/24/2013
1/30/2013          XJ2RDTJ51             $       1,312,242.57     $         1,312,242.57     2/11/2013
1/30/2013          XJRDTR97              $         909,954.85     $           909,954.85     2/13/2013
2/6/2013           XJ2KK9XD2             $         313,058.00     $           313,058.00     2/11/2013
2/13/2013          XJ37M7X95             $.         11,537.00     $             11,537.00    2/21/2013
2/22/2013          XJ3FC3X53             $              31.15     $                 31.15     3/5/2013
2/22/2013          XJ3FC3XT3             $      1,350,224.96      $         1,350,224.96      3/5/2013
2/22/2013          XJ3FC41M7             $         102,054.71     $           102,054.71      4/4/2013
2/25/2013          XJ3FCJ7J6             $      1,981,377.23      $         1,981,377.23      3/5/2013
2/25/2013          XJ3FC3X45             $      1,049,075.90      $         1,049,075.90      3/5/2013
2/28/2013          XJ3KP45D2             $         128,962.39     $           128,962.39     3/14/2013
3/14/2013          XJ3WTPN96 ·           $         168,171.91     $           168,171.91     3/25/2013
3/14/2013          XJ3WTPJT8             $         205,770.68     $           205,770.68     4/17/2013




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3/15/2013      XJ3WXNFX9       $           148,574.44    $       148,574.44       3/25/2013
3/20/2013      XJ3X8RTN5       $           344,384.11    $       344,384.11       3/25/2013
3/20/2013      XJ41JN3D9       $         1,961,894.02    $    1,961,894.02        3/25/2013
3/20/2013      XJ3XCT963       $           963,276.43    $     . 963,276.43      ·3/25/2013
3/20/2013      XJ41X2FX2M      $           296,437.08    $       296,437.08        4/8/2013
3/20/2013      XJ41X2J12       $           331,504.60    $       331,504.60        4/8/2013
3/20/2013      XJ41X2FN5       $           331,504.60    $       331,504.60        4/8/2013
3/20/2013      XJ41X2J39       $           331,504.60    $      331,504.60         4/8/2013
3/22/2013      XJ42J4PF2       $         1,796,592.75    $    1,796,592.75         4/8/2013
4/23/2013      XJ4N9X5W6       $           234,999.20    $       234,999.20       5/28/2013
4/23/2013      XJ4NCX549       $         2,841,499.20    $    2,841,499.20        5/29/2013
4/24/2013      XJ4N9X615       $         3,521,428.10.   $    3,521,428.10         5/8/2013
4/24/2013      XJ4N9X2F2       $         1,572,453.46    $    1,572,453.46         5/8/2013
5/10/2013      XJ52WKRT2       $            28,618.00    $        28,618.00       6/13/2013
5/10/2013      XJ52WKRT2M      $             1,000.00    $         1,000.00       7/17/2013
5/22/2013      XJ575TW82       $         1,173,998.03    $    1,173,998.03        5/28/2013
5/22/2013      XJ575TW58       $           143,158.92    $       143,158.92        6/6/2013
5/22/2013      XJ575TI91       $         1,117,656.15    $    1,117,656.15        6/13/2013
5/22/2013      XJ575TWD6       $           873,978.48    $      873,978.48        6/21/2013
5/23/2013      XJ575TD96       $        4,346,436.59     $    4,346,436.59        5/28/2013
6/25/2013      XJ5TNDRR4       $             7,713.09    $         7,713.09       6/28/2013
6/25/2013      XJ5TMN8X9       $           183,646.13    $       183,646.13        7/1/2013
6/26/2013      XJ5W22RM2       $           143,177.52    $       143,177.52       6/27/2013
6/26/2013      XJ5W229N1       $         1,255,423.45    $    1,255,423.45         7/1/2013
6/26/2013      XJ5W22RD3       $         1,387,103.04    $    1,387,103.04         7/1/2013
7/16/2013      XJ66K11W7       $           225,899.67    $       225,899.67       7/17/2013
7/16/2013      XJ66K11R6       $           590,940.01    $      590,940.01        7/17/2013
7/16/2013      XJ66K15F8       $         1,511,444.86    $    1,511,444.86        7/17/2013
7/16/2013      XJ66K15T8       $             7,427.42    $         7,427.42       9/30/2013
7/16/2013      XJ72CFC19       $            27,552.00    $        27,552.00     10/10/2013
7/23/2013      XJ699F744       $            24,213.72    $        24,213.72       8/29/2013
8/27/2013      XJ72CFD23       $           951,556.37    $      951,556.37         9/5/2013
8/27/2013      XJ72CF9F1       $            92,585.68    $        92,585.68       9/11/2013
8/27/2013      XJ72CFCP9       $           846,127.39    $      846,127.39      . 9/11/2013
8/27/2013      XJ72CF9X4       $           188,795.15    $       188,795.15     . 9/23/2013
8/27/2013      XJ72CFC86       $             3,713.71    $         3,713.71       11/6/2013
9/17/2013      XJ7CCP1K9       $           217,063.74    $       217,063.74 .     9/23/2013
9/17/2013      XJ7CCN329       $            98,543.20    $        98,543.20       9/23/2013
9/17/2013      XJ7CCMPX6       $        1,097,065.84     $    1,097,065.84        9/23/2013
9/17/2013      XJ7CCMXM1       $         1,315,876.89    $    1,315,876.89        9/23/2013
9/17/2013      XJ7CCM1F2       $            48,672.32    $        48,672.32     10/10/2013
9/17/2013      XJ7CCM826        $            9,712.78    $         9,712.78       11/6/2013




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  INVOICE DATE       INVOICE#                INVOICE AMOUNT              AMOUNT PAID           DATE PAID
  10/18/2013         XJ857P241           $           16,283.19   $           16,283.19         1/29/2014
  10/24/2013         XJ83W8RD1           $            3,550.00   $            3,550.00        10/31/2013
  10/24/2013         XJ84239K5           $           25,593.75   $           25,593.75        10/31/2013
  10/24/2013         XJ84232M7           $            2,403.65   $            2,403.65         2/20/2014
  10/28/2013         XJ857N2C2        $             230,710.12   $          230,710.12        12/18/2013
  10/28/2013         XJ857NDK4        $              74;149.02   $           74,149.02        12/18/2013
  10/28/2013         XJ857NXR8        $             321,633.56   $          321,633.56        12/26/2013
  10/28/2013         XJ857N674        $             161,341.28   $          161,341.28         1/24/2014
  10/28/2013         XJ857P3X9        $           1,104,227.39   $        1,104,227.39         1/24/2014
  10/28/2013         XJ857NTW3        $             422,873.40   $          422,873.40         1/28/2014
. 10/29/2013         XJ85JFJ94        $           1,632,671.66   $        1,632,671.66        12/18/2013
  12/3/2013          XJ8RM8WC8 .      $              13,776.00   $           13,776.00         1/29/2014
  12/18/2013         XJ2219WP1        $           1,177,160.06   $        1,177,160.06         1/24/2013
  12/26/2013         XJ97MMJ93        $             261,639.97   $          261,639.97         1/29/2014
  12/26/2013         XJ97MMX94        $               5,713.40   $            5,713.40         1/29/2014
  12/26/2013         XJ97MN7C6        $              22,201.20   $           22,201.20         1/31/2014
  12/26/2013         XJ97MN7J9        $              88,043.86   $           88,043.86          3/3/2014
  12/27/2013         XJ97MMW63        $             190,199.22   $          190,199.22         3/12/2014
  12/27/2013         XJ97MMTJ9        $              13,284.65   $           13,284.65         3/13/2014
  12/27/2013         XJ97MMTD4        $             135,186.88   $          135,186.88         3/13/2014
  12/27/2013         XJ97MMWD3        $           1,855,984.59   $        1,855,984.59         3/13/2014
  12/27/2013         XJ97MN676        $             712,519.11   $          712,519.11         3/13/2014
  1/16/2014          XJ9KK4T49        $             199,701.61   $          199,701.61         2/20/2014
  1/16/2014          XJ9KK5124        $             '84,459.68   $           84,459.68         2/20/2014
  1/16/2014          XJ9KK4PW6        $              92,996.00   $           92,996.00         2/20/2014
  1/16/2014          XJ9KK5132        $              50,277.92   $           50,277.92         2/20/2014
  1/16/2014          XJ9KK4T57        $             501,229.39   $          501,229.39         2/20/2014
  1/16/2014          XJ9KK59N5        $             747,385.79   $          747,385.79         2/20/2014
  1/16/2014          XJ9KK52R9        $             106,497.20   $          106,497.20         2/20/2014
  1/16/2014          XJ9KK4XK3        $             123,307.94   $          123,307.94          3/6/2014
  1/16/2014          XJ9KK4XJ5        $             127,460.79   $          127,460.79          3/6no14
  1/16/2014          XJ9KK5183        $              14,283.50   $           14,283.50          3/6/2014
  1/16/2014          XJ9KK4P51        $              42,155.36   $           42,i55.36          3/6/2014
  1/16/2014          XJ9KK5466        $             139,185.93   $          139,185.93          3/6/2014
  1/16/2014          XJ9KK51M6        $              56,323.04   $           56,323.04          3/6/2014
  1/16/2014          XJ9KK57W1        $           1,951,055.78   $        1,951,055.78         3/12/2014
  1/16/2014          XJ9KK4NP4        $           1,310,862.17   $        1,310,862.17         3/24/2014
  1/16/2014          XJ9KK4N49        $             155,928.02   $          155,928.02         3/24/2014
  3/18/2014          XJCNNK2F5        $              18,855.00   $           18,855.00         4/17/2014
  3/18/2014          XJCNNDDN1        $               3,550.00   $            3,550.00          5/1/2014
  3/19/2014          XJCPT4PT8        $              47,095.14   $           47,095.14         3/26/2014
  3/19/2014          XJCPT4F28        $             152,649.12   $          152,649.12         3/26/2014




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INVOICE DATE   INVOICE#                       INVOICE AMOUNT                            AMOUNT PAID           DATE PAID
3/19/2014      XJCNNKDD4                  $           14,550.00         $                   14,550.00         4/21/2014
3/19/2014      XJCNNFJX6                  $           26,700.00         $                   26,700.00         4/21/2014
3/19/2014      XJCNNK212                  $           35,040.00         $                   35,040.00         4/21/2014
3/19/2014      XJCNNMC83                  $           10,837.50         $                   10,837.50         4/21/2014
3/19/2014      XJCNNF359                  $           25,593.75         $                   25,593.75          5/1/2014
3/21/2014      XJCPT4N88                  $           24,151.70         $                   24,151.70         3/26/2014
3/21/2014      XJCPT37X7                  $           17,464.80         $                   17,464.80         3/26/2014
3/21/2014      XJCPT46K3                  $          994,969.61         $                  994,969.61         3/26/2014
3/21/2014      XJCPT49C1        •         $        1,399,089.78         $                1,399,089.78         3/26/2014
4/24/2014      XJD9P5226                  $            5,713.40         $                    5,713.40         4/24/2014
4/24/2014      XJD9P51K5                  $           49,098.20         $                   49,098.20         4/24/2014
4/24/2014      XJD9P52J3                  $           28,641.50         $                   28,641.50         4/24/2014
4/24/2014      XJD9P521W9                 $          138,611.48         $                  138,611.48         4/24/2014
4/24/2014      XJD9P5293                  $          128,330.80         $                  128,330.80 (       4/24/2014
4/24/2014      XJDCN8585                  $          355,687.39         $                  355,687.39         4/24/2014
4/24/2014      XJD9P5D19                  $          733,234.31         $                  733,234.31         4/24/2014
4/24/2014      XJD9P53K8                  $          230,724.20         $                  230,724.20         4/24/2014
4/24/2014      XJD9P5496                  $           84,474.56         $                   84,474.56         4/24/2014
4/24/2014      XJD9P53C7                  $        1,081,771.75         $                1,081,771.75         4/24/2014
4/24/2014      XJD9P5D78                  $          469,380.24         $                  469,380.24         4/24/2014
6/5/2014       XJF3N6653                  $                             $
6/5/2014       XJF3N63X7
                                .         $
                                                      75,304.26
                                                     523,519.18         $
                                                                                            75,304.26
                                                                                           523,519.18
                                                                                                              6/11/2014
                                                                                                              6/11/2014
7/31/2014      XJFT8DDR7                  $        1,289,421.19         $                1,289,421.19          8/8/2014
8/14/2014      XJFT8D9W1M                 $          539,200.67         $                  539,200.67         8/14/2014
                                         $      96,831,418.65           $               96,831,418.65




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  INVOICE DATE   INVOICE#             INVOICE AMOUNT           AMOUNT PAID          DATE PAID
  7/12/2011      XFD679N39M-A       $      6,922,433.55    $    6,922,433.55       8/30/2011
  7/12/2011      XFD679N39M         $         245,317.25   $       245,317.25        5/4/2012
  3/13/2012      XFP68TJX6          $         158,317.25   $       158,317.25      - 5/9/2012
  4/9/2012       FPRR53W9           $         158,317.25   $       158,317.25        5/4/2012
  5/31/2012      XFRXF73F6          $      1, 708,273.48   $    1, 708,273.48      8/23/2012
  6/11/2012      XFT4X6465          $      2,192,099.99    $    2,192,099.99        7/11/2012
  6/20/2012      XFT9886657         $      1,464, 708.33   $    1,464, 708.33       7/11/2012
  6/29/2012      XFTJC7TF6          $      1,157,797.78    $    1,157,797.78        7/24/2012
  7/2/2012       XFTK2X7J4          $          43,320.00   $        43,320.00        7/6/2012
  7/18/2012      XFTWW1NN9         /$         158,317.25   $       158,317.25      7/27/2012
  8/31/2012      XFWWXM836          $          33,760.94   $        33,760.94       9/21/2012
  9/5/2012       XFWXR3757          $         294,646.40   $       294,646.40        9/7/2012
  10/4/2012      XFX93MJP8          $      2,192,099.99    $    2,192,099.99      10/15/2012
  10/4/2012      XFXJWM354          $      1,464, 708.33   $    1,464, 708.33     10/15/2012
  12/21/2012     XJ23F75N5          $      1,464, 708.33   $    1,464, 708.33     12/27/2012
  12/27/2012     XJ1R75DC6          $          33,760.94   $        33,760.94       1/14/2013
  1/2/2013       XJ27KT6R2          $      2,192,099.99    $    2,192,099.99        1/11/2013
  1/7/2013       XJ2F62184          $          58,219.32   $        58,219.32       1/.14/2013
  2/3/2013       XJ314WTX2          $         122,597.90   $       122,597.90        2/8/2013
  3/1/2013       XJ3M8RK51          $          33,760.94   $        33,760.94        4/4/2013
  3/7/2013       XJ3PT8C36          $      2,192,099.99    $    2,192,099.99        3/14/2013
  3/7/2013       XJ3PT78Tl          $      1,464, 708.33   $    1,464, 708.33       3/14/2013
  4/8/2013       XJ49T8R94          $          58,219.32   $        58,219.32      5/29/2013
  5/21/2013      XJ56D8RD1          $      1,577,683.47    $    1,577,683.47       6/10/2013
  6/3/2013       XJ5D37D52          $          33,760.94   $        33,760.94      6/13/2013
  6/3/2013       XJ5D5T3X1          $          23,265.80   $        23,265.80       6/14/2013
  6/6/2013       JX5FWN2N3          $         132,979.68   $       132,979.68       7/24/2013
  6/14/2013      XJ5J62MP9          $           4,689.00   $         4,689.00      6/21/2013
  7/1/2013       XJ5X4NK82          $         483,576.00   $       483,576.00        7/5/2013
  7/8/2013       XJ62M1PM9          $          61,627.45   $        61,627.45       7/17/2013
  8/26/2013      XJ71R7RM3          $      1,577,683.47    $    1,577,683.47        8/28/2013
                 XJ6615N25          $      1,488, 789.08   $    1,488, 789.08       8/27/2013
  9/4/2013       XJ75K68P3          $         132,979.68   $       132,979.68     10/10/2013
  9/9/2013       XJ7765C25          $          76,250.77   $        76,250.77     10/10/2013
  9/16/2013      XJ79W2X79          $          58,219.32   $        58,219.32     10/10/2013
  10/8/2013      XJ7RF4477M         $          61,027.45   $        61,027.45       3/26/2014
  11/25/2013     XJ8KW92K4          $      1,577,683.47    $    1,577,683.47      12/26/2013
  12/2/2013      XJ8R37X56          $         132,979.68   $       132,979.68     12/26/2013
  12/2/2013      XJ8R3D5D8          $          58,219.32   $        58,219.32       1/31/2014
  12/9/2013.     XJ8XK6X71          $          76,250.77   $        76,250.77     12/26/2013
  1/8/2014 -     XJ9DX5WT5          $          61,627.45   $        61,627.45       2/20/2014
  2/28/2014      XJCCT1WM6          $      1,577,683.47    $    1,577,683.47        4/14/2014
  3/3/2014       XJCJ7PXF9          $          76,250.77   $        76,250.77        4/4/2014
  3/4/2014       XJCDCJ223          $         132,979.68   $       132,979.68      4/14/2014
  4/9/2014       XJD49DDW7          $          61,627.45   $        61,627.45       5/28/2014
  5/27/2014      XJDXMTRD9          $      1,493,959.30    $    1,493,959.30       5/30/2014
                                   $     36,776,086.32     $   36,776,086.32
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INVOICE DATE     INVOICE#                    INVOICE AMOUNT           AMOUNT PAID                  DATE PAID
6/18/2013        6402899                $    5,304,515.04 $            5,039,289.29                 8/6/2013
7/9/2013         6404975                $      116,322.88 $              116,322.88                 8/6/2013
7/10/2013        6405051                $    5,400,491.21 $            5,130,466.65                 8/6/2013
8/7/2013         6407310                $      379,959.17 $              379,959.17                 9/9/2013
8/20/2013        6407704                $    5,531,452.64 $            5,254,880.01                 9/9/2013
8/30/2013        6408817                $    5,382, 966.77 $           5,126,633.16                9/24/2013
8/30/2Q13        6408818                $    1,183,512.24 $            1,111,521.89                9/24/2013
8/30/2013        6408797                $      371,500.94 $              371,500.94                9/24/2013
8/30/2013        6408845                $       20,531.20 $               20,531.20                9/24/2013
9/27/2013        6411309                $ -     49,274.88 $               49,274.88                 3/3/2014
10/8/2013        6412133                $      475,864.01 $              475,864.01                 3/3/2014
10/16/2013       6412658                $    9,504,412.91  $           9,029,192.26                 3/3/2014
11/7/2013        6414419                $    8,121,784.77 $            7,715,695.54                 3/3/2014
                                                                                                             '-,
11/30/2013       6416135                $       12,190.40
12/1/2013        6415764                $      -50,301.44 $               50,301.44                 3/3/2014
12/1/2013        6413290                $       43,115.52 $               43,115.52                 3/3/2014
12/10/2013       6417571                $    6,912,478.97  $           6,566,855.02                 3/3/2014
12/24/2013       6418020                $       50,044.80 $               50,044.80                 3/3/2014
1/31/2014        6420632                $        4,949.01 $                4,949.01                 3/3/2014
1/31/2014        6420633                $       49,274.88 $               49,274.88                 3/3/2014
2/25/2014        6422495                $       62,910.46
2/28/2014        7616052                $   19,900,000.00  $          19,900,000.00                 3/5/2014
2/28/2014        6423715                $       48,248.32
4/8/2014         6426714                $    3,248,182.61 $           3,248,182.61                 4/21/2014
5/8/2014     .   6428823                $    3,195,707.79 $           3,195,707.79                 5/27/2014
6/17/2014        6431855                $    2,909,883.63 $-          2,909,883.63                 6/25/2014
6/24/2014        6432013                $    1,358,540. 75 $          1,358,540.75                 6/25/2014
                                        s         79,688,417.24   s   77,197,987.33




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      INVOICE DATE   INVOICE#           INVOICE AMOUNT           AMOUNT PAID        DATE PAID
      3/15/2013      2904700        $       3,516,160.00    $     3,516,160.00      5/28/2013
      3/15/2013      2904715        $       2,086,080.00    $     2,086,080.00      5/28/2013
      3/15/2013      2904715T       $         172,101.60    $       172,101.60      6/18/2013
      3/15/2013      2904716-1      $         101,618.17    $       101,618.17      7/22/2013
      3/15/2013      2904701-1      $         162,562.63    $       162,562.63      7/22i2013
      3/19/2013      2905624        $       5,948,866.00    $     5,948,866.00      4/17/2013
      3/19/2013      2905625-1      $         267,698.97    $       267,698.97      7/22/2013
      3/31/2013      2910448        $          31,407.75    $        31,407.75      5/28/2013
      3/31/2013      2910448T       $           2,591.14    $         2,591.14      6/18/2013
      3/31/2013      2910449-1      $           1,019.97    $         1,019.97      7/29/2013
      4/4/2013       2910679        $       2,156,250.00    $     2,156,250.00      5/28/2013
    . 4/4/2013       2910698        $       1,689,579.75    $     1,689,579.75      5/28/2013
      4/4/2013       2910679T       $         177,890.64    $       177,890.64      6/18/2013
      4/4/2013       2910697-1      $          50,687.39    $        50,687.39      8/12/2013
      4/4/2013       2910678-1      $          64,687.50    $        64,687.50      8/12/2013
      4/5/2013       2911367        $       1,312,500.00    $     1,312,500.00      5/28/2013
      4/5/2013·      2911398        $       1,288,417.00    $     1,288,417.00      7/29/2013
      4/5/2013       2911369"1      $          39,375.00    $        39,375.00      8/12/2013
      4/5/2013       2910678-1      $           5,336.72   ,$         5,336.72      9/24/2013
      5/7/2013       2927959        $      1,529,~08.00     $     1,529,308.00      5/23/2013
      5/7/2013 .     2927960-2      $         68,818.86    s-        68,818.86      5/29/2014
      7/12/2013      2957586        $        110,392.37    $        110,392.37     11/25/2013
      8/14/2013      2969166        $         17,136.59    $         17,136.59     11/25/2013
      9/4/2013       2927960-1      $         68,818.86    $ .       68,818.86      8/26/2012
      9/10/2013      2975902        $        229,618.02    $        229,618.02     11/25/2013
      9/30/2013      42325132       $      1,288,417.00    $      1,288,417.00   . 11/25/2013
      11/14/2013     3005618        $         58,782.97    $         58,782.97      2/19/2014
      12/1/2013      2905625-2      $        267,698.97    $        267,698.97     12/30/2013
      12/1/2013      2905625-3      $        267,698.97    $        267,698.97     12/30/2013
      12/1/2013      2904701-3      $        158,227.20    $        158,227.20     12/30/2013
      12/1/2013      2904716-3      $        101,618.17    $        101,618.17     12/30/2013
      12/1/2013      2904701-2      $        158,227.20    $        158,227.20     12/30/2013
      12/1/2013      2904716-2      $        101,618.17    $        101,618.17     12/30/2013
      12/1/2013      2910678-2      $         70,024.22    $         70,024.22     12/30/2013
      12/1/2013      2911369-2      $         39,375.00    $         39,375.00     12/30/2013
      12/1/2013      2910697-2      $         50,687.39    $         50,687.39     12/30/2013
      12/29/2013     2910678-3      $         70,024.22    $         70,024.22      1/15/2014
      12/31/2013     42426726       $      1,288,417.00    $      1,288,417.00      1/15/2014
      12/31/2013     2910449-2      $          1,019.97    $          1,019.97      1/15/2014
      12/31/2013     2910697-3     ~S         50,687.39    $         50,687.39      2/19/2014
      12/31/2013     2911369-3      $         39,375.00    $         39,375.00      2/19/2014
      1/6/2014       2910449-3      $          1,019.97    $          1,019.97      1/15/2014




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INVOICE DATE   INVOICE#            INVOICE AMOUNT          AMOUNT PAID      DATE PAID
1/7/2014       42421939        $         110,392.37
1/31/2014      42452780        $          17,136.59    $      17,136.59      3/11/2014
2/1/2014       3005584         $          11,691.94    $      11,691.94      3/11/2014
2/2/2014       2927960-3       $          68,818.86    $      68,818.86      3/11/2014
2/5/2014       42487959        $         229,618.02    $     229,618.02      3/11/2014
                               $          {4,335.43}   $      {4,335.43}     2/19/2014
2/28/2014      3044292         $          34,346.08    $      34,346.08      5/20/2014
2/28/2014      3044292C        $         {34,346.08}   $     {34,346.08}     5/20/2014
3/15/2014      2904716-4       $         101,618.18    $     101,618.18       5/5/2014
3/15/2014      2904701-4       $         158,227.20    $     158,227.20        5/5/2014
3/19/2014      2905625-4       $         267,698.97    $     267,698.97        5/5/2014
3/30/2014      3019318         $          73,095.35    $      73,095.35      5/20/2014
3/30/2014      42521402        $          58,782.98    $      58,782.98    . 5/30/2014
3/31/2014      2910449-4       $           1,019.96    $       1,019.96       5/5/2014
3/31/2014      42521733        $       1,013,648.33    $   1,013,648.33       5/5/2014
3/31/2014      42521374        $           7,794.63    $       7,794.63      5/30/2014
4/4/2014       2910697-4       $          50,687.40    $      50,687.40       5/5/2014
4/4/2014       2910678-4       $          70,024.23    $      70,024.23       5/5/2014
4/5/2014       2911369-4       $          39,375.00    $      39,375.00       5/5/2014
4/30/2014      42543998        $          17,136.59    $      17,136.59      5/30/2014
5/7/2014       42586050        $         229,618.02    $     229,618.02     "5/30/2014
5/7/2014       2927960-4       $          68,818.86    $      68,818.86      5/29/2014
6/9/2014       42623048        $          58,782.98    $      58,782.98      8/11/2014
6/9/2014       42523256        $          11,708.~5    $      11,708.95      8/18/2014
6/13/2014      42516261        $         267,698.97    $     267,698.97       7/2/2014
6/13/2014      42516203        $         158,227.20    $     158,227.20       7/2/2014
6/13/2014      42515385        $          93,873.60    $      93,87~.60       7/2/2014
6/30/2014      42612557        $       1,063,119.75    $   1,063,119.75      7/22/2014
6/29/2014      42622740        $          73,095.35    $      73,095.35      7/22/2014
6/30/2014      42516220        $             942.23    $         942.23      7/22/2014
7/1/2014       42516226        $           1,187.39    $       1,187.39      8/11/2014
7/3/2014       42515484        $          64,687.50    $      64,687.50      8/11/2014
7/3/2014       42515474        $          49,500.00    $      49,500.00     .8/11/2014
7/4/2014       42516224        $          39,375.00    $      39,375.00      8/11/2014
7/31/2014      42658066        $          17,136.59
7/31/2014      42516232        $          68,818.87
8/6/2014       42689004        $         229,618.02
                               s      29,900,482.19    s   29,474,516.34




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    1&}/QICE DAT;E :: )NVOIGE # ' <' .... -~INVOICEAMQUNT ''""
    7/12/2011         XFD679N39M-A         $    6,922,433.55 $     6,922,433.55       8/30/2011
    7/12/2011         XFD679N39M           $       245,317.25 $      245,317.25        5/4/2012
    10/19/2011        XFF3RWRT9M           $      498,626.22 $       498,626.22       1/27/2012
    1/4/2012          XFMJRMFN1            $       169,034.00 $      169,034.00        5/9/2012
    3/B/2012          XFP68TJX6            $       158,317.25 $      158,317.25        5/9/2012
    3/13/2012         XFP69TNC9            $       194,849.00 $      194,849.00        9/5/2012
    4/9/2012           FPRR53W9            $       158,317.25 $      158,317.25        5/4/2012
    5/31/2012         XFRXF73F6            $    1, 708,273.48 $    1:;708,273.48      8/23/2012
    6/20/2012         XFT9886657           $    1,464, 708.33 $    1,464, 708.33      7/11/2012
    6/28/2012         XFTFTI5N1            $       235,433.00 $      235,433.00       7/24/2012
    6/29/2012         XFTJC7TF6            $    1,157, 797.78 $    1,157,797.78       7/24/2012
    7/2/2012          XFTK2X7J4            $        43,320.00 $        43,320.00       7/6/2012
    7/18/2012         XFTWW1NN9 ·          $       158,317.25 $      158,317.25       7/27/2012
    8/31/2012         XFWWXM836            $        33,760.94 $        33,760.94      9/21/2012
    9/5/2012          XFWXR3757            $       294,646.40 $      294,646.40        9/7/2012
    10/4/2012         XFXJWM354            $    1,464, 708.33 $    1,464, 708.33     10/15/2012
    12/21/2012        XJ23F75N5            $    1,464, 708.33 $    1,464,708.33      12/27/2012
    12/27/2012        XJ1R75DC6            $        33,760.94 $        33,760.94      1/14/2013
    1/7/2013          XJ2F62184            $        58,219.32 $        58,219.32      1/14/2013
    2/3/2013          XJ314WTX2.           $       122,597.90 $      122,597.90        2/8/2013
    2/6/2013          XJ2KK9XD2            $       313,058.00 $      313,058.00       2/11/2013
    3/1/2013          XJ3M8RK51            $        33,760.94 $        33,760.94       4/4/2013
    3/7/2013          XJ3PT78Tl            $    1,464, 708.33 $    1,464, 708.33      3/14/2013
    3/20/2013         XJ41X2FX2M           $       296,437.08 $      296,437.08        4/8/2013
    3/20/2013         XJ41X2Jl2            $       331,504.60 $      331,504.60        4/8/2013
    3/20/2013         XJ41X2FN5            $       331,504.60 $      331,504.60        4/8/2013
    3/20/2013         XJ41X2J39            $       331,504.60 $      331,504.60        4/8/2013
    4/8/2013          XJ49T8R94            $        58,219.32 $        58,219.32      5/29/2013
    5/21/2013         XJ56D8RD1            $    1,577,683.47 $     1,577,683.47       6/10/2013
    6/3/2013          XJ5D37D52            $        33,760.94 $        33,760.94      6/13/2013
    6/3/2013          XJ5D5T3X1            $        23,265.80 $        23,265.80      6/14/2013
    6/6/2013          JX5FWN2N3            $       132,979.68 $      132,979.68       7/24/2013
    6/14/2013         XJ5J62MP9            $         4,689.00 $         4,689.00      6/21/2013
    7/8/2013           XJ62M1PM9           $        61,627.45 $        61,627.45      7/17/2013
    8/26/2013         XJ71R7RM3            $    1,577,683.47 $     1,577,683.47       8/28/2013
                      XJ6615N25            $    1,488,789.08 $     1,488, 789.08      8/27/2013
    9/4/2013           XJ75K68P3           $       132,979.68 $      132,979.68      10/10/2013
    9/9/2013          XJ7765C25            $        76,250.77 $        76,250.77     10/10/2013
    9/16/2013.        XJ79W2X79            $        58,219.32 $        58,219.32     10/10/2013
    10/8/2013          XJ7RF4477M          $        61,027.45 $        61,027.45      3/26/2014
    11/25/2013        XJ8KW92K4            $    1,577,683.47 $     1,577,683.47      12/26/2013
    12/2/2013         XJ8R37X56            $       132,979.68 $      132,979.68      12/26/2013
    12/2/2013         XJ8R3D5D8            $        58,219.32 $        58,219.32      1/31/2014
    12/9/2013         XJ8XK6X71            $        76,250.77 $        76,250.77     12/26/2013 '
    1/8/2014          XJ9DX5WT5            $        61,627.45 $        61,627.45      2/20/2014
    2/28/2014         XJCCT1WM6            $    1,577,683.47 $     1,577,683.47       4/14/2014
    3/3/2014          XJCJ7PXF9            $      · 76,250.77 $        76,250.77       4/4/2014
    3/4/2014          XJCDCJ223            $       132,979.68 $      132,979.68       4/14/2014
    4/9/2014          XJD49DDW7            $        61,627.45 $        61,627.45      5/28/2014
    5/27/2014         XJDXMTRD9            $    1,493,959.30 $     1,493,959.30       5/30/2014
                                        $    30,226,061.46   $    30,226,061.46




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